Case 1:22-cv-01329-JPH-MG Document 1-2 Filed 07/05/22 Page 1 of 201 PageIDFiled:
                            49D05-2206-CC-019517                            #: 229
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                                                                                                                                                             Clerk
                                                            Marion Superior Court 5                                                         Marion County, Indiana




                       IN THE SUPERIOR COURT OF THE STATE OF INDIANA
                                      MARION COUNTY


   THE EXCELLENT THE EXCELLENT
   RAJ K. PATEL, from all capacities,

                                                             Plaintiff

                 v.                                                         No. __________________

   THE UNIVERSITY OF NOTRE DAME
   DU LAC                                                                   Dated: June 12, 2022

                                                         Defendant


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                                                       PRO SE COMPLAINT
             I, T.E., T.E Raj K. Patel (pro se), respectfully move this Indiana Superior Court to

  overturn the University of Notre Dame Law School’s decision not to re-“admit” me

  permanently, in or around July and August 2021, in order to complete my final 22 credit

  hours, once it discriminated against me for receiving a criminal charge of pointing a

  gun at another person (mother, who said she would said she would testify of not being

  pointed at her or anybody else) which dismissed and then expunged. I.C. 35-38-9-




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  10(b)(4). I.C. 35-47-4-3. 42 U.S.C. §§ 1981-83. 18 U.S.C. §§ 241, 242, 245(b)(2)(A)-(B) &

  (F). I.C. § 34-13-9-8 et seq.

         Severably, I move to restore and use the privileges and/or immunities

  (privileges and/or immunities during and after office and for all acts before taking

  office, as privileges or immunities are “basic” protections, in other words for and

  against inherently violent things, such as for allowing use of force without statutory

  license and against a bio-tech stress-depression weapon) I hold under the United States

  Constitution, including while I was the Representative to the Indiana State Bar

  Association of the Great State of Indiana and which I carry as 2013-2014 Student

  Government Association President of Emory University, Inc. (corporate sovereign 2013-

  present) in Atlanta, Georgia and 2009-2010 Student Body President of the Brownsburg

  Community School Corporation (“B.C.S.C.”) (corporate sovereign 2009-present) in

  Brownsburg, Indiana. 18 U.S.C. §§ 241, 242, 245(b)(2)(A)-(B) & (F), U.S. const., art. IV, §

  21 & amend. XIV, § 12; U.S. const., art. VI, § 1 and Grievances 21 & 23, Decl. of Indep.

  (1776)3; U.S. const., art. IV, § 1; United Building & Construction Trades Council v. Mayor

  and Council of Camden, 465 U.S. 208 (1984).

                                              PARTIES

         Plaintiff:

                 Raj Patel
                 6850 East 21st Street
                 Indianapolis, IN 46219
                 317-450-6651
                 raj@rajpatel.live

  1. “The citizens of each state shall be entitled to all privileges and immunities of citizens in the
      several states.”
  2. “No State shall make or enforce any law which shall abridge the privileges or immunities of
      citizens of the United States…” (includes state- and federal- created corporations, see
      Grievance 21, Decl. of Independence (1776) and U.S. const., art. VI, § 1).
  3. Disengaging the bio-tech weapon is therefore a priority for T.H. (T.E.) President of the United
      States.


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            Defendant:

                   University of Notre Dame
                   400 Main Building
                   Notre Dame, IN 46556
                   Phone: (574) 631-5000

                   University of Notre Dame
                   c/o Rev. John I. Jenkins, C.S.C., President
                   400 Main Building
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                   University of Notre Dame
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                                   SUBJECT-MATTER JURISDICTION

            [1] I.C. § 33-29-1.5-2

                          WELL-PLEADED COMPLAINT STANDARDS

            “[A] pro se complaint, however inartfully pleaded, must be held to less stringent

  standards than formal pleadings drafted by lawyers.” Erickson v. Pardus, 551 U.S. 89, 94

  (2007).

            Ind. R. of Ct. 8(A).

            Ind. R. of Ct. 8(F).



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          For the parts in a complaint related to R.I.C.O, H.J. Inc. v. NW Bell Tel. Co., 492

  U.S. 229, 248-250 (1989).

          See also Paris Peace Treaty – Congressional Proclamation of Jan. 14, 1784 (every

  citizen should uphold the Treaty of Paris “sincerely, strictly, and completely”). See also

  U.S. const., amend. XI (states not immune). See also Downs v. Bidwell, 182 U.S. 244, 382

  (1901) (“No higher duty rests upon this Court than to exert its full authority to prevent

  all violation of the principles of the Constitution.”). U.S. v. Lee, 106 U.S. 196, 220 (1882)

  (Miller, J.):

                  No man in this country is so high that he is above the law. No
          officer of the law may set that law at defiance with impunity. All the
          officers of the government, from the highest to the lowest, are creatures of
          the law and are bound to obey it. It is the only supreme power in our
          system of government, and every man who by accepting office
          participates in its functions is only the more strongly bound to submit to
          that supremacy and to observe the limitations which it imposes upon the
          exercise of the authority which it gives…

                  Courts of justice are established not only to decide upon the
          controverted rights of the citizens as against each other, but also upon
          rights in controversy between them and the government…[the] Secretary
          of War…[and] officer had no more authority to make than the humblest
          private citizen.

                                   STATEMENT OF FACTS

          I am a resident of Indianapolis, Indiana. From 2009-2010, I was the Student Body

  President of the Brownsburg Community School Corporation (“B.C.S.C.”) (corporate

  sovereign 2009-present) in Brownsburg, Indiana. From 2013-2014, I was the Student

  Government Association President of Emory University, Inc. (corporate sovereign 2013-

  present) in Atlanta, Georgia.

    I.    In May 2014, I graduated from Emory University with a Bachelor of Arts in

          Political Science and with Honors in Religion and with a cumulative grade point

          average of 3.718 out of 4.0.



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            A. I also authored an honors thesis in the Department of Religion, called

                 “Weight Loss as a Religion,” and proposed a scientific method of racism

                 in weight-loss politics.

            B. The cumulative grade point average includes the grade deflation the stress

                 weapon caused from almost every semester at Emory University. See

                 Compl., Patel v. United States, No. 1:21-cv-02004-LAS (Fed. Cl. 2022), aff’d

                 on other grounds, No. 22-1131 (Fed. Cir. 2022), pending cert., No. _____ (U.S.

                 20__).

   II.   Sometime between October 2014 to May 2015, I was admitted to the University of

         Notre Dame Law School on a scholarship funded by Notre Dame Law School.

  III.   In or around May 2015, I received the Indiana Supreme Court Indiana

         Conference of Legal Education Opportunity (I.C.L.E.O.) scholarship to attend the

         University of Notre Dame Law School. This scholarship is in addition to the

         scholarship I received from the University of Notre Dame.

  IV.    Then, I attended the Summer 2015 I.C.L.E.O. 6-week conference hosted at the

         University of Notre Dame.

   V.    Then, I received the Notre Dame Law School Barbri Scholarship to attend a pre-

         law course, which I accepted.

  VI.    Then, I attended the three-day Barbri Scholarship Conference in New York, New

         York.

 VII.    In August 2015, I enrolled at the University of Notre Dame Law School, in South

         Bend, Indiana, in its juris doctor program.

 VIII.   In the summer of 2016, I worked as a summer associate at the City of Atlanta

         Law Department in Atlanta, Georgia.

  IX.    I began the second year of law school at Notre Dame in August 2016.


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   X.    In the summer of 2017, I worked as a summer associate at Barnes & Thornburg

         LLP in Downtown Indianapolis, Indiana.

  XI.    Before the beginning of third year of law school, in summer of 2017, I was asked

         for serve as an Assistant Rector at Kennan Hall, an all-boys undergraduate

         dormitory, which I agreed to. I was offered additional scholarship.

  XII.   In September 2017, I was elected as the Notre Dame Law School Student Bar

         Association Representative to the Indiana State Bar Association.

 XIII.   In or around September 2017, I was asked to resign from Keenan Hall, but I got

         to keep my scholarship and grant benefits.

 XIV.    I e-mailed now-Her Honor Justice Amy Barrett, Associate Justice of the United

         States Supreme Court, on her University of Notre Dame e-mail from my

         University of Notre Dame student e-mail to explain to her that I was about to

         take a voluntary separation of leave, but I did not receive a response.

 XV.     On or around November 11, 2017, I took a voluntary separation of leave in good

         standing from the University of Notre Dame Law School, after both the law

         school and the university administration approved of my leave in good standing.

         I also resigned from my Notre Dame Law School Student Bar Association

         representative position. I was also not subject to a refund as my tuition was

         covered by scholarships and grants.

 XVI.    On or around December 7, 2017, I was put on emergency detention at the St.

         Vincent Stress Center in Indianapolis, Indiana for three days and charged with

         pointing a gun at another person by the Brownsburg Police Department in

         Brownsburg, Indiana.

            A. Charmi Patel of Colonia, New Jersey, my dad’s sister’s daughter, and

                Nina Patel of Colonia, New Jersey, my dad’s sister and Charmi’s mother,


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                and Manisha Patel, my mother and Kartik’s wife, were sleeping in master

                bedroom.

            B. Nina communicates with Kartik about pointing a gun or that I am

                threatening to kill myself.

            C. Kartik, my dad, calls the police from Indianapolis, where he was spending

                the night at his motel due to the occupancy in our house.

            D. I called Professor Root then-of Granger, Indiana or now-of Durham, North

                Carolina at the University of Notre Dame Law School from the St. Vincent

                Stress Center to see if she could terminate these happenings.

XVII.    On or around December 20 and 21, 2017, I told Peter Horvath about my

         intentions to reapply to the University of Notre Dame Law School. Peter sent me

         the link to reapply. I filled out the application honestly, including the ongoing

         conviction about pointing a gun at another person. Peter writes to me, “At this

         point we want to let you know that you will not be readmitted to the University

         while this charge is pending. Further, you will not be considered for readmission

         unless the pending criminal charge is favorably resolved.” He added, “Certainly

         you are welcome to keep us informed as the matter works toward resolution.”

XVIII.   Around Christmas 2018, I moved to my apartment on North Capitol Avenue in

         downtown Indianapolis, Indiana. In January 2018, I receive a supportive letter of

         re-admission to the University of Notre Dame Law School from a female medical

         professional who was either a physician assistant or nurse partitioner. I

         submitted this letter to the University of Notre Dame.

 XIX.    On April 30, 2018, the felony charge was dismissed. The police dispose of my

         gun.




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  XX.   In or around January 17, 2019, the felony charge was expunged. Document

        available upon request.

 XXI.   I applied for re-admission for Fall 2019, and I completed the application material

        for re-admissions. I was denied re-admissions upon the recommendation of the

        University of Notre Dame University Counseling Center, although the ultimate

        authority for re-admissions into the law school lies with the Notre Dame Law

        School itself.

XXII.   For Fall 2020, I again re-applied for re-admissions. I was again denied re-

        admissions upon recommendation by the University of Notre Dame University

        Counseling Center.

           A. Kevin O’Rear stated:

                                I also want to note that, if you choose to apply for

                         readmission to Notre Dame Law School in the future, your

                         application will be reviewed on the basis of all of the facts of which

                         we are aware at the time. Readmission to the Law School is not

                         guaranteed, although whether you have filed litigation against the

                         University will not, in and of itself, prevent you from being

                         admitted.

                                We are, however, required to review each applicant's

                         character and fitness to be admitted to the bar. We have received

                         many messages from you in the past few years that are disturbing

                         and which raise serious questions about your ability to pass a

                         character and fitness review. I flag this so that you may (1) guide

                         your behavior going forward and (2) be aware that the Law School

                         may decide in the future that, based upon your conduct, including


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                       disturbing notes to University faculty and officials since your

                       withdrawal, you are not eligible for readmission.

            B. I responded by stating, “Why is this even a material consideration for re-

                admissions? Relationships with law school professors is not a part of

                application process. You're reprimanding me without trial by the Hoynes

                Code, which probably does not apply to the time I am not a law student.

                Further, it is retaliation for using my First Amendment rights.” And, “per

                the law, I do not foresee any legal questions raised to pass a character and

                fitness test. See I.C. 35-38-9-10(b)(4)-(6), (d) & (e). In fact, I feel

                discriminated by your answer on my character and fitness.” (Italics in

                original).

XXIII.   For Fall 2021, I again re-applied for re-admissions. This time, I was permanently

         denied re-admissions upon recommendation by the University of Notre Dame

         University Counseling Center. Contrary to prior communications with Jake

         Baska and Dean Kevin O’Rear, who are both agents of the University of Notre

         Dame Law School, I was told that I may only apply for as a first-year student to

         the University of Notre Dame Law School, which would require me to re-take

         the Law School Admissions Test, and that re-admissions application would not

         be considered for Spring 2022.

XXIV.    As far as I know, my grade point average is at or above the Notre Dame Law

         School grading curve.

XXV.     I am not subject to background checks, as I have omnipresent privileges and

         immunities. U.S. const. art. IV, § 2, cl. 1 & amend. XIV, § 1, cl. 2. See generally

         Federalist 80 & Printz v. United States, 521 U.S. 898, 918 (1997) quoting Principality




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          of Monaco v. Mississippi, 292 U.S. 313, 322 (1934) (constitutional exemptions for

          local officials).

 XXVI.    Peter Horvath, Jake Baska, and Kevin O’Rear, J.D. no longer work at the

          University of Notre Dame Law School.

XXVII.    The University of Notre Dame Law School gives out grades and issues

          transcripts to communicate about students’ performance in its professional

          school.

XXVIII.   As a compromise to be re-admitted to the University of Notre Dame Law School,

          I proposed that I would visit another law school to ease any tension or conflict-

          of-interest for readmissions. I was able to acquire two/two letters of

          recommendation from my from professors and faculty at the University of Notre

          Dame Law School.

 XXIX.    The University of Notre Dame Hoynes Code might be parole evidence for the

          contract and includes terms of our contracts.

  XXX.    This complaint to this Indiana State Court follows.

                                            CLAIMS

          All paragraphs from above are incorporated into this section.

  One.    I.C. 35-38-9-10(b)(4) – There is no reason why I should be denied re-admissions

          because I cleared for re-admissions by medical professionals. These facts lead

          me to believe that University of Notre Dame Law School admissions

          committee discriminated against me for pointing a gun at another person.

              a. I had to fill out paperwork about non-expunged pending matters, which

                  shows that there is intent to discriminate or gather needless information

                  by the Notre Dame Law School. Save the Dunes Council v. Alexander, 584




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              F.2d 158, 162 (7th Cir. 1978) (a general rule of applicability which is

              invalid applied here )

           b. Based on this, I only agreed to spend a maximum 84 months behind a juris

              doctor degree.

           c. Even though I am not subject to background checks, I had to submit

              background information. Printz v. United States, 521 U.S. 898, 918 (1997)

              quoting Principality of Monaco v. Mississippi, 292 U.S. 313, 322 (1934).

           d. See also Wood v. Moss , No. 13 - 115, p. 5 & 16, 134 S. Ct. 2056, 2059, 2064 &

              2066-67, 572 U.S. 744 (2014) (“substantive content ” of the message,

              including political, is evaluated when there is a security risk of an elected

              or appointed official and that immunity applies for enforcement of

              limiting speech). See also Id. at 2067 quoting Rubin v. United States, 525 U.S.

              990, 990 - 991 (1998) (Breyer, J., dissenting from denial of certiorari) (“The

              physical security of [an honorable or an excellent ] has a special legal role

              to play in our constitutional system.”). Id. at 995 (but for privileges, there

              would be a loss of trust in enforcement). County of Sacramento v. Lewis, 523

              U.S. 833, 847 (1998) (not Fair Play “when Conscience-shocking behavior is

              ‘ so `brutal' and `offensive' that it [does] not comport with traditional ideas

              of fair play and decency.’”)

           e. Relief:

                  i. Re-admit me to the University of Notre Dame; the United States

                        Northern District of Indiana has construed university enrollment

                        under contracts law. See also I.C. § 34-14-1-3.

                 ii. 42 U.S.C. § 1981-1983.

                 iii. Dollar amount for loss of opportunity.


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                  iv. Dollar amount.

 Two.    Indiana R.F.R.A., I.C. § 34-13-9-8 et seq. – My religious freedoms to attend the

         University of Notre Dame du Lac has suffered from general rules of

         applicability. 42 U.S.C. 2000bb et seq.

            a. The University of Notre Dame is a body described in I.C. § 34-13-9-6.

            b. My religion also requires me not to see mental health professionals, even

               for re-admissions. I.C. § 34-13-9-5. Burwell v. Hobby Lobby Stores, Inc., 573

               U.S. 682, 736-37 (2014) (Kennedy, J., concurring).

            c. U.S. const. amend. I.

            d. U.S. const. amend. XIV.

            e. U.S. const. amend. XIII.

            f. Indiana State Constitution.

            g. Indiana State Law.

            h. There is no reason why the University of Notre Dame Law School could

               not have refused to re-admit me if I had to attend a family funeral during

               finals weeks and took a voluntary separation of leave in good standing to

               attend the close family relationship.

            i. Relief:

                   i. 42 U.S.C. §§ 1981-83.

                   ii. I.C. § 34-13-9-10.

                  iii. Compensation.

                  iv. Dollar Amount.

Three.   Federal R.F.R.A. of 1993, 42 U.S.C. 2000bb et seq. My religious freedoms to

         attend the University of Notre Dame du Lac has suffered from general rules of

         applicability.


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            a. The University of Notre Dame is a body described in I.C. § 34-13-9-6.

            b. My religion also requires me not to see mental health professionals, even

               for re-admissions. I.C. § 34-13-9-5. Burwell v. Hobby Lobby Stores, Inc., 573

               U.S. 682, 736-37 (2014) (Kennedy, J., concurring).

            c. U.S. const. amend. I.

            d. U.S. const. amend. XIII.

            e. U.S. const. amend. XIV.

            f. It is my human right under treaties to complete my education at the

               University of Notre Dame, as I was admitted. U.N. Decl. of Human Rts.

            g. There is no reason why the University of Notre Dame Law School could

               not have refused to re-admit me if I had to attend a family funeral during

               finals weeks and took a voluntary separation of leave in good standing to

               attend the close family relationship.

            h. Relief:

                   i. 42 U.S.C. §§ 1981-83.

                  ii. I.C. § 34-13-9-10.

                  iii. Compensation.

                  iv. Dollar Amount.

 Four.   Breach of Contract – My contract with the University of Notre Dame Law

         School says that I have 84 months to complete the juris doctor program, as long

         as I remain in good standing.

            a. I submitted sufficient re-admissions applications which would allow me

               to complete the juris doctor program within 84 months.

            b. Relief:

                   i. Seek re-admissions


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                  ii. 42 U.S.C. § 1983.

                  iii. Dollar amount.

            c. See generally U.S. const., art. VI, § 1 & amend. I and Decl. of Independence

               (1776).

            d. Relief:

                   i. 5 U.S.C. §§ 702 & 706.

                  ii. 42 U.S.C. §§ 1981 & 1983.

                  iii. 42 U.S.C. § 2000bb-1(c).

                  iv. 28 U.S.C. §§ 1491(a)(1)-(2).

 Five.   42 U.S.C. § 2000bb-1 – The University of Notre Dame Notre Dame

         substantially burdened my right to be re-admitted to the University of Notre

         Dame Law School when it did not protect my right of Free Exercise of Religion

         and/or Expression by allowing agents of the University of Notre Dame or

         terrorists or other unconstitutional act to prevent me from exercising,

         attending school, and interfering with the religious-side of my physical brain

         by placing the stress weapon and stress noise there.

            a. Paragraphs LXXXIII, LV(A), (B), & (F), and XCI and note 4.

            b. U.S. const., amend. I.

            c. Relief:

                   i. 42 U.S.C. § 2000bb-1(c),

                  ii. Compensation,

                  iii. Dollar Amount

  Six.   Privileges and/or Immunities Clause – The University of Notre Dame Law

         School violated the privileges and immunities clause in the original

         constitution and the privileges and immunities clause in the 14th Amendment


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        when it left me in peril or this situation after I attained my first student

        government presidency of the B.C.S.C. and thereafter as student government

        president of Emory University, Inc.

           a. See generally paragraphs.

           b. As mentioned in Grievance 21, Decl. of Independence (1776), the Treaty of

               Paris (1783), and U.S. const., art. VI, § 1, I have constitutional immunity as

               The Excellent and The Excellent from weapons of the United States. I also

               have the privilege of knowing what caused the peril.

           c. Grievance 21, Decl. of Independence (1776) and U.S. const., art. VI, § 1

               explain what the president’s and executive’s vested powers must be used

               for and what faithfully execute the office of the presidency means.

           d. Slaughter-House Cases, 83 U.S. (16 Wall.) 36, 71, and 77-78 (1873) (“the

               clause was interpreted to convey limited protection pertinent to a small

               minority of rights, such as the right to seek federal office”; privileges of

               other “butchers,” applied as well to students, student government

               presidents, and incumbent and former elected and appointed officials)

               (but privileges for elected or appointed officials who are not citizens of a

               state or the United States would not have the privileges of that office, i.e.

               executive privilege not applicable) (natural-born would have the

               precedent over naturalized for the same office).

           e. The Supreme Court, in Corfield v. Coryell, 6 F. Cas. 546 (1823), also states

               that the Privileges and Immunities Clause, United States Constitution

               Article IV, Section 2, Clause 2 also includes the “Protection by the

               government; the enjoyment of life and liberty, with the right to acquire and

               possess property of every kind, and to pursue and obtain happiness and


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              safety; subject nevertheless to such restraints as the government may

              justly prescribe for the general good of the whole.” Corfield v. Coryell, 6 F.

              Cas. 546 (1823) (Washington, J.) (emphasis added) and U.S. const. art. IV, §

              2, cl. 2 (“Privileges & Immunities Clause”); see also U.S. const. amend. XIV,

              § 1 (“Privileges or Immunities Clause”) and 42 U.S.C. §§ 1981-1983.

           f. On July 12, 1816, Thomas Jefferson said to Samuel Kercheval, also known

              as H. Tompkinson, the following, which advocates for remedying the use

              of psychological weapons, such as the stress weapon:

                  i. I am certainly not an advocate for frequent and untried changes in

                        laws and constitutions. I think moderate imperfections had better

                        be borne with; because, when once known, we accommodate

                        ourselves to them, and find practical means of correcting their ill

                        effects. But I know also, that laws and institutions must go hand in

                        hand with the progress of the human mind. As that becomes more

                        developed, more enlightened, as new discoveries are made, new

                        truths disclosed, and manners and opinions change with the

                        change of circumstances, institutions must advance also, and keep

                        pace with the times. We might as well require a man to wear still

                        the coat which fitted him when a boy, as civilized society to remain

                        ever under the regimen of their barbarous ancestors. Thomas

                        Jefferson to Samuel Kercheval. The Thomas Jefferson Papers at the

                        Library of Congress, Series 1: General Correspondence 1651 to 1827,

                        Retrieved from the Library of Congress,

                        https://www.loc.gov/item/mtjbib022494/.

           g. Relief:


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                   i. 5 U.S.C. §§ 702 & 706.

                   ii. 18 U.S.C. § 242.

                  iii. 28 U.S.C. §§ 1491(a)(1)-(2).

                  iv. 42 U.S.C. §§ 1981-1983.

Seven.   Full Faith and Credit Clause – The University of Notre Dame violated the Full

         Faith and Credit Clause when it put me in peril or this situation after I

         attained my first student government presidency of the B.C.S.C. and thereafter

         as student government president of Emory University, Inc., therefore,

         disrespecting my “public Act[s],” which are magistrate positions and give me

         the style of “The Excellent.”

            a. See generally paragraphs & claims above.

            b. This Clause gives me a constitutional right not to be battered or assaulted

               with taxpayer resources.

            c. I felt like that my rights as a co-leader from The Declaration of

               Independence (U.S. 1776) (i.e. right to represent in a charter and freedom

               from interference in a charter) and my rights as a student from the

               Declaration of Independence (1776) (i.e. right to be represented in a

               charter) were violated, which are fundamentally essential for my “[S]afety

               and [H]appiness.” The Declaration of Independence (U.S. 1776). U.S.

               const., art. VI, § 1.

            d. The Congressional Proclamation Respecting the Treaty of Paris of 1783

               (January 14, 1783) (full faith should be given). U.S. const., art. VI, § 1.

            e. Relief:

                   i. 42 U.S.C. §§ 1983.

                   ii. 42 U.S.C. § 2000bb-1(c).


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Eight.   14th Amendment Due Process – Noter Dame violated my Fair Play norms be

         violated with its re-admissions procedure, both in my individual capacity and

         professional capacity when it did not re-admit me, and Notre Dame has an un-

         fair inquiry on re-admissions file.

            a. See generally paragraphs.

            b. U.S. const., amend. V. & art. I, § 8.

            c. 42 U.S.C. §§ 2000a(c) & 2000a–2.

            d. Relief:

                   i. 5 U.S.C. §§ 702 & 706.

                   ii. 28 U.S.C. §§ 1491(a)(1)-(2).

                  iii. 42 U.S.C. § 1983.

Nine.    18 U.S.C. § 241 – Notre Dame, its delegates, including teachers, faculty, and

         deans, and the Brownsburg Police Department conspired to “oppress” or

         “deprive” or “threaten” me of right of Free Exercise of Religion by causing

         unwanted changes in academic and physical and social performance.

            a. See generally paragraphs.

            b. Conspiracy, overt act not required.

            c. Relief:

                   i. 18 U.S.C. § 242.

                   ii. 42 U.S.C. § 2000bb-1(c), and

 Ten.    18 U.S.C. § 242 – Notre Dame deprived me of my right of religious free exercise

         because of my pornography videos I made, which countered the stress

         weapon, taking support away from “boots on the ground.”

            a. See generally paragraphs.

            b. Relief:


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                       i. 18 U.S.C. § 242.

                      ii. 42 U.S.C. § 2000bb-1(c), and

 Eleven.    18 U.S.C. § 247(a)(2) – Notre Dame deprived me of my right of religious free

            exercise because of my pornography videos I made, which countered the stress

            weapon, taking support away from “boots on the ground.”

               a. See generally paragraphs.

               b. Relief:

                       i. 18 U.S.C. § 242.

                      ii. 42 U.S.C. § 2000bb-1(c), and

 Twelve.    18 U.S.C. § 241 – Notre Dame its delegates, including teachers, faculty, and

            deans conspired to “oppress” or “deprive” me of my privileges and

            immunities secured to me by the United States Constitution after attaining

            each of my political offices as student government president of the B.C.S.C.

            and Emory University, Inc.

               a. See generally paragraphs.

               b. Conspiracy, overt act not required.

               c. Relief:

                       i. 18 U.S.C. § 241.

Thirteen.   18 U.S.C. § 247(a)(2) – The University of Notre Dame intentionally obstructed,

            by force, Plaintiff in the enjoyment of his free exercise of religious beliefs, or

            attempted to do so, by using the psycho-bio-tech weapon with white

            rings/disks which caused a significant change in physical exercising and

            dieting and professional commitment.

               a. See generally paragraphs, especially paragraph I, XXII, LV, XXVII(A)-(C),

                   XCI, and XCII.


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               b. See supra, note 4.

               c. Relief:

                      i. 18 U.S.C. § 247(d).

                     ii. 28 U.S.C. §§ 1491(a)(1)-(2).

Fourteen.   18 U.S.C. § 1951 – Notre Dame obstructed, delayed, or affected commerce by

            changing my commercial output by robbing or extorting me of my personal

            property right to attend specific colleges and law schools and committed

            physical violence towards me.

               a. See generally paragraphs.

               b. Conspiracy, overt act not required.

               c. Relief:

                      i. 18 U.S.C. § 1951(a).

 Fifteen.   18 U.S.C. § 1951 – Notre Dame obstructed, delayed, or affected commerce by

            changing my transcript, an article or commodity of commerce, by robbing or

            extorting or conspiring to rob or extort me of my personal property right to

            attend specific colleges and law schools and committed physical violence

            towards me.

               a. See generally paragraphs.

               b. Relief:

                      i. 18 U.S.C. § 1951(a).

 Sixteen.   18 U.S.C. § 1951 – Notre Dame obstructed, delayed, or affected commerce by

            robbing or extorting or conspiring to rob or extort me of my verbatim word

            patterns and inserting them into news anchors, movies, and soap operas.

               a. See generally paragraphs.

               b. Relief:


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                       i. 18 U.S.C. § 1951(a).

Seventeen.   42 U.S.C. § 1981 – In my personal capacity, the Notre Dame did not give me

             full and equal benefit of all laws and proceedings for the security of persons

             and property as is enjoyed by white citizens, and subject me to like

             punishment, pains, penalties, taxes, licenses, and exactions of every kind.

                a. See generally paragraphs.

                b. Relief:

                       i. 18 U.S.C. § 242.

                       ii. 18 U.S.C. § 2383.

                      iii. 42 U.S.C. § 1983.

                      iv. 42 U.S.C. § 2000bb-1(c), and

 Eighteen.   42 U.S.C. § 1981 – In my official capacity(ies), Notre Dame did not give me full

             and equal benefit of all laws and proceedings for the security of persons and

             property as is enjoyed by white citizens, and subject me to like punishment,

             pains, penalties, taxes, licenses, and exactions of every kind.

                a. See generally paragraphs.

                b. Relief:

                       i. 18 U.S.C. § 241.

                       ii. 42 U.S.C. § 1983.

                      iii. 42 U.S.C. § 2000bb-1(c), and

                      iv. 28 U.S.C. §§ 1491(a)(1)-(2).

Nineteen.    Extreme Emotional Distress – Notre Dame caused extreme emotional distress

             by leaving me unattended of its constitutional protection.

                a. Overall, since November 2017, I have taken unplanned and unwanted

                   time off of law school which unduly and unwantedly effects my career


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                 timeline and unjustly limits my career choices, which all also causes me

                 extreme emotional distress

              b. See generally paragraphs.

              c. Relief:

                     i. Dollar Amount

Twenty.   Promissory Estoppel – I detrimentally relied on the Notre Dame in upholding

          its contract with me when I used the method in approaching this situation.

              a. See generally paragraphs.

              b. Relief:

                     i. Dollar Amount

                                     DEMAND FOR RELIEF

    WHEREFORE, The Excellent, The Excellent Raj K. Patel, with the interest of upholding

          the contract with the University of Notre Dame Law School and the Constitution,

          asks this Indiana State Court to enter judgement in his favor and grant either all

          or some of the following relief:

       1. Relief described in the claims section above.

       2. Give respective orders to fulfill the statutory and constitutional obligations

          required to me, including but not limited to writ of mandamus.

       3. Enforcement and application of the privileges and immunities clauses and Full

          Faith and Credit Clauses. 28 U.S.C. §§ 1491(a)(1)-(2). 18 U.S.C. §§ 241 et seq. See

          generally Arthrex, Inc., 594 U.S. ____ (2021).

       4. Rectify academic information. 28 U.S.C. §§ 1491(a)(1)-(2). 18 U.S.C. §§ 1967.

       5. Order Plaintiff back into the University of Notre Dame Law School, along with

          the order to require the law school to graduate Plaintiff with their J.D. degree. 28



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        U.S.C. §§ 1491(a)(1)-(2). See general reconstruction powers. Brown v. Board of

        Education of Topeka II, 349 U.S. 294 (1955) (courts may enforce school enrollment

        “with all deliberate speed.”).

     6. Award earned damages totaling multimillion or billions.

     7. Due Process. Commerce Clauses. 18 U.S.C. §§ 1964-1968. U.S. const., amend. V.

     8. Order Plaintiff back into the Notre Dame Law School to complete course of study

        for his J.D. candidacy, within the minimum time required, 1.2667 semesters.

        Brown II, 349 U.S. at 294 (courts may enforce school enrollment “with all

        deliberate speed.”). See also 28 U.S.C. § 1631.

     9. Briefing on the bio-tech weapon, including effects and risks on regressive human

        evolution of Plaintiff and Plaintiff’s descendent, as all adversity impacts human

        evolution, and medicine/weaponry for forward-evolution. The antidote would

        be top-top secret or under lesser security clearances. 28 U.S.C. §§ 1491(a)(1)-(2).

        Due Process.

     10. Award value of contracted money.

     11. Re-distribution of advance weaponry to me, for Safety and Happiness. U.S.

        const., art. IV, §§ 1 & 2, cl. 1 & art. III, § 1.

     12. Other remedies which the court might deem fit, including because of the attack

        on my celebrity.




                                Respectfully submitted,




                                /s/ Raj K. Patel
                                T.E., T.E. Raj K. Patel (pro se)
                                6850 East 21st Street


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                          Indianapolis, IN 46219
                          Marion County
                          317-450-6651 (cell)
                          rajp2010@gmail.com
                          www.rajpatel.live


                          J.D. Candidate, Notre Dame L. Sch. 2022 (or permanently
                              withdrew)
                          President/Student Body President, Student Gov’t Ass’n of
                              Emory U., Inc. 2013-2014 (corporate sovereign 2013-
                              present)
                          Student Body President, Brownsburg Cmty. Sch.
                              Corp./President, Brownsburg High Sch. Student Gov’t
                              2009-2010 (corporate sovereign 2009-present)
                          Rep. from the Notre Dame L. Sch. Student B. Ass’n to the
                              Ind. St. B. Ass’n 2017
                          Deputy Regional Director, Young Democrats of Am.-High
                              Sch. Caucus 2008-2009
                          Co-Founder & Vice Chair, Ind. High Sch. Democrats 2009-
                              2010
                          Vice President of Fin. (Indep.), Oxford C. Republicans of
                              Emory U., Inc. 2011-2012




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                                        RELATED CASES

  FEDERAL CASES

     1. Patel v. United States, No. 2022-1131 (Fed. Cir. Jun. 2, 2022).

            2.   T.E., T.E. Raj K. Patel v. United States, No. 1:21-cv-2004-LAS (Fed. Cl. Nov.
                 5, 2021).

     3. Patel v. Biden et al., No. 22-5057 (D.C. Cir. Jun. 8, 2022).

            4.   Patel v. Biden et al., No. 22-cv-394-UNA (D.D.C. Mar. 9, 2022).

     5. Patel v. The White House, CBCA 7419 (202_).

     6. Patel v. Biden et al., No. 1:22-cv-01658-UNA (D.D.C. 202_).


  Federal Courts Without Subject-Matter Jurisdiction

     7. Patel v. Trump Corp., No. 20-1513 (June 14, 2021), reh’g denied (U.S. Aug. 2, 2021).

            8.   Doe v. Trump Corp., No. 20-1706 (2d Cir. Oct. 9, 2020).

            9.   Doe et al. v. The Trump Corp. et al., No. 1:18-cv-9936-LGS (S.D.N.Y. May 26,

                 2020), Dkt. 272.

     10. Patel v. F.B.I. et al., No. 1:18-cv-3441-RLY-DML (S.D.I.N. Nov. 13, 2018).

     11. Patel v. F.B.I. et al., No. 1:18-cv-3442-WTL-DML (S.D.I.N. Nov. 13, 2018).

     12. Patel v. F.B.I. et al., No. 1:18-cv-3443-TWP-MJD (S.D.I.N. Nov. 13, 2018).

     13. Patel v. Trump et al., No. 1:20-cv-454-SEB-DML (S.D.I.N. Feb. 19, 2020).

     14. Patel v. Trump et al., No. 1:20-cv-758-RLY-MJD (S.D.I.N. Apr. 14, 2020).

     15. Trump v. Vance, Jr. et al., No. 1:19-cv-8694-VM (S.D.N.Y. July 9, 2020), Dkt. 45.

     16. Patel v. Patel et al., No. 20-2713 (7th Cir. Jan. 21, 2021).

     17. Patel v. Patel et al., No. 1:20-cv-1772-TWP-MPB (Sept. 1, 2020).

     18. Carroll v. Trump, No. 1:20-cv-7311-LAK (S.D.N.Y. Oct. 28, 2020), Dkt. 36.

     19. Patel v. Martinez et al., No. 3:21-cv-241 RLM-JPK (N.D.I.N. Apr. 8, 2021).



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     20. Patel v. The President of the United States Joe Biden et al., No. 2:21-cv-01345-APG-

        EJY (D. Nev. Aug. 9, 2021).

     21. Patel v. United States, No. 1:21-cv-22729-BB (S.D. Fla. Aug. 12, 2021).

     22. Patel v. United States et al., No. 1:21-cv-2219-JMS-TAB (S.D.I.N. Aug. 20, 2021).

     23. Patel v. United States et al., No. 1:21-cv-2263-UNA (D.D.C. Sept. 8, 2021).

     24. Patel v. United States et al., No. 2:21-cv-4160-NKL (W.D. Mo. Sept. 13, 2021).

     25. Patel v. United States et al., No. 2:21-cv-16029-SDW-CLW (D.N.J. Sept. 20, 2021).

     26. Patel v. The United States et al., No. 1:21-cv-6553-LTS (S.D.N.Y. Sept. 20, 2021).

     27. Patel v. The United States et al., No. 1:21-cv-2250-RLY-MG (S.D.I.N. Sept. 21, 2021).

     28. Patel v. United States et al., No. 1:21-cv-11429-LTS (D. Mass. Sept. 24, 2021).

     29. Patel v. Biden et al., No. 21-5155 (D.C. Cir. Sept. 27, 2021).

     30. In Re Raj K. Patel, No. 21-5153 (D.C. Cir. Aug. 6, 2021).

     31. Patel v. Biden et al., No. 1:21-cv-1076-TSC (D.D.C. July 2, 2021).

     32. The Excellent Raj Patel v. The United States et al., No. 1:21-cv-3335-MLB (N.D. Ga.

        Oct. 5, 2021).

     33. The Excellent Raj Patel v. The United States et al., No. 1:21-cv-3376-MLB (N.D. Ga.

        Oct. 5, 2021).

     34. Patel v. United States et al., No. 3:21-cv-628-RLM-APR (N.D.I.N. Oct. 7, 2021).

     35. Patel v. Biden et al., No. 22-cv-465-JMS-MG (S.D.I.N. Mar. 24, 2022).

     36. In Re Raj Patel, No. 22-mc-00024-TWP (S.D.I.N. 2022).

  STATE CASE

     37. Patel v. Patel, No. 32D05-1808-PO-000372 (Ind. Super. Ct. Aug. 21, 2018).




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                               CERTIFICATE OF SERVICE

  I certify that I served a copy of the foregoing Pro Se Complaint on 06/12/2022 to below
  individuals via the Indiana Court System e-filing and Sherriff Service:

        University of Notre Dame
        c/o Rev. John I. Jenkins, C.S.C., President
        400 Main Building
        Notre Dame, IN 46556
        Tel: (574) 631-3903
        Fax: (574) 631-7428
        president@nd.edu

        University of Notre Dame
        c/o Marianne Corr, J.D., Vice President & General Counsel
        204 Main Building
        Notre Dame, Indiana 46556
        Phone: 574-631-6411
        Fax: 574-631-8233
        Marianne.Corr.10@nd.edu
        gencoun@nd.edu

        University of Notre Dame
        c/o G. Marcus Cole, J.D., Dean of the Law School
        2100 Eck Hall of Law
        Notre Dame, Indiana 46556
        Phone: 574-631-6789
        gcole2@nd.edu



                                   Respectfully submitted,



                                   /s/ Raj Patel
                                   T.E., T.E. Raj K. Patel (Pro Se)
                                   6850 East 21st Street
                                   Indianapolis, IN 46219
                                   Marion County
                                   317-450-6651 (cell)
                                   rajp2010@gmail.com
                                   www.rajpatel.live


  Dated: June 12, 2022
                                          Emails

                                       Hoynes Code


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University of Notre Dame Mail - Readmission                                              256 1)18 AM



                                                                                                          Raj Patel <rpatel4@nd.edu>



 Readmission
 17 messages

 Raj Patel <rpatel4@nd.edu>                                                                                Thu, Dec 7, 2017 at 2:23 PM
 To: Lloyd Mayer <lmayer@nd.edu>

    Hello Professor Mayer,

    As you know, I took a voluntary separation of leave this semester. I was wondering if I can be readmitted next
    spring. I found the forms below on the internet. Do I know need to fill out the first form since it was on a voluntary
    basis? I did not seek it to get medical help.

             (1) Student Readmission Questionnaire
             (2) Release of Information for Treatment Provider – ALL students
             (3) Release Of Information For Law Readmissions


    Sincerely,



    Raj Patel, JD Candidate
    Notre Dame Law School 2018
    rpatel4@nd.edu | 317-331-0008


 Lloyd Mayer <lmayer@nd.edu>                                                                               Thu, Dec 7, 2017 at 4:12 PM
 To: Raj Patel <rpatel4@nd.edu>

    Hello Mr. Patel,

    Thanks for contacting me. I actually do not handle readmissions any more - that was from when I was an Associate
    Dean. I recommend that you contact Anne Hamilton, as she should be able to get your request to the right person.

    All the best,

    LHM

    Lloyd Hitoshi Mayer
    Professor of Law
    Notre Dame Law School
    P.O. Box 780
    Notre Dame, IN 46556-0780
    campus address: 3155 Eck Hall of Law
    (574) 631-8057/cell: (574) 598-0740/fax: (574) 631-8078
    SSRN Author Page
    [Quoted text hidden]



 Raj Patel <rpatel4@nd.edu>                                                                                Thu, Dec 7, 2017 at 5:07 PM

https://mail.google.com/mail/u/1/?ui=2&ik=2c2414c7ed&jsver=OeNA…ml=160326e62464943f&siml=1605698bca425fd5&siml=16056c92ea734fd7   Page 1 of 8
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University of Notre Dame Mail - Readmission                                               257 1)18 AM

 To: Anne Hamilton <Anne.C.Hamilton.4@nd.edu>

    Hello Anne,

    Please email below for details.

    Best,

    Raj Patel

    From: Lloyd Mayer <lmayer@nd.edu>
    Sent: Thursday, December 7, 2017 4:12:51 PM
    To: Raj Patel
    Subject: Re: Readmission

    [Quoted text hidden]



 Anne Hamilton <Anne.C.Hamilton.4@nd.edu>                                                                  Thu, Dec 7, 2017 at 9:16 PM
 To: Raj Patel <rpatel4@nd.edu>

    Raj, please check with Peter Horvath on the procedures you need to follow for readmission consideration.
    Thank you,
    Anne
    [Quoted text hidden]



 Raj Patel <rpatel4@nd.edu>                                                                                Thu, Dec 7, 2017 at 9:30 PM
 To: Peter Horvath <phorvath@nd.edu>

    Hello Peter,

    Please see the email thread below.

    From: Anne Hamilton <Anne.C.Hamilton.4@nd.edu>
    Sent: Thursday, December 7, 2017 9:16:12 PM
    To: Raj Patel
    Subject: Re: Re: Readmission

    [Quoted text hidden]



 Peter Horvath <phorvath@nd.edu>                                                                             Fri, Dec 8, 2017 at 8:37 AM
 To: Raj Patel <rpatel4@nd.edu>
 Cc: Kevin O'Rear <korear@nd.edu>, Anne Hamilton <Anne.C.Hamilton.4@nd.edu>

    Raj,

    Thanks for the note and I hope you're doing well.

    As I know we discussed at the time you were considering withdrawing from school and you mentioned the possibility
    of returning in the Spring 2018 semester, do you feel that you've had enough time away to address the underlying
    reasons for why you withdrew in the first place? I am very concerned that this return may be too soon and, if you
    have not had time to address properly the reasons for your withdrawal, you may experience the same issues in the

https://mail.google.com/mail/u/1/?ui=2&ik=2c2414c7ed&jsver=OeNA…l=160326e62464943f&siml=1605698bca425fd5&siml=16056c92ea734fd7   Page 2 of 8
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    spring. And we certainly do not want to be in a position of setting you up for a difficult or unmanageable semester.

    Please let us know what you think and how you feel your situation has changed or improved over the last few weeks,
    such that you would be able to return so soon.

    Regards,

    Peter
    [Quoted text hidden]



 Raj Patel <rpatel4@nd.edu>                                                                                  Fri, Dec 8, 2017 at 8:57 AM
 To: Peter Horvath <phorvath@nd.edu>

    Hello Peter,

    Thank you for your quick response. I've spoken to my parents with this issue, and it's probably come
    to the best resolution.

    The underlying reason was the family and technology issues which has been going on for a while. It
    caused a lack of motivation. I was only in 14 credits this semester, and 11 academics creidts when I
    took a voluntary seperation. I needed to maintain or raise my GPA, and I've never felt like this before.
    Therefore, I took a voluntary separation of leave.

    I believe I will be ready to start the semester again this spring. I might need to stay for the fall too, but I
    was hoping we can discuss ways in which I might be able to complete in the spring by taking 7 pre-
    semester MBA credits before law school classes start.

    Sincerely,


    Raj Patel

    From: Peter Horvath <phorvath@nd.edu>
    Sent: Friday, December 8, 2017 8:37:07 AM
    To: Raj Patel
    Cc: Kevin O'Rear; Anne Hamilton
    Subject: Re: Re: Re: Readmission

    [Quoted text hidden]



 Peter Horvath <phorvath@nd.edu>                                                                        Wed, Dec 13, 2017 at 11:45 AM
 To: Raj Patel <rpatel4@nd.edu>
 Cc: Kevin O'Rear <korear@nd.edu>, Anne Hamilton <Anne.C.Hamilton.4@nd.edu>

    Raj,

    If you would like to apply for readmission for the Spring 2018 semester, our standard procedure for students who
    wish to return includes providing to me or Dean O'Rear:

         1. An updated character-and-fitness questionnaire, which is below, and
         2. An official statement of what you did while you were away from school, as a separate document.

https://mail.google.com/mail/u/1/?ui=2&ik=2c2414c7ed&jsver=OeNA…l=160326e62464943f&siml=1605698bca425fd5&siml=16056c92ea734fd7   Page 3 of 8
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University of Notre Dame Mail - Readmission                                              259 1)18 AM

    Additionally, we ask that you submit a letter from your most recent treatment provider(s) to the University Counseling
    Center for review.

    Please send these items as soon as you are able so we have time to review them well in advance of when the Spring
    2018 semester begins on January 15.

    Regards,

    Peter


    Character and Fitness
    Please check "Yes" or "No" for each question. If the answer to either question is "Yes," you must submit a full
    explanation of
    circumstances involved and resolution of the situation(s) for each question so answered as an electronic attachment.
    Please
    double-space your explanation and label the attachment with your name, LSAC account number, and use the title
    "Character
    and Fitness" in the header.
    If you answer "No" to these questions now but later engage in an action that would have caused you to answer "Yes" to
    either
    of the Character and Fitness questions, you must immediately update the Office of Admissions regarding the incident.
    Please
    send updates to bulletin@nd.edu.
    In addition to a bar examination, there are character, fitness, and other qualifications for admission to the bar in every
    U.S.
    jurisdiction. Applicants are encouraged to determine the requirements for any jurisdiction in which they intend to
    seek
    admission by contacting the jurisdiction. Addresses for all relevant agencies are available through the National
    Conference of
    Bar Examiners.
    Have you ever been formally accused of or been suspended, dismissed, expelled, asked to withdraw, or placed on
    probation
    for any academic, scholastic, disciplinary, or other misconduct by any school, college, or university?
    ____ Yes
    ____ No
    Have you ever been arrested, charged with, or convicted of a misdemeanor, felony, or other crime? This includes
    charges
    that are pending, or to which you have plead "guilty" or "no contest."
    ____ Yes
    ____ No
    [Quoted text hidden]



 Raj Patel <rpatel4@nd.edu>                                                                              Wed, Dec 13, 2017 at 1:54 PM
 To: Peter Horvath <phorvath@nd.edu>




    Raj Patel, JD Candidate
    Notre Dame Law School 2018
    rpatel4@nd.edu | 317-331-0008

    [Quoted text hidden]



https://mail.google.com/mail/u/1/?ui=2&ik=2c2414c7ed&jsver=OeNA…l=160326e62464943f&siml=1605698bca425fd5&siml=16056c92ea734fd7   Page 4 of 8
           Case 1:22-cv-01329-JPH-MG Document 1-2 Filed 07/05/22 Page 32 of 201 PageID #: 4/29/18,
University of Notre Dame Mail - Readmission                                               260 1)18 AM

           Character and Fitness.pdf
           42K


 Peter Horvath <phorvath@nd.edu>                                                                         Wed, Dec 13, 2017 at 1:54 PM
 To: Raj Patel <rpatel4@nd.edu>
 Cc: Kevin O'Rear <korear@nd.edu>, Anne Hamilton <Anne.C.Hamilton.4@nd.edu>

    Raj,

    Specifically regarding the information needed by the University Counseling Center, please see
    http://ucc.nd.edu/readmission/#lawschool, which reads:

    Law School Students

    You must contact the Associate Dean for Academic Affairs no later than April 15 (if you are eligible for fall semester
    readmission) or by October 15 (if you are eligible for spring semester readmission). Please note that readmission is
    not automatic.

    The Law School will notify the UCC of your interest in readmission. Please print and complete the
    required UCC readmission forms and procedures outlined within them. Links to the required UCC readmission forms
    are listed below.

    Your readiness to return and resume the pressures of academic life at Notre Dame Law School will be evaluated by
    the UCC and a recommendation made to the Law School. The completed UCC readmission materials must be received
    no later than April 24 (if applying for the following fall semester) or November 12 (if applying for the
    following spring semester). The UCC will be able to make a recommendation only after received all required
    materials. The Law School makes the final decision regarding the student’s readmission.

    ​Peter​


    On Wed, Dec 13, 2017 at 11:45 AM, Peter Horvath <phorvath@nd.edu> wrote:
    [Quoted text hidden]




 Raj Patel <rpatel4@nd.edu>                                                                              Wed, Dec 13, 2017 at 2:35 PM
 To: Peter Horvath <phorvath@nd.edu>

    Hello Peter, Please see the attached.


    Raj Patel, JD Candidate
    Notre Dame Law School 2018
    rpatel4@nd.edu | 317-331-0008

    [Quoted text hidden]


     2 attachments
           readmission_questionnaire_to_be_completed_by_the_student_updated_12_11_17.pdf
           330K
           Seperation of Leave.pdf


https://mail.google.com/mail/u/1/?ui=2&ik=2c2414c7ed&jsver=OeNA…l=160326e62464943f&siml=1605698bca425fd5&siml=16056c92ea734fd7   Page 5 of 8
           Case 1:22-cv-01329-JPH-MG Document 1-2 Filed 07/05/22 Page 33 of 201 PageID #: 4/29/18,
University of Notre Dame Mail - Readmission                                               261 1)18 AM

           33K



 Peter Horvath <phorvath@nd.edu>                                                                         Wed, Dec 13, 2017 at 5:25 PM
 To: Raj Patel <rpatel4@nd.edu>
 Cc: Kevin O'Rear <korear@nd.edu>, Anne Hamilton <Anne.C.Hamilton.4@nd.edu>

    Raj,

    We are aware that you were hospitalized while you've been away from NDLS. As such, we must follow the
    University's established protocol, which means you must provide additional information about this hospitalization from
    your treatment provider(s), irrespective of the initial reason why you withdrew from school and that you did not
    indicate that you were withdrawing for health reasons. This cannot merely be documentation from a doctor or
    caregiver you might have seen since the hospitalization, but it must be from the person(s) who treated you at the
    hospital.

    Further, you must provide this information no later than 12:00 PM on Thursday, December 21, as it needs to be
    reviewed by a counselor in the University Counseling Center. Even then, with counselors being away for the Holidays
    and considering the time it will take to evaluate information about the hospitalization, the decision on your
    readmission may be made as late as January 12, 2018.

    Peter
    [Quoted text hidden]



 Raj Patel <rpatel4@nd.edu>                                                                              Wed, Dec 13, 2017 at 6:23 PM
 To: Peter Horvath <phorvath@nd.edu>

    Hello Peter,

    Can I ask how the law school was made aware? I'm just wondering.

    Thanks,

    Raj Patel

    From: Peter Horvath <phorvath@nd.edu>
    Sent: Wednesday, December 13, 2017 5:25:01 PM
    [Quoted text hidden]


    [Quoted text hidden]



 Peter Horvath <phorvath@nd.edu>                                                                         Thu, Dec 14, 2017 at 10:29 AM
 To: Raj Patel <rpatel4@nd.edu>
 Cc: Kevin O'Rear <korear@nd.edu>, Anne Hamilton <Anne.C.Hamilton.4@nd.edu>

    Raj,

    I am not in a position to share that information. The important thing is making sure you are all right and approved to
    return to school, which is why the University has established the process of getting supporting documentation from a
    treatment provider. Let's focus on the process and the relevant items needed by 12 PM next Thursday, December 21.


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          Case 1:22-cv-01329-JPH-MG Document 1-2 Filed 07/05/22 Page 34 of 201 PageID #: 4/29/18,
University of Notre Dame Mail - Readmission                                              262 1)18 AM

    Peter
    [Quoted text hidden]



 Raj Patel <rpatel4@nd.edu>                                                                               Thu, Dec 14, 2017 at 2:46 PM
 To: Peter Horvath <phorvath@nd.edu>
 Cc: Kevin O'Rear <korear@nd.edu>, Anne Hamilton <Anne.C.Hamilton.4@nd.edu>

    Hello Peter, please see the attached.


    Raj Patel, JD Candidate
    Notre Dame Law School 2018
    rpatel4@nd.edu | 317-331-0008

    [Quoted text hidden]


     2 attachments
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          171K
          updated_roi_fortreating_agent_updated_8_27_15.pdf
          216K


 Peter Horvath <phorvath@nd.edu>                                                                          Thu, Dec 14, 2017 at 2:54 PM
 To: Raj Patel <rpatel4@nd.edu>
 Cc: Kevin O'Rear <korear@nd.edu>, Anne Hamilton <Anne.C.Hamilton.4@nd.edu>

    Thank you, Raj. I also want to make sure (1) you've reviewed the Readmission Memo and (2) you are in the process
    of having the Student Readmission Questionnaire and the Treatment Provider Questionnaire completed.

    Regards,

    Peter
    [Quoted text hidden]



 Raj Patel <rpatel4@nd.edu>                                                         Thu, Dec 14, 2017 at 3:48 PM
 To: Peter Horvath <phorvath@nd.edu>, Kevin O'Rear <korear@nd.edu>, Anne Hamilton <Anne.C.Hamilton.4@nd.edu>

    Hello Peter,

    I have sent those things in. If re-admitted, I was hoping to take 6-7 business school credits before the law school
    semester; they will be on a S/U basis. I will then take 14-15 credits during the spring semester. If I can do this, I will
    be able to graduate in Spring 2018. I read Section 4.4.4.1.6 to be the exception to the 3 credit limitations per
    semester (4.4.4.1). I was wondering if my voluntary separation of leave would constitute a "extraordinarily
    compelling reasons." Therefore, I would like to see if the dean will waive the requirement per 4.4.4.1.



    4.4.4.1. A student in the Law School may receive curricular academic credit for graduate-level courses taken in the
    Graduate School or the Mendoza College of Business (“Mendoza”) as follows:

    4.4.4.1.1. Up to three hours of curricular academic credit may count toward the minimum hour requirements in any

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          Case 1:22-cv-01329-JPH-MG Document 1-2 Filed 07/05/22 Page 35 of 201 PageID #: 4/29/18,
University of Notre Dame Mail - Readmission                                              263 1)18 AM

    semester after the first year.

    4.4.4.1.2. Up to nine hours of curricular academic credit may be credited toward the J.D. degree.

    4.4.4.1.3. The determination of what constitutes a graduate- level course for purposes of this rule rests within the
    dean’s discretion.

    4.4.4.1.4. Students enrolled in joint degree programs described in section 4.7 are not subject to the limits imposed by
    section 4.4.4.1.1 and section 4.4.4.1.2 but are instead subject to the limits imposed by those programs.

    4.4.4.1.5. For students enrolled in a second degree program at the University that is not part of a joint degree
    program described in section 4.7, the dean may waive the limits imposed by section 4.4.4.1.1 and section 4.4.4.1.2 for
    good cause.

    4.4.4.1.6. For students not covered by section 4.4.4.1.4 or section 4.4.4.1.5, the dean may waive the limits imposed
    by section 4.4.4.1.1 and section 4.4.4.1.2, but only for extraordinarily compelling reasons.



    ​Best,​


    Raj Patel, JD Candidate
    Notre Dame Law School 2018
    rpatel4@nd.edu | 317-331-0008

    [Quoted text hidden]




https://mail.google.com/mail/u/1/?ui=2&ik=2c2414c7ed&jsver=OeNA…l=160326e62464943f&siml=1605698bca425fd5&siml=16056c92ea734fd7   Page 8 of 8
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                                                    rajpatel.live Mail07/05/22        Page 36 of 201 PageID #: 264
                                                                      - Application Analysis


                                                                                                                                                                                   Raj Patel <raj@rajpatel.live>



 Application Analysis
 1 message

 Raj Patel <raj@rajpatel.live>                                                                                                                                                            Wed, May 20, 2020 at 11:
 To: Kevin Doyle O'Rear <korear@nd.edu>

   Hello Dean O'Rear,

   Have you ever been arrested, charged with, or convicted of a misdemeanor, felony, or other crime? This includes charges that are pending, or to which you have plead "guilty" or "no contest." *

   (1) For curiosity, does this question include charges which are expunged? Section (d) of Indiana Code (I.C.) 35-38-9-10 states that "In any application for employment, a license, or other right or privilege, a [le
   person may be questioned about a previous criminal record only in terms that exclude expunged convictions or arrests, such as: 'Have you ever been arrested for or convicted of a crime that has not been expunge
   a court?'" The current Notre Dame question is inclusive of expunged records. However, I.C. 35-38-9-10(d) qualifies questions a law school may ask for the right to re-apply in terms of non-expunged records onl
   Previous criminal records include, but are not limited to, charge records, arrests records, and mental health records. Therefore, Notre Dame's question is invaild because it is too broad by being inclusive of non-
   expunged records and requiring a mental health evaluation. Notre Dame should change its question to include only non-expunged records.

   http://iga.in.gov/static-documents/9/8/c/5/98c51072/TITLE35_AR38_ch9.pdf

   (2) For clarification, according to my lawyer, if accusations from a prosecutor/charge are dismissed, then a person is never legally charged nor legally convicted. After legal expungement, individuals are given th
   explicit legal statutory right to say "no," to questions such as "are there expunged records." See generally I.C. 35-38-9-10(d) and (e). This includes law school applications. For the Fall 2020 application, I
   inadvertently marked "yes," when the answer should have been "no." Requiring me to go to the University Counseling Center is incriminating and in violation of I.C. 35-38-9-10(d) and (e).

   (3) A.B.A. Standard 504 proposes two different times a law school should ask about character and fitness in the form of two different questions, one before admissions and one for students after matriculation.
   Therefore, maybe Notre Dame might consider updating the character and fitness test for admissions and re-admissions. The character and fitness test before admissions decisions and re-admissions can be limited
   non-expunged records. The character and fitness test after admissions and re-admissions can be more inclusive of expunged records because it will help the law school advice for bar admissions.

   https://www.americanbar.org/content/dam/aba/administrative/legal_education_and_admissions_to_the_bar/standards/2019-2020/2019-2020-aba-standards-chapter5.pdf



   Best,

   Raj Patel


   Raj K. Patel
   Law, Notre Dame Law School 2021 (on a voluntary separation of leave, in good standing)
     Political Science and Religious Studies (Honors), Emory University 2014

     Student Body President, Emory University, Inc. 2013-2014
     President, Emory University Student Government Association 2013-14

     Assistant Chair, S.G.A. Governance Committee & Rep.-At-Large 2012-13

     Student Body President, Brownsburg Community School Corporation 2009-2010
     President, Brownsburg High School Student Council C.H.A.I.N. Link 2009-10

     Representative from Notre Dame S.B.A. to the Indiana State Bar Association, 2017

     501 N. Capitol Avenue, Apt. 2114-D
     Indianapolis, IN 46204
     U.S.A.
     (m) 317-450-6651
     raj@rajpatel.live
     rajp2010@gmail.com

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   be protected by law. Any unauthorized review, use, disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply e-mail and destroy all copie
   the original message.




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                                                                               Withdrawal Status        37 of 201
                                                                                                 and Readmission       PageID #: 265
                                                                                                                 Procedure



                                                                                                              Raj Patel <raj@rajpatel.live>



  Follow Up Regarding Withdrawal Status and Readmission Procedure
  1 message

  Kevin O'Rear <korear@nd.edu>                                                                             Wed, May 20, 2020 at 10:36 AM
  To: Raj Patel <raj@rajpatel.live>
  Cc: "Jacob S. Baska" <jbaska@nd.edu>, Jennifer Fox <jenniferfox@nd.edu>

    Dear Raj: The questions you submitted recently to Law Registrar Jenny Fox and Director of Admissions Jake Baska have
    been forwarded to me for response.

    You asked Jenny about the form of your withdrawal. You withdrew during the semester separated from the university on
    November 17, 2017.

    You asked Jake about the form(s) required for readmission. The form that you will be required to complete in order to be
    considered eligible for admission in Spring 2021 is available at: https://docs.google.com/forms/d/e/
    1FAIpQLSfYBtShGBBh8ehOFbPaPwdOppvw1ekgaxXtpge14JbthHB5bQ/viewform. The deadline for completing an
    application is October 15, 2020.

    As Jake noted in his message to you on May 11, if you choose to reapply you must obtain a certification of readiness from
    the University Counseling Center. They will provide guidance on their paperwork and related requirements for
    readmission. You may find the necessary contact information at https://ucc.nd.edu/readmission/.

    Please direct any further correspondence to my attention. Thank you.

    Kevin Doyle O'Rear
    Assistant Dean
    The Law School
    University of Notre Dame
    law.nd.edu

    574-631-5410 (direct)
    574-261-7192 (mobile)

    1106 Eck Hall of Law
    Notre Dame, IN 46556




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                                                                                     Request 38 of 201 PageID #: 266



                                                                                                              Raj Patel <raj@rajpatel.live>



  Fwd: Appointment Request
  1 message

  Raj Patel <raj@rajpatel.live>                                                                               Fri, May 15, 2020 at 12:50 PM
  To: Marianne Corr <mcorr1@nd.edu>

    It looks like Dean ORear admitted to discriminating against me and violating explicit law of Indiana.

    Best,

    Raj Patel



    ---------- Forwarded message ---------
    From: Raj Patel <raj@rajpatel.live>
    Date: Thu, May 14, 2020, 10:17 PM
    Subject: Re: Appointment Request
    To: Kevin O'Rear <korear@nd.edu>
    Cc: Jacob S. Baska <jbaska@nd.edu>


    We have received many messages from you in the past few years that are disturbing and which raise serious questions
    about your ability to pass a character and fitness review.

    ^ Per the law, I do not foresee any legal questions raised to pass a character and fitness test. See I.C. 35-38-9-10(b)(4)-
    (6) and (d) and (e). In fact, I feel discriminated by your answer on my character and fitness.



    Best,



    Raj Patel


    On Thu, May 14, 2020, 10:06 PM Raj Patel <raj@rajpatel.live> wrote:
     (2) be aware that the Law School may decide in the future that, based upon your conduct, including disturbing notes to
     University faculty and officials since your withdrawal, you are not eligible for readmission.

       ^ Why is this even a material consideration for re-admissions? Relationships with law school professors is not a part of
       application process. You're reprimanding me without trial by the Hoynes Code, which probably does not apply to the time
       I am not a law student. Further, it is retaliation for using my First Amendment rights.

       On Thu, May 14, 2020, 8:49 PM Raj Patel <raj@rajpatel.live> wrote:
        IC 35-38-9-10
        Unlawful discrimination against a person whose record has been
        expunged; exceptions
        Sec. 10. (a) This section does not apply to a person to whom sealed records may be disclosed under section 6(a)(2)
        of this chapter.
        (b) It is unlawful discrimination for any person to:
        (1) suspend;
        (2) expel;
        (3) refuse to employ;
        (4) refuse to admit;
        (5) refuse to grant or renew a license, permit, or certificate
        necessary to engage in any activity, occupation, or profession;
        or
https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-a%3Ar2252671741741253206%7Cmsg-a%3Ar858443517563193091&si…   1/3
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          (6) otherwise discriminate against;
          any person because of a conviction or arrest record expunged or
          sealed under this chapter.
          (c) Except as provided in section 6(f) of this chapter, the civil
          rights of a person whose conviction has been expunged shall be fully
          restored, including the right to vote, to hold public office, to be a
          proper person under IC 35-47-1-7(2), and to serve as a juror.
          (d) In any application for employment, a license, or other right or
          privilege, a person may be questioned about a previous criminal
          record only in terms that exclude expunged convictions or arrests,
          such as: "Have you ever been arrested for or convicted of a crime
          that has not been expunged by a court?".
          (e) A person whose record is expunged shall be treated as if the person had never been convicted of the
          offense. However, upon a
          subsequent arrest or conviction for an unrelated offense, the prior
          expunged...

          http://www.state.in.us/ipdc/files/TITLE35_AR38_ch9.pdf&ved=2ahUKEwiWpIXqz7TpAhXiB50JHQZSA
          D8QFjABegQIERAG&usg=AOvVaw0yFCqtPXLii1Wt622ipvv1

          On Thu, May 14, 2020, 5:32 PM Kevin O'Rear <korear@nd.edu> wrote:
           Dear Raj: Thank you for your email. I do not believe a meeting or phone call is necessary or would be helpful at this
           time.

            You indicate that you believe you would forgo your J.D. candidacy if you do not re-enroll at Notre Dame by Spring
            2021. That is not necessarily correct. While the Hoynes Code and ABA Standard 311(b) require a student to
            complete a JD degree within 84 months of beginning, it is important to note:

                      The 84-month requirement may be waived for extraordinary circumstances
                      You are not required to complete your studies at Notre Dame Law School in order to receive a J.D., and you
                      may apply for transfer admission to any other accredited law school.

            I also want to note that, if you choose to apply for readmission to Notre Dame Law School in the future, your
            application will be reviewed on the basis of all of the facts of which we are aware at the time. Readmission to the
            Law School is not guaranteed, although whether you have filed litigation against the University will not, in and of
            itself, prevent you from being admitted.

            We are, however, required to review each applicant's character and fitness to be admitted to the bar. We have
            received many messages from you in the past few years that are disturbing and which raise serious questions
            about your ability to pass a character and fitness review. I flag this so that you may (1) guide your behavior going
            forward and (2) be aware that the Law School may decide in the future that, based upon your conduct, including
            disturbing notes to University faculty and officials since your withdrawal, you are not eligible for readmission.

            Best wishes,

            Kevin Doyle O'Rear
            Assistant Dean
            The Law School
            University of Notre Dame
            law.nd.edu

            574-631-5410 (direct)
            574-261-7192 (mobile)

            1106 Eck Hall of Law
            Notre Dame, IN 46556


            On Wed, May 13, 2020 at 10:58 AM Raj Patel <raj@rajpatel.live> wrote:

                    Hello Dean O'Rear,

                    I applied for readmissions into the Law School for Fall 2020, but I was denied. If I do not re-enroll by Spring
                    2021, I have to forgo my J.D. candidancy.


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                    I took a voluntary seperation of leave in good standing, and I have a 3.1/4.0 GPA at the Law School. I feel like
                    some of my grades are deflated, and while I sued the university, the judge reasoned in my favor before
                    dismissing the case. The judge said that I should receive the benefit of the doubt iny allegations.

                    Other students have sued universities without risking their attendance at that university.

                    I was hoping you can help me re-enroll in Fall 2020 or Spring 2021.

                    I am available for an in-person meeting.



                    Best,


                    Raj Patel
                    317-450-6651




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                                                                                                              Raj Patel <raj@rajpatel.live>



  Re: Appointment Request
  1 message

  Raj Patel <raj@rajpatel.live>                                                                             Thu, May 14, 2020 at 10:17 PM
  To: Kevin O'Rear <korear@nd.edu>
  Cc: "Jacob S. Baska" <jbaska@nd.edu>

    We have received many messages from you in the past few years that are disturbing and which raise serious questions
    about your ability to pass a character and fitness review.

    ^ Per the law, I do not foresee any legal questions raised to pass a character and fitness test. See I.C. 35-38-9-10(b)(4)-
    (6) and (d) and (e). In fact, I feel discriminated by your answer on my character and fitness.



    Best,



    Raj Patel


    On Thu, May 14, 2020, 10:06 PM Raj Patel <raj@rajpatel.live> wrote:
     (2) be aware that the Law School may decide in the future that, based upon your conduct, including disturbing notes to
     University faculty and officials since your withdrawal, you are not eligible for readmission.

       ^ Why is this even a material consideration for re-admissions? Relationships with law school professors is not a part of
       application process. You're reprimanding me without trial by the Hoynes Code, which probably does not apply to the time
       I am not a law student. Further, it is retaliation for using my First Amendment rights.

       On Thu, May 14, 2020, 8:49 PM Raj Patel <raj@rajpatel.live> wrote:
        IC 35-38-9-10
        Unlawful discrimination against a person whose record has been
        expunged; exceptions
        Sec. 10. (a) This section does not apply to a person to whom sealed records may be disclosed under section 6(a)(2)
        of this chapter.
        (b) It is unlawful discrimination for any person to:
        (1) suspend;
        (2) expel;
        (3) refuse to employ;
        (4) refuse to admit;
        (5) refuse to grant or renew a license, permit, or certificate
        necessary to engage in any activity, occupation, or profession;
        or
        (6) otherwise discriminate against;
        any person because of a conviction or arrest record expunged or
        sealed under this chapter.
        (c) Except as provided in section 6(f) of this chapter, the civil
        rights of a person whose conviction has been expunged shall be fully
        restored, including the right to vote, to hold public office, to be a
        proper person under IC 35-47-1-7(2), and to serve as a juror.
        (d) In any application for employment, a license, or other right or
        privilege, a person may be questioned about a previous criminal
        record only in terms that exclude expunged convictions or arrests,
        such as: "Have you ever been arrested for or convicted of a crime
        that has not been expunged by a court?".
        (e) A person whose record is expunged shall be treated as if the person had never been convicted of the
        offense. However, upon a
        subsequent arrest or conviction for an unrelated offense, the prior
https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-a%3Ar2252671741741253206%7Cmsg-a%3Ar3039687278500599413&s…   1/3
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          expunged...

          http://www.state.in.us/ipdc/files/TITLE35_AR38_ch9.pdf&ved=2ahUKEwiWpIXqz7TpAhXiB50JHQZSA
          D8QFjABegQIERAG&usg=AOvVaw0yFCqtPXLii1Wt622ipvv1

          On Thu, May 14, 2020, 5:32 PM Kevin O'Rear <korear@nd.edu> wrote:
           Dear Raj: Thank you for your email. I do not believe a meeting or phone call is necessary or would be helpful at this
           time.

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            2021. That is not necessarily correct. While the Hoynes Code and ABA Standard 311(b) require a student to
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                      The 84-month requirement may be waived for extraordinary circumstances
                      You are not required to complete your studies at Notre Dame Law School in order to receive a J.D., and you
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            I also want to note that, if you choose to apply for readmission to Notre Dame Law School in the future, your
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            Law School is not guaranteed, although whether you have filed litigation against the University will not, in and of
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            received many messages from you in the past few years that are disturbing and which raise serious questions
            about your ability to pass a character and fitness review. I flag this so that you may (1) guide your behavior going
            forward and (2) be aware that the Law School may decide in the future that, based upon your conduct, including
            disturbing notes to University faculty and officials since your withdrawal, you are not eligible for readmission.

            Best wishes,

            Kevin Doyle O'Rear
            Assistant Dean
            The Law School
            University of Notre Dame
            law.nd.edu

            574-631-5410 (direct)
            574-261-7192 (mobile)

            1106 Eck Hall of Law
            Notre Dame, IN 46556


            On Wed, May 13, 2020 at 10:58 AM Raj Patel <raj@rajpatel.live> wrote:

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                    I applied for readmissions into the Law School for Fall 2020, but I was denied. If I do not re-enroll by Spring
                    2021, I have to forgo my J.D. candidancy.

                    I took a voluntary seperation of leave in good standing, and I have a 3.1/4.0 GPA at the Law School. I feel like
                    some of my grades are deflated, and while I sued the university, the judge reasoned in my favor before
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                    I was hoping you can help me re-enroll in Fall 2020 or Spring 2021.

                    I am available for an in-person meeting.



                    Best,



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                                                                     Re: Appointment Page
                                                                                     Request 43 of 201 PageID #: 271
                    Raj Patel
                    317-450-6651




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                                                                     Re: Appointment Page
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                                                                                                              Raj Patel <raj@rajpatel.live>



  Re: Appointment Request
  1 message

  Raj Patel <raj@rajpatel.live>                                                                             Thu, May 14, 2020 at 10:06 PM
  To: Kevin O'Rear <korear@nd.edu>
  Cc: "Jacob S. Baska" <jbaska@nd.edu>

    (2) be aware that the Law School may decide in the future that, based upon your conduct, including disturbing notes to
    University faculty and officials since your withdrawal, you are not eligible for readmission.

    ^ Why is this even a material consideration for re-admissions? Relationships with law school professors is not a part of
    application process. You're reprimanding me without trial by the Hoynes Code, which probably does not apply to the time I
    am not a law student. Further, it is retaliation for using my First Amendment rights.

    On Thu, May 14, 2020, 8:49 PM Raj Patel <raj@rajpatel.live> wrote:
     IC 35-38-9-10
     Unlawful discrimination against a person whose record has been
     expunged; exceptions
     Sec. 10. (a) This section does not apply to a person to whom sealed records may be disclosed under section 6(a)(2) of
     this chapter.
     (b) It is unlawful discrimination for any person to:
     (1) suspend;
     (2) expel;
     (3) refuse to employ;
     (4) refuse to admit;
     (5) refuse to grant or renew a license, permit, or certificate
     necessary to engage in any activity, occupation, or profession;
     or
     (6) otherwise discriminate against;
     any person because of a conviction or arrest record expunged or
     sealed under this chapter.
     (c) Except as provided in section 6(f) of this chapter, the civil
     rights of a person whose conviction has been expunged shall be fully
     restored, including the right to vote, to hold public office, to be a
     proper person under IC 35-47-1-7(2), and to serve as a juror.
     (d) In any application for employment, a license, or other right or
     privilege, a person may be questioned about a previous criminal
     record only in terms that exclude expunged convictions or arrests,
     such as: "Have you ever been arrested for or convicted of a crime
     that has not been expunged by a court?".
     (e) A person whose record is expunged shall be treated as if the person had never been convicted of the
     offense. However, upon a
     subsequent arrest or conviction for an unrelated offense, the prior
     expunged...

       http://www.state.in.us/ipdc/files/TITLE35_AR38_ch9.pdf&ved=2ahUKEwiWpIXqz7TpAhXiB50JHQZSA
       D8QFjABegQIERAG&usg=AOvVaw0yFCqtPXLii1Wt622ipvv1

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https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-a%3Ar2252671741741253206%7Cmsg-a%3Ar321832393974707872&si…   1/2
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                                                                     Re: Appointment Page
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          Best wishes,

          Kevin Doyle O'Rear
          Assistant Dean
          The Law School
          University of Notre Dame
          law.nd.edu

          574-631-5410 (direct)
          574-261-7192 (mobile)

          1106 Eck Hall of Law
          Notre Dame, IN 46556


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               Other students have sued universities without risking their attendance at that university.

               I was hoping you can help me re-enroll in Fall 2020 or Spring 2021.

               I am available for an in-person meeting.



               Best,


               Raj Patel
               317-450-6651




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                                                                     Re: Appointment Page
                                                                                     Request 46 of 201 PageID #: 274



                                                                                                              Raj Patel <raj@rajpatel.live>



  Re: Appointment Request
  1 message

  Raj Patel <raj@rajpatel.live>                                                                              Thu, May 14, 2020 at 8:49 PM
  To: Kevin O'Rear <korear@nd.edu>
  Cc: "Jacob S. Baska" <jbaska@nd.edu>

    IC 35-38-9-10
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    expunged; exceptions
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    (2) expel;
    (3) refuse to employ;
    (4) refuse to admit;
    (5) refuse to grant or renew a license, permit, or certificate
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    or
    (6) otherwise discriminate against;
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    such as: "Have you ever been arrested for or convicted of a crime
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    (e) A person whose record is expunged shall be treated as if the person had never been convicted of the offense.
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    http://www.state.in.us/ipdc/files/TITLE35_AR38_ch9.pdf&ved=2ahUKEwiWpIXqz7TpAhXiB50JHQZSA
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               You are not required to complete your studies at Notre Dame Law School in order to receive a J.D., and you may
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       will be reviewed on the basis of all of the facts of which we are aware at the time. Readmission to the Law School is not
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https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-a%3Ar2252671741741253206%7Cmsg-a%3Ar5751969779701236227&s…   1/2
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                                                                     Re: Appointment Page
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       to pass a character and fitness review. I flag this so that you may (1) guide your behavior going forward and (2) be
       aware that the Law School may decide in the future that, based upon your conduct, including disturbing notes to
       University faculty and officials since your withdrawal, you are not eligible for readmission.

       Best wishes,

       Kevin Doyle O'Rear
       Assistant Dean
       The Law School
       University of Notre Dame
       law.nd.edu

       574-631-5410 (direct)
       574-261-7192 (mobile)

       1106 Eck Hall of Law
       Notre Dame, IN 46556


       On Wed, May 13, 2020 at 10:58 AM Raj Patel <raj@rajpatel.live> wrote:

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            Other students have sued universities without risking their attendance at that university.

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            I am available for an in-person meeting.



            Best,


            Raj Patel
            317-450-6651




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                                                                     Re: Appointment Page
                                                                                     Request 48 of 201 PageID #: 276



                                                                                                              Raj Patel <raj@rajpatel.live>



  Re: Appointment Request
  1 message

  Raj Patel <raj@rajpatel.live>                                                                              Thu, May 14, 2020 at 7:08 PM
  To: Kevin O'Rear <korear@nd.edu>
  Cc: "Jacob S. Baska" <jbaska@nd.edu>

    For clarification, according to my lawyer, if accusations from a prosecutor/charge are dismissed, then a person is never
    legally charged nor legally convicted. After legal expungement, individuals are given the explicit legal statutory right to say
    "no," to questions such as "are there expunged records." This includes the bar.

    However, for intregrity, I have disclosed all of my convictions -- speeding tickets.

    I have a citizen of Indiana and live in Indiana.


    Best,


    Raj Patel

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                The 84-month requirement may be waived for extraordinary circumstances
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                                                  1-2 Filed   Mail - 07/05/22
                                                                     Re: Appointment Page
                                                                                     Request 49 of 201 PageID #: 277
       On Wed, May 13, 2020 at 10:58 AM Raj Patel <raj@rajpatel.live> wrote:

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            Other students have sued universities without risking their attendance at that university.

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            I am available for an in-person meeting.



            Best,


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                                                                     Re: Appointment Page
                                                                                     Request 50 of 201 PageID #: 278



                                                                                                              Raj Patel <raj@rajpatel.live>



  Re: Appointment Request
  1 message

  Raj Patel <raj@rajpatel.live>                                                                               Thu, May 14, 2020 at 6:44 PM
  To: Kevin O'Rear <korear@nd.edu>
  Cc: "Jacob S. Baska" <jbaska@nd.edu>

    Hello Dean O'Rear,

    I would like to say that prior to enrollment at Notre Dame Law School, I did not have disclosures except for speeding
    tickets. That also remains the legal facts to this day, after consulting my attorney. Please note there should not be
    anything vaild in character and fitness that would prevent me from passing a character and fitness test. I have no
    conviction ever, on or off my record.

    I filed civil litigation against the university. For this fact, to the extent it is detrimental to my re-enrollment, I would like to be
    in the loop with President Jenkins and the General Counsel. I was simply exercising my constitutional rights. Please note
    that the judge reasoned in my favor before dismissing, that my claims while legally unprovable, at the moment, are
    possible (See attached resume). F.B.I. also favors me in that I have the side effects of bio-hacking (i.e. a supervirus),
    which could have began before enrolling at the law school.

    For the fact that I have to complete my law degree without 84 months (7 years). I enrolled in August 2015, and 7 years,
    puts me requiree completion date of August 2021, unless this requirement is waived. If this is not true, can you please
    guide.

    I have completed 2+ of the 3 years required for a J.D. All schools, except for the University of the Chicago, require a 2
    year residency date. If I do not attend Notre Dame, I will have to attend another law school for 2 years. Therefore,
    because I sued the law school, I was wondering, after re-enrollement at Notre Dame, that I can visit another law school,
    as a possibility. I have 1 semester of law school left. It makes the most sense for me to re-attend Notre Dame.

    Per my messages to faculty, they have been either seeking representation for the civil matters or discussing re-grading
    options because of the law suit.

    If not in Fall 2020, I would really like to re-attend Notre Dame by Spring 2021. I chose Notre Dame to help further my legal
    and political career. I am interested in working in a quasi-governmental opportunity post graduation. I need to complete
    my final semester of law school at Notre Dame or attend another 4 semesters at a different law school.

    Are there other facts in general are preventing me from re-admissions?

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         Case
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                                                                     Re: Appointment Page
                                                                                     Request 51 of 201 PageID #: 279
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       University faculty and officials since your withdrawal, you are not eligible for readmission.

       Best wishes,

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       The Law School
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            Best,


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          RajPatelResume2020.8 (1).pdf
          519K




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                                               rajpatel.live         07/05/22
                                                             Mail - Re:                Page 52 of 201 PageID #: 280
                                                                        Letter for Re-admissions



                                                                                                                       Raj Patel <raj@rajpatel.live>



  Re: Letter for Re-admissions
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                           Wed, Apr 1, 2020 at 11:32 AM
  To: Raj Patel <raj@rajpatel.live>

    Raj,

    Thank you for your email and follow-up questions:
    1) I believe that all credits that count towards your diploma count towards the 18 credit hour per semester limit. Thus, if
    you are a JD/MBA student, MBA credit hours would count toward that limit.
    2) I cannot comment on chances for readmission because your application is incomplete. To this point, we just have your
    readmission form. I have not forwarded any materials to other members of the admissions committee. I will do so after
    your application is complete.
    3) The deadline to apply for readmission for the fall semester is April 15. We have to have all documents in by that date.

    Thank you and please let me know if I can be of further assistance,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

    Connect with NDLS Admissions on:
    Facebook :: Instagram :: Twitter

    Confidentiality Requirement: This email message, including any attachment(s), is for the sole use of the intended recipient(s) and may contain
    confidential information. Any unauthorized review, use, disclosure, or distribution is strictly prohibited. If you are not the intended recipient,
    please immediately contact the sender by email and delete this message.




    On Wed, Apr 1, 2020 at 9:42 AM Raj Patel <raj@rajpatel.live> wrote:
     Thank you for the information.

       Many M.B.A. courses are half-semester long rather than an entire semester; I would be enrolled in 18 credits at one
       point in time, after final-exams in October, I will have a brand new course until December.

       To be quite frank, what are the chances of re-admissions while a pending lawsuit is happening against Notre Dame?
       What is the deadline to apply for re-admissions?


       Best,


https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-a%3Ammiai-r4459080018906495886%7Cmsg-f%3A1662784830294252…            1/9
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                                               rajpatel.live         07/05/22
                                                             Mail - Re:                Page 53 of 201 PageID #: 281
                                                                        Letter for Re-admissions
       Raj Patel

       On Wed, Apr 1, 2020 at 6:41 AM Jake Baska <jbaska@nd.edu> wrote:
        Hi Raj,

          Thank you for your emails. To be frank, I think this is a larger discussion you should have directly with Law School
          leadership if you are readmitted. I do not have the ability to authorize academic plans. Based on my knowledge from
          conversations with leadership:
          - From your email from 10:56AM yesterday, no, you may not take 20 credits in a semester. 20% of 90 total credits is
          18 credits. 18 credits is the maximum you can take in a semester.
          a) I believe that credits from another graduate program (in the case of a dual degree program) count towards the 18
          credit maximum in a semester. You would not be able to pursue 12 law credits and 7 MBA credits in a semester
          without an exception from NDLS leadership.
          b) This would be a conversation post-readmission.

          Have a good morning and please let me know if you would like to continue pursuing your readmission application. If
          so, we would require a personal statement and medical clearance from the UCC/UHS (if your withdraw was due to
          medical reasons).

          Sincerely,
          Jacob Baska

          Jacob Baska
          Director of Admissions & Financial Aid
          Notre Dame Law School
          University of Notre Dame
          law.nd.edu/admissions/

          1329 Biolchini Hall
          Notre Dame, IN 46556

          Tel: (574) 631-6626 | Fax: (574) 631-5474

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          recipient, please immediately contact the sender by email and delete this message.




          On Wed, Apr 1, 2020 at 4:10 AM Raj Patel <raj@rajpatel.live> wrote:
           Hello Jake

            I have another question for you. The ABA requires 83 credit hour minimum, 64 credit hours which are to be
            completed in the law school. I have satisfied the 64 credit hour requirements because I have 68 credit hours
            completed. Can my graduation requirement be reduced from 90 credit hours to 83 credit hours? See 311(a).
            Interpretation 311-2 says that "family exigency" is an extraordinary circumstance.

            (a) Fall 2020 Semester - 12 law school hours + 7 business school credit hours (I can probably take a few the MBA
            credit hours before free-Fall semester).

            (b) My previous plan for Fall 2020 and Winter 2021 seems amazing to me. I will have 90 credit hours completed
            and I'd be able to take some classes pass/fail. Maybe the Dean can allow exception to the pass/fail rule and allow
            me to take 8 law school credit hours for pass/fail and allow me to transfer-in upto 5 MBA credit hours in Fall 2020.


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                                               rajpatel.live         07/05/22
                                                             Mail - Re:                Page 54 of 201 PageID #: 282
                                                                        Letter for Re-admissions
            (c) If the Dean approves "Option a" above, then "option b" will be satisfied.

            I know this is a lot of information, but I have separated the questions amongst several e-mails which should allow
            for ease of communications.


            Best,


            Raj Patel


            On Tue, Mar 31, 2020, 10:23 AM Jake Baska <jbaska@nd.edu> wrote:
             Raj,

               To follow-up on my earlier message, I presented your request to NDLS leadership to be able to take your
               remaining 22 credit hours in one semester so that you may graduate as quickly as possible. They politely
               declined this request due to ABA Standard 311 (c): "A law school shall not permit a student to be enrolled at any
               time in coursework that exceeds 20 percent of the total credit hours required by that school for graduation."
               Given our requirement to take 90 credit hours in order to graduate, 20% of that total is 18 credit hours.

               Please advise if you would like to continue with your readmission application.

               Sincerely,
               Jacob Baska

               Jacob Baska
               Director of Admissions & Financial Aid
               Notre Dame Law School
               University of Notre Dame
               law.nd.edu/admissions/

               1329 Biolchini Hall
               Notre Dame, IN 46556

               Tel: (574) 631-6626 | Fax: (574) 631-5474

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               intended recipient, please immediately contact the sender by email and delete this message.




               On Tue, Mar 31, 2020 at 8:24 AM Jake Baska <jbaska@nd.edu> wrote:
                Raj,

                    Thank you for your email and the attached resume. I can confirm receipt.

                    I am awaiting advice on you being allowed to take the necessary 22 credits to graduate in one semester. I
                    understand that that may dictate whether you complete the rest of your readmission application. Please let our
                    office know if we can be of further assistance in the meantime.

                    Sincerely,
                    Jacob Baska

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                                                             Mail - Re:                Page 55 of 201 PageID #: 283
                                                                        Letter for Re-admissions


                    Jacob Baska
                    Director of Admissions & Financial Aid
                    Notre Dame Law School
                    University of Notre Dame
                    law.nd.edu/admissions/

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                    Notre Dame, IN 46556

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                    the intended recipient, please immediately contact the sender by email and delete this message.




                    On Tue, Mar 31, 2020 at 8:02 AM Raj Patel <raj@rajpatel.live> wrote:
                     Hello Jake,

                      Please see below for yet another updated resume for my application file.

                      Best,

                      Raj Patel

                      On Mon, Mar 30, 2020 at 3:04 PM Raj Patel <raj@rajpatel.live> wrote:
                       Hello Jake,

                         Thank you. In regards to #4, can this issue be specified more with the Office of the Dean of the Law
                         School? I'd like to go through my options for question #4 prior to re-applying.



                         Best,



                         Raj Patel


                         Sent from my Verizon, Samsung Galaxy smartphone
                         Get Outlook for Android


                         From: Jake Baska <jbaska@nd.edu>
                         Sent: Monday, March 30, 2020, 2:41 PM
                         To: Raj Patel
                         Subject: Re: Letter for Re-admissions

                         Hi Raj,

                         Thank you for your email.
https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-a%3Ammiai-r4459080018906495886%7Cmsg-f%3A1662784830294252…                4/9
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                                                             Mail - Re:                Page 56 of 201 PageID #: 284
                                                                        Letter for Re-admissions


                        On the readmission application form you submitted on March 10, you indicated that you withdrew from
                        the Law School because of health reasons. If that is note accurate, I kindly ask that you resubmit a new
                        readmission application since the answer to the question of why/how you withdrew dictates the
                        documents we ask of you.

                        For reference, your options are:
                        1) Withdrawal for Health Reasons - For students with mental or physical health conditions that
                        render the
                        student unable to engage in coursework and other related duties for a period of at least 10 days.
                        2) Withdrawal Between Semesters - For students in good academic standing who determine prior to
                        the beginning of a semester that they wish to leave the Law School and the University
                        for reasons beyond those related to health.
                        3) Withdrawal During a Semester - For students in good academic standing who determine during a
                        semester that they wish to leave the Law School and the University for reasons
                        beyond those related to health.

                        Regarding your other questions and statements:
                        1) We require a personal statement from the student to outline what they have done since they left the law
                        school and their updated professional goals. This is a requirement of the readmission application.
                        2) Scholarship decisions will be made by the relevant committee after receipt of the proper application
                        materials.
                        3) This is duly noted.
                        4) I cannot speak for the Dean nor the Faculty, but the Hoynes Code dictates that students need 90 credits
                        in order to graduate and I do not believe it would be possible to take 32 credit hours during one semester
                        of law school.
                        You would have to gain admission to the MBA program in order to pursue the JD/MBA.
                        5) If you withdrew for health reasons, you will have to send updated medical forms and/or contact the
                        UHS or UCC to forward those documents to our office.

                        Thank you and please let our office know how we can be of further assistance,
                        Jacob Baska

                        Jacob Baska
                        Director of Admissions
                        & Financial Aid
                        Notre Dame Law School
                        University of Notre Dame
                        law.nd.edu/admissions/
                        1329
                        Biolchini Hall
                        Notre
                        Dame, IN 46556
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                        631-5474

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                                                             Mail - Re:                Page 57 of 201 PageID #: 285
                                                                        Letter for Re-admissions




                        On Mon, Mar 30, 2020 at 2:27 PM Raj Patel <raj@rajpatel.live> wrote:
                         Hello Jake,

                          (1) I took a voluntary separation in good standing because of duress/stress/family necessity. I did not
                          "withdraw." Therefore, why would I need a new personal statement? I don't have changes in career
                          plans either.

                          (2) Will my scholarships be re-instated, separately from the result in #3 below? Can they increased to
                          effective full ride, as it was my third year before withdrawing because I was an assistant rector?

                          (3) I have a pending legal matter within the judiciary against Notre Dame Law School. I am hoping to
                          resolve this matter as soon as possible. The judicary has neither dismissed nor deemed my latest
                          complaint as being frivolous. The other material parties are President Trump, the United States, and
                          Emory University, Inc.

                          (4) I have 68 credit hours completed. May I work something out with the dean so I can graduate in one
                          semester? Or, enroll in the JD/MBA? They denied me admissions in the graduate business program.

                          (5) My supportive medical documents were sent in February 2018. I do not have new things to disclose.
                          But, I will send additional documents as needed.



                          Best,



                          Raj Patel
                          317-450-6651

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                          intended recipient, please immediately contact the sender by email and delete this message.

                          On Mon, Mar 30, 2020, 2:15 PM Jake Baska <jbaska@nd.edu> wrote:
                           Hi Raj,

                            Our records processors were in touch with me this morning regarding your updated resume and your
                            question about a decision timeline on your readmission application.

                            Please know that your readmissions application is incomplete so there is no timetable for your
                            readmission at the moment. Per my message below, we have only received your readmission
                            application form. We have not yet received your health documents, nor your personal statement.
                            Could you please advise one when we may expect those documents?

                            Thank you and I look forward to hearing back from you,
                            Jacob Baska

                            Jacob Baska
                            Director of Admissions
                            & Financial Aid
                            Notre Dame Law School
                            University of Notre Dame
                            law.nd.edu/admissions/


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                                                                        Letter for Re-admissions
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                            Biolchini Hall
                            Notre
                            Dame, IN 46556
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                            On Sun, Mar 15, 2020 at 2:47 PM Jake Baska <jbaska@nd.edu> wrote:
                             Hi Raj,

                              Thank you for your application for readmission. I wanted to touch base with you regarding your
                              required documents. To ensure that we're on the same page, you can find the requirements I'm
                              about to mention on our readmission application here.

                              You indicated on your readmission application that you withdrew for health reasons. As such, we
                              require that you submit the following:
                              A) This application form, including an updated Character and Fitness report
                              B) A certification of readiness from the University Health Center and/or University
                              Counseling Center. You may find the UHC form at the following page:
                              https://uhs.nd.edu/about-us/readmission-to-notre-dame/.
                              You may find the UCC form at the following page: http://ucc.nd.edu/readmission/#lawschool.
                              C) A certification of readiness from the student's treating licensed health care professional
                              D) A personal statement of no more than 500 words outlining the reasons for their
                              withdrawal, what they have done since leaving the Law School, and their current
                              personal/professional
                              goals.

                              You have already submitted your application ("A").

                              Could you advise on if you have been in touch with either the UHC or UCC ("B"), and when we may
                              receive a certification of readiness from your personal physician ("C")?

                              Could you advise if you would like the attachment you sent us to serve as your personal statement
                              ("D")? Given that the document is two years old and doesn't directly address what you have done
                              since leaving the Law School, nor your current personal/professional goals, it may be best to
                              submit another document instead.

                              Thank you and please let me know if you have any questions.

                              Sincerely,
                              Jacob Baska
https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-a%3Ammiai-r4459080018906495886%7Cmsg-f%3A1662784830294252…                7/9
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                                                                        Letter for Re-admissions


                              Jacob Baska
                              Director of Admissions
                              & Financial Aid
                              Notre Dame Law School
                              University of Notre Dame
                              law.nd.edu/admissions/
                              1329
                              Biolchini Hall
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                              Dame, IN 46556
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                              On Wed, Mar 11, 2020 at 7:31 AM Notre Dame Law School bulletin <bulletin@nd.edu> wrote:


                                Sincerely,

                                Notre Dame Law School
                                Office of Admissions
                                1329 Biolchini Hall
                                Notre Dame, IN 46556
                                574-631-6626
                                Bulletin@nd.edu
                                Law.nd.edu




                                ---------- Forwarded message ---------
                                From: Raj Patel <rajp2010@gmail.com>
                                Date: Tue, Mar 10, 2020 at 8:25 PM
                                Subject: Fwd: Letter for Re-admissions
                                To: <bulletin@nd.edu> <bulletin@nd.edu>




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                                                             Mail - Re:                Page 60 of 201 PageID #: 288
                                                                        Letter for Re-admissions




                                Raj Patel
                                rajp2010@gmail.com


                                ---------- Forwarded message ---------
                                From: Raj Patel <rajp2010@gmail.com>
                                Date: Mon, Apr 30, 2018 at 4:46 PM
                                Subject: Letter for Re-admissions
                                To: Peter Horvath <Peter.F.Horvath.50@nd.edu>
                                Cc: Anne Hamilton <Anne.C.Hamilton.4@nd.edu>



                                Hello Peter,

                                My case is dismissed. Attached you will find a letter for re-admissions. I hope that this document
                                can be destroyed because of its sensitivity. I feel like it is mutually beneficial if I re-enroll. If you
                                find it appropriate, professors Root, O'Hara, Pruitt, Fick, or Mayer might be able to help better
                                understand the document.

                                I am happy to schedule a recorded phone call upon your request. My phone number is 317-331-
                                0008.


                                Best,


                                Raj Patel
                                rajp2010@gmail.com
                                --
                                Raj Patel




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                                                              Mail - Applying         Page 61 of 201 PageID #: 289
                                                                              for 1L admission



                                                                                                                       Raj Patel <raj@rajpatel.live>



  Applying for 1L admission
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                          Wed, Aug 11, 2021 at 9:03 AM
  To: Raj Patel <raj@rajpatel.live>

    Hi Raj,

    Thanks for your email from over the weekend regarding the requirements to apply for first year JD admission. I hope I
    can be of assistance.

    You can find the complete application instructions here.

    As noted in the application instructions, the oldest standardized tests that may be used for this year's application cycle are
    June 2016 LSAT and GREs taken on are after July 1, 2016. Neither LSAC nor ETS will provide score reports for exams
    taken prior to those dates.

    Regarding letters of recommendation, I would advise that submitting more current letters of recommendation would be
    better than re-submitting your original letters. A great deal of time has passed since when you originally applied and the
    members of the Admission Committee would likely appreciate hearing from more recent colleagues, instructors,
    supervisors, etc.

    Have a good day and please let me know if you have any further questions,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

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                                                                    [19-034] Re: ApplyingPage     62 of 201 PageID #: 290
                                                                                         for 1L admission



                                                                                                                       Raj Patel <raj@rajpatel.live>



  Re: [19-034] Re: Applying for 1L admission
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                          Wed, Aug 11, 2021 at 1:42 PM
  To: Raj Patel <raj@rajpatel.live>

    Raj,

    Thank you for your email and question.

    As noted on the application instructions, we require either the LSAT or GRE. We are not test optional. This is per ABA
    Standard 503 regarding standardized tests for law school admissions.

    Standard 503 notes that "a law school shall use the test results in a manner that is consistent with the current guidelines
    regarding the proper use of the test results provided by the agency that developed the test." Both LSAC and ETS consider
    their exams valid for five years. They would not consider an exam done prior to the summer of 2016 to be valid. As such,
    we cannot use those exams without violating this ABA Standard.

    Please let me know if you have any other questions,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

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       ---------- Forwarded message ---------
       From: Raj Patel <raj@rajpatel.live>
       Date: Wed, Aug 11, 2021 at 9:09 AM
       Subject: [19-034] Re: Applying for 1L admission
       To: Jake Baska <jbaska@nd.edu>


       Hello Jake,


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                                                         Mail - Re:      07/05/22
                                                                    [19-034] Re: ApplyingPage     63 of 201 PageID #: 291
                                                                                         for 1L admission
       Is admissions test optional, like some other law schools? I am not ready to re-take the LSAT, and it is unfair to require
       me to do that. You already have my scores on file (157).

       Sincerely,

       Raj Patel

       On Wed, Aug 11, 2021 at 9:03 AM Jake Baska <jbaska@nd.edu> wrote:
        Hi Raj,

            Thanks for your email from over the weekend regarding the requirements to apply for first year JD admission. I hope
            I can be of assistance.

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            be better than re-submitting your original letters. A great deal of time has passed since when you originally applied
            and the members of the Admission Committee would likely appreciate hearing from more recent colleagues,
            instructors, supervisors, etc.

            Have a good day and please let me know if you have any further questions,
            Jacob Baska

            Jacob Baska
            Director of Admissions & Financial Aid
            Notre Dame Law School
            University of Notre Dame
            law.nd.edu/admissions/

            1329 Biolchini Hall
            Notre Dame, IN 46556

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       --

       Keri Kei Shibata                   (she / her / hers)

       Chief of Police and Executive Director of Emergency Management

       Police Department

       University of Notre Dame


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                                                                                         for 1L admission
       https://police.nd.edu/



       (574) 631-8338 (phone)

       (574) 631-3597 (fax)



       240 Hammes Mowbray Hall

       Notre Dame, IN 46556




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         Case
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                                                 rajpatel.live Mail 07/05/22       Page 65 of 201 PageID #: 293
                                                                    - Readmission Question



                                                                                                              Raj Patel <raj@rajpatel.live>



  Readmission Question
  1 message

  Amy Spanopoulos <aspanopo@nd.edu>                                                                            Mon, Apr 5, 2021 at 3:59 PM
  To: Raj Patel <raj@rajpatel.live>
  Cc: Jake Baska <jbaska@nd.edu>

    Raj,

    Hello! I appreciate your inquiry regarding Readmission to the Law School. I have cc: Jake Baska to this response as you
    included him in your inquiry. For the University Counseling Center (UCC), you are expected to complete and submit all of
    the information as outlined for Readmissions here: https://ucc.nd.edu/returning/. It is necessary that you provide updated
    clinical information in your Readmission Application as our strong recommendation to you was to engage in on-going
    treatment with a consistent mental health provider.

    Thank you, Amy

    Amy Spanopoulos, LCSW, LCAC
    Associate Director, Clinical Services
    University Counseling Center
    St. Liam Hall
    University of Notre Dame
    Notre Dame, IN 46556

    Pronouns: She/Her/Hers
    mypronouns.org

    Phone: 574-631-7336
    Fax: 574-631-5643

    aspanopo@nd.edu




    NOTICE: Because e-mail is not a secure medium, confidentiality of e-mail messages cannot be
    guaranteed.

    To help ensure privacy, clients are cautioned against sending sensitive, detailed or personal information to
    UCC staff via e-mail. E-mail should never be used to convey information of an urgent nature as we
    cannot guarantee prompt responses to e-mail messages. Our staff does not maintain 24-hour access to e-
    mail accounts and may only check e-mail infrequently, and not at all on weekends or holidays.

    To discuss any concerns, please call the counseling center (574-631-7336) during center business hours.

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    Thank you for helping to maintain privacy.




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         Case
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                                                                [19-034]       07/05/22
                                                                         Re: Notre            Page
                                                                                   Dame Law School      66 of 201
                                                                                                   - Readmission       PageID #: 294
                                                                                                                 Decision



                                                                                                                       Raj Patel <raj@rajpatel.live>



  Re: [19-034] Re: Notre Dame Law School - Readmission Decision
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                           Thu, Dec 17, 2020 at 9:51 AM
  To: Raj Patel <raj@rajpatel.live>

    Raj,

    Thank you for your emails and question.

    I do not believe that the results of this lie detector test would have affected the discussions of the Admissions Committee.

    In another email, you mentioned that you would not seek readmission at a later time if you were denied readmission now.
    Please know that the decision regarding your readmission file for the Spring 2021 semester is final per my message of
    December 15.

    Please let our office know if you have further questions or if we can be of additional assistance.

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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       ---------- Forwarded message ---------
       From: Raj Patel <raj@rajpatel.live>
       Date: Tue, Dec 15, 2020 at 9:12 PM
       Subject: [19-034] Re: Notre Dame Law School - Readmission Decision
       To: Jake Baska <jbaska@nd.edu>, Kevin O'Rear <korear@nd.edu>, <president@nd.edu>, <mcorr1@nd.edu>,
       <Marianne.Corr.10@nd.edu>, <gcole2@nd.edu>


       Hello Jake,
https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-f%3A1686179023870480016%7Cmsg-f%3A1686337494780496685&si…             1/3
         Case
6/12/22, 4:08 PM   1:22-cv-01329-JPH-MGrajpatel.live
                                           Document  Mail - Re:1-2    Filed
                                                                [19-034]       07/05/22
                                                                         Re: Notre            Page
                                                                                   Dame Law School      67 of 201
                                                                                                   - Readmission       PageID #: 295
                                                                                                                 Decision


       I took a lie detector test, and one of the questions is whether I took drugs illegally pertaining to this stress situation
       (before, during, and after law school). I answered “no,” and the lie detector test found that I gave “no deception” in my
       answer. I was also asked if the federal government was stressing me out. I answered “yes,” and the lie detector test found
       that I gave “no deception.”

       I will send the results to you once I have the final report.

       Is this sufficient to knowledge for you to reconsider my re-admissions decisions?



       Best,



       Raj Patel
       (c) 317-450-6651
       raj@rajpatel.live


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       recipient(s) and may contain confidential and privileged information or otherwise be protected by law. Any unauthorized
       review, use, disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by
       reply e-mail and destroy all copies of the original message.

       On Dec 15, 2020, at 3:53 PM, Jake Baska <jbaska@nd.edu> wrote:

       ﻿
       Raj,

       Thank you for submitting your application for readmission to Notre Dame Law School. We appreciate the time and
       effort you put into your application as well as your continued desire to return to your legal studies. Unfortunately, the
       Admissions Committee is sorry to communicate that we are unable to approve your request for readmission for the
       Spring 2021 semester. A prerequisite of your readmission is to receive a recommendation for readmission from the
       University Counseling Center (UCC). The UCC did not approve your application materials. As such, the Admissions
       Committee could not consider your application further. If you wish to apply for future readmission, I
       strongly encourage you to contact the UCC to receive guidance on their decision and recommendations for further
       treatment.

       Per ABA Standard 311 (b), law students must complete their studies within 84 months. You began your studies at Notre
       Dame Law School in August 2015. Your 84 month window expires in August 2022. Per our records, you have
       completed 68 credits and would need to complete another 22 credits in order to graduate. You would need two
       semesters in order to complete those credit hours. As such, you would need to be readmitted for Fall 2021 in order to be
       eligible to graduate per ABA standards. Should you apply and fail to be readmitted for the fall 2021, you would be
       ineligible to resume your studies at Notre Dame Law School. In such a case, your only avenue to return to NDLS would
       be to reapply for admission as an incoming first-year (i.e., 1L) student. The deadline to apply for Fall 2021
       readmission is April 15.

       Given that you may only apply for readmission once more, the Admissions Committee feels that it is relevant to share
       our apprehensions regarding troubling communications that you have sent and frivolous lawsuits you have filed during
       your time away from the University, including during your most recent readmission application process. ABA
       Admissions Standard 501(b) provides that “A law school shall only admit applicants who appear capable of satisfactorily
       completing its program of legal education and being admitted to the bar.” Your conduct raises serious concerns about
       your ability to satisfy the character and fitness requirements for admission to the bar. Should you apply this spring for
       readmission in Fall 2021 and should you receive a positive recommendation from the UCC, please know that the
       behavior and conduct noted above - and its potential impact on whether you may be capable of satisfying the character
       and fitness requirements attendant to admission to the bar - will be considered in the Law School’s evaluation of your
       application.

       We regret the disappointment this decision may cause you but we thank you for your understanding of the care and
       attention we paid to your application. Please accept our best for your continued health and well-being.


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                                                                         Re: Notre            Page
                                                                                   Dame Law School      68 of 201
                                                                                                   - Readmission       PageID #: 296
                                                                                                                 Decision
       Sincerely,
       Jacob Baska

       Jacob Baska
       Director of Admissions & Financial Aid
       Notre Dame Law School
       University of Notre Dame
       law.nd.edu/admissions/

       1329 Biolchini Hall
       Notre Dame, IN 46556

       Tel: (574) 631-6626 | Fax: (574) 631-5474

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                                                                        Law School - Readmission    of 201 PageID #: 297
                                                                                                 Decision



                                                                                                              Raj Patel <raj@rajpatel.live>



  Notre Dame Law School - Readmission Decision
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                  Tue, Dec 15, 2020 at 3:53 PM
  To: Raj Patel <raj@rajpatel.live>

    Raj,

    Thank you for submitting your application for readmission to Notre Dame Law School. We appreciate the time and effort
    you put into your application as well as your continued desire to return to your legal studies. Unfortunately, the
    Admissions Committee is sorry to communicate that we are unable to approve your request for readmission for the Spring
    2021 semester. A prerequisite of your readmission is to receive a recommendation for readmission from the University
    Counseling Center (UCC). The UCC did not approve your application materials. As such, the Admissions Committee
    could not consider your application further. If you wish to apply for future readmission, I strongly encourage you to
    contact the UCC to receive guidance on their decision and recommendations for further treatment.

    Per ABA Standard 311 (b), law students must complete their studies within 84 months. You began your studies at Notre
    Dame Law School in August 2015. Your 84 month window expires in August 2022. Per our records, you have completed
    68 credits and would need to complete another 22 credits in order to graduate. You would need two semesters in order to
    complete those credit hours. As such, you would need to be readmitted for Fall 2021 in order to be eligible to graduate per
    ABA standards. Should you apply and fail to be readmitted for the fall 2021, you would be ineligible to resume your
    studies at Notre Dame Law School. In such a case, your only avenue to return to NDLS would be to reapply for admission
    as an incoming first-year (i.e., 1L) student. The deadline to apply for Fall 2021 readmission is April 15.

    Given that you may only apply for readmission once more, the Admissions Committee feels that it is relevant to share our
    apprehensions regarding troubling communications that you have sent and frivolous lawsuits you have filed during your
    time away from the University, including during your most recent readmission application process. ABA Admissions
    Standard 501(b) provides that “A law school shall only admit applicants who appear capable of satisfactorily completing
    its program of legal education and being admitted to the bar.” Your conduct raises serious concerns about your ability to
    satisfy the character and fitness requirements for admission to the bar. Should you apply this spring for readmission in
    Fall 2021 and should you receive a positive recommendation from the UCC, please know that the behavior and conduct
    noted above - and its potential impact on whether you may be capable of satisfying the character and fitness requirements
    attendant to admission to the bar - will be considered in the Law School’s evaluation of your application.

    We regret the disappointment this decision may cause you but we thank you for your understanding of the care and
    attention we paid to your application. Please accept our best for your continued health and well-being.

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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                                                                        Law School - Readmission    of 201 PageID #: 298
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                                                               - Re: FW:07/05/22        Page 71
                                                                         [19-034] Re: Readmission Formof 201 PageID #: 299



                                                                                                                       Raj Patel <raj@rajpatel.live>



  Re: FW: [19-034] Re: Readmission Form
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                           Thu, Sep 17, 2020 at 5:05 PM
  To: Raj Patel <raj@rajpatel.live>

    Hi Raj,

    Thanks for your email and questions. Happy to help.

    Regarding the documentation you should provide, I think those listed under "Health Reasons" probably better suffices for
    your circumstances. "Withdrawal Between Semesters" is more appropriate for someone who left with no intention of
    returning to law school in the future. Given that and given the communications you have had with members of the ND
    and NDLS community, we do politely ask that you work with the UCC regarding clearance. We want to make sure that
    you are in a position to be a healthy and contributing member of the larger University.

    Please be in touch if you have other questions or if our office can be of further assistance.

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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       ---------- Forwarded message ---------
       From: Raj Patel <raj@rajpatel.live>
       Date: Wed, Sep 16, 2020 at 7:46 PM
       Subject: [19-034] Re: Readmission Form
       To: Jake Baska <jbaska@nd.edu>



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                                            rajpatel.live Mail Filed
                                                               - Re: FW:07/05/22        Page 72
                                                                         [19-034] Re: Readmission Formof 201 PageID #: 300
       Hello Jake,



       The most recent version of the re-admissions form is different from last spring's. This version includes an option for
       "Between or During Semester," especially because it will be over three years since my withdrawal. I selected that option,
       although I can select the "Health Reasons" option too. I have not violated the conditions on the form.



       Per my recent selection of "Between or During Semester," do I need to still be cleared by UCC?



       If so, why? And, UCC has not uploaded their law school forms.



       Best,



       Raj Patel



       On Mon, Sep 14, 2020 at 11:49 AM Jake Baska <jbaska@nd.edu> wrote:

          Hi Raj,



          Per your previous emails, please find the readmission application here. Please note that October 15 is the deadline to
          submit your materials to be considered to reenroll in the spring semester.



          Also, per our email exchange from last spring, please be in touch with the University Counseling Center
          regarding your paperwork with them. Being cleared by the UCC is a prerequisite for readmission. I am confident
          they will be happy to assist you.



          Sincerely,

          Jacob Baska



          Jacob Baska
          Director of Admissions & Financial Aid
          Notre Dame Law School
          University of Notre Dame
          law.nd.edu/admissions/
          1329 Biolchini Hall
          Notre Dame, IN 46556
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6/12/22, 4:10 PM   1:22-cv-01329-JPH-MG Document       1-2
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                                                               - Re: FW:07/05/22        Page 73
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                                                                Mail               Page 74 of 201 PageID #: 302
                                                                     - Readmission Form



                                                                                                                       Raj Patel <raj@rajpatel.live>



  Readmission Form
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                         Mon, Sep 14, 2020 at 11:48 AM
  To: Raj Patel <raj@rajpatel.live>

    Hi Raj,

    Per your previous emails, please find the readmission application here. Please note that October 15 is the deadline to
    submit your materials to be considered to reenroll in the spring semester.

    Also, per our email exchange from last spring, please be in touch with the University Counseling Center regarding your
    paperwork with them. Being cleared by the UCC is a prerequisite for readmission. I am confident they will be happy to
    assist you.

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

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                                                                     Re: Appointment Page
                                                                                     Request 75 of 201 PageID #: 303



                                                                                                              Raj Patel <raj@rajpatel.live>



  Re: Appointment Request
  1 message

  Office of the President <president@nd.edu>                                                               Wed, May 13, 2020 at 10:40 AM
  To: raj@rajpatel.live


    Thank you for your comments and for taking the time to share your thoughts with us. Please know that we will read your
    message carefully and we appreciate hearing from you.

    If your email is regarding the University’s response to the COVID-19 pandemic, we are monitoring the situation closely.
    The University provides regular updates here: https://coronavirus.nd.edu/. Please be assured that the health, safety, and
    well-being of our students, faculty, staff, and community remain our top priority. All those impacted by the pandemic are in
    our thoughts and prayers.

    Sincerely,

    Ann Firth
    Vice President and Chief of Staff to the President




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6/12/22, 4:12 PM   1:22-cv-01329-JPH-MG Document   1-2 Mail
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                                                              - Re: 07/05/22      Page
                                                                    NDLS, Readmission       76 of 201 PageID #: 304
                                                                                      Decision



                                                                                                                       Raj Patel <raj@rajpatel.live>



  Re: NDLS, Readmission Decision
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                          Mon, May 11, 2020 at 5:32 PM
  To: Raj Patel <raj@rajpatel.live>

    Hi Raj,

    Thanks for your email and follow up. I would advise being directly in touch with the University Counseling Center with
    your question. You may reach out to Amy Spanopoulos at the general UCC phone number of 574-631-7336.

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

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    On Mon, May 11, 2020 at 4:31 PM Raj Patel <raj@rajpatel.live> wrote:
     Hello Jake,

       Thank you. I dont understand the decision. My Psychiatrist said I am able to return to school.

       Best,

       Raj Patel

       On Mon, May 11, 2020, 3:18 PM Jake Baska <jbaska@nd.edu> wrote:
        Raj,

          Thank you for submitting your application for readmission to Notre Dame Law School. We appreciate the time and
          effort you put into your application, your continued updates, as well as your desire to return to campus to resume
          your legal studies.



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6/12/22, 4:12 PM   1:22-cv-01329-JPH-MG Document   1-2 Mail
                                             rajpatel.live Filed
                                                              - Re: 07/05/22      Page
                                                                    NDLS, Readmission       77 of 201 PageID #: 305
                                                                                      Decision
          After consultation with the University Counseling Center (UCC), the Admissions Committee is sorry to communicate
          that we are unable to approve your request for readmission for the 2020 fall semester. We all want you to return to
          campus when you are ready and able to contribute to the NDLS community in the positive manner of which we know
          you are capable.

          Although the decision is final for this upcoming semester, you may apply for a future term. If you would like to
          reapply again, you must contact the University Counseling Center. They will provide guidance on their paperwork
          and related requirements for readmission.

          We regret the disappointment this decision may cause you but we thank you for your understanding of the care and
          attention we paid to your application. Please accept our best for your continued recovery.

          Sincerely,
          Jacob Baska

          Jacob Baska
          Director of Admissions & Financial Aid
          Notre Dame Law School
          University of Notre Dame
          law.nd.edu/admissions/

          1329 Biolchini Hall
          Notre Dame, IN 46556

          Tel: (574) 631-6626 | Fax: (574) 631-5474

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6/12/22, 4:11 PM   1:22-cv-01329-JPH-MG Document rajpatel.live
                                                  1-2 Filed    Mail -07/05/22
                                                                     Re: Visit anotherPage
                                                                                      school 78 of 201 PageID #: 306



                                                                                                                       Raj Patel <raj@rajpatel.live>



  Re: Visit another school
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                          Wed, May 13, 2020 at 8:37 AM
  To: Raj Patel <raj@rajpatel.live>

    Raj,

    A quick reply to this message - students may only visit another school if they are presently enrolled at NDLS. You would
    have to be cleared by the readmission process first.

    Let me know if you have other questions,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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    On Tue, May 12, 2020 at 7:39 PM Raj Patel <raj@rajpatel.live> wrote:
     Hello Jake,

       May I visit IUPUI McKinney Law School this upcoming year and transfer my credits back to Notre Dame for
       graduation?


       Best,


       Raj Patel




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6/12/22, 4:12 PM   1:22-cv-01329-JPH-MG Document  1-2 Filed
                                              rajpatel.live         07/05/22
                                                            Mail - NDLS, ReadmissionPage
                                                                                     Decision79 of 201 PageID #: 307



                                                                                                                       Raj Patel <raj@rajpatel.live>



  NDLS, Readmission Decision
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                          Mon, May 11, 2020 at 3:18 PM
  To: Raj Patel <raj@rajpatel.live>

    Raj,

    Thank you for submitting your application for readmission to Notre Dame Law School. We appreciate the time and effort
    you put into your application, your continued updates, as well as your desire to return to campus to resume your legal
    studies.

    After consultation with the University Counseling Center (UCC), the Admissions Committee is sorry to communicate that
    we are unable to approve your request for readmission for the 2020 fall semester. We all want you to return to campus
    when you are ready and able to contribute to the NDLS community in the positive manner of which we know you are
    capable.

    Although the decision is final for this upcoming semester, you may apply for a future term. If you would like to reapply
    again, you must contact the University Counseling Center. They will provide guidance on their paperwork and related
    requirements for readmission.

    We regret the disappointment this decision may cause you but we thank you for your understanding of the care and
    attention we paid to your application. Please accept our best for your continued recovery.

    Sincerely,
    Jacob Baska

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6/12/22, 4:13 PM   1:22-cv-01329-JPH-MG Document       1-2
                                            rajpatel.live Mail -Filed   07/05/22
                                                                Re: Personal Statement forPage   80 of 201 PageID #: 308
                                                                                           Re-Admissions



                                                                                                                       Raj Patel <raj@rajpatel.live>



  Re: Personal Statement for Re-Admissions
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                            Wed, Apr 8, 2020 at 8:29 AM
  To: Raj Patel <raj@rajpatel.live>

    Raj,

    I can confirm receipt of this email and your personal statement, as well as your subsequent email with your attached
    updated resume. Thank you.

    The only further materials we need are the proper sign-offs from University Health Services and/or the University
    Counseling Center, as well as your treating physician. This is because your readmission application indicated that you
    withdrew due to health reasons. We received your phone voice message asking if your documentation from 2018 would
    suffice to fulfill this requirement. Given that those documents are from two years ago, we politely request updated copies.
    Thank you for your understanding.

    Sincerely,
    Jacob Baska

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    On Sat, Apr 4, 2020 at 10:43 AM Raj Patel <raj@rajpatel.live> wrote:
     Hello Jake,

       Please see the personal statement attached below. I also have an updated resume for your reference.


       Best,

       Raj Patel

       In Indianapolis,

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                                            rajpatel.live Mail -Filed   07/05/22
                                                                Re: Personal Statement forPage   81 of 201 PageID #: 309
                                                                                           Re-Admissions


       President President Raj K. Patel, Student Body President of Emory University, Inc., Student Body President of
       Brownsburg Community School Corporation, His Excellency, His Excellency, Doctor (Prospective), Mister

       H.E. Raj K. Patel
       Law, Notre Dame Law School 2021 (on a voluntary seperation of leave, in good standing)
       Political Science and Religious Studies (Honors), Emory University 2014

       Student Body President, Emory University, Inc. 2013-2014

       President, Emory University Student Government Association 2013-14
       Assistant Chair, S.G.A. Governance Committee & Rep.-At-Large 2012-13

       Student Body President, Brownsburg Community School Corporation 2009-2010
       President, Brownsburg High School Student Council C.H.A.I.N. Link 2009-10

       501 N. Capitol Avenue, Apt. 4126A
       Indianapolis, IN 46204
       U.S.A.
       (c) 317-450-6651
       rajkp@me.com

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                                                             Mail - Re:                Page 82 of 201 PageID #: 310
                                                                        Letter for Re-admissions



                                                                                                                       Raj Patel <raj@rajpatel.live>



  Re: Letter for Re-admissions
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                           Wed, Apr 1, 2020 at 11:32 AM
  To: Raj Patel <raj@rajpatel.live>

    Raj,

    Thank you for your email and follow-up questions:
    1) I believe that all credits that count towards your diploma count towards the 18 credit hour per semester limit. Thus, if
    you are a JD/MBA student, MBA credit hours would count toward that limit.
    2) I cannot comment on chances for readmission because your application is incomplete. To this point, we just have your
    readmission form. I have not forwarded any materials to other members of the admissions committee. I will do so after
    your application is complete.
    3) The deadline to apply for readmission for the fall semester is April 15. We have to have all documents in by that date.

    Thank you and please let me know if I can be of further assistance,
    Jacob Baska

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    On Wed, Apr 1, 2020 at 9:42 AM Raj Patel <raj@rajpatel.live> wrote:
     Thank you for the information.

       Many M.B.A. courses are half-semester long rather than an entire semester; I would be enrolled in 18 credits at one
       point in time, after final-exams in October, I will have a brand new course until December.

       To be quite frank, what are the chances of re-admissions while a pending lawsuit is happening against Notre Dame?
       What is the deadline to apply for re-admissions?


       Best,


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                                                             Mail - Re:                Page 83 of 201 PageID #: 311
                                                                        Letter for Re-admissions
       Raj Patel

       On Wed, Apr 1, 2020 at 6:41 AM Jake Baska <jbaska@nd.edu> wrote:
        Hi Raj,

          Thank you for your emails. To be frank, I think this is a larger discussion you should have directly with Law School
          leadership if you are readmitted. I do not have the ability to authorize academic plans. Based on my knowledge from
          conversations with leadership:
          - From your email from 10:56AM yesterday, no, you may not take 20 credits in a semester. 20% of 90 total credits is
          18 credits. 18 credits is the maximum you can take in a semester.
          a) I believe that credits from another graduate program (in the case of a dual degree program) count towards the 18
          credit maximum in a semester. You would not be able to pursue 12 law credits and 7 MBA credits in a semester
          without an exception from NDLS leadership.
          b) This would be a conversation post-readmission.

          Have a good morning and please let me know if you would like to continue pursuing your readmission application. If
          so, we would require a personal statement and medical clearance from the UCC/UHS (if your withdraw was due to
          medical reasons).

          Sincerely,
          Jacob Baska

          Jacob Baska
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          On Wed, Apr 1, 2020 at 4:10 AM Raj Patel <raj@rajpatel.live> wrote:
           Hello Jake

            I have another question for you. The ABA requires 83 credit hour minimum, 64 credit hours which are to be
            completed in the law school. I have satisfied the 64 credit hour requirements because I have 68 credit hours
            completed. Can my graduation requirement be reduced from 90 credit hours to 83 credit hours? See 311(a).
            Interpretation 311-2 says that "family exigency" is an extraordinary circumstance.

            (a) Fall 2020 Semester - 12 law school hours + 7 business school credit hours (I can probably take a few the MBA
            credit hours before free-Fall semester).

            (b) My previous plan for Fall 2020 and Winter 2021 seems amazing to me. I will have 90 credit hours completed
            and I'd be able to take some classes pass/fail. Maybe the Dean can allow exception to the pass/fail rule and allow
            me to take 8 law school credit hours for pass/fail and allow me to transfer-in upto 5 MBA credit hours in Fall 2020.


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                                                                        Letter for Re-admissions
            (c) If the Dean approves "Option a" above, then "option b" will be satisfied.

            I know this is a lot of information, but I have separated the questions amongst several e-mails which should allow
            for ease of communications.


            Best,


            Raj Patel


            On Tue, Mar 31, 2020, 10:23 AM Jake Baska <jbaska@nd.edu> wrote:
             Raj,

               To follow-up on my earlier message, I presented your request to NDLS leadership to be able to take your
               remaining 22 credit hours in one semester so that you may graduate as quickly as possible. They politely
               declined this request due to ABA Standard 311 (c): "A law school shall not permit a student to be enrolled at any
               time in coursework that exceeds 20 percent of the total credit hours required by that school for graduation."
               Given our requirement to take 90 credit hours in order to graduate, 20% of that total is 18 credit hours.

               Please advise if you would like to continue with your readmission application.

               Sincerely,
               Jacob Baska

               Jacob Baska
               Director of Admissions & Financial Aid
               Notre Dame Law School
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               law.nd.edu/admissions/

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               intended recipient, please immediately contact the sender by email and delete this message.




               On Tue, Mar 31, 2020 at 8:24 AM Jake Baska <jbaska@nd.edu> wrote:
                Raj,

                    Thank you for your email and the attached resume. I can confirm receipt.

                    I am awaiting advice on you being allowed to take the necessary 22 credits to graduate in one semester. I
                    understand that that may dictate whether you complete the rest of your readmission application. Please let our
                    office know if we can be of further assistance in the meantime.

                    Sincerely,
                    Jacob Baska

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                    the intended recipient, please immediately contact the sender by email and delete this message.




                    On Tue, Mar 31, 2020 at 8:02 AM Raj Patel <raj@rajpatel.live> wrote:
                     Hello Jake,

                      Please see below for yet another updated resume for my application file.

                      Best,

                      Raj Patel

                      On Mon, Mar 30, 2020 at 3:04 PM Raj Patel <raj@rajpatel.live> wrote:
                       Hello Jake,

                         Thank you. In regards to #4, can this issue be specified more with the Office of the Dean of the Law
                         School? I'd like to go through my options for question #4 prior to re-applying.



                         Best,



                         Raj Patel


                         Sent from my Verizon, Samsung Galaxy smartphone
                         Get Outlook for Android


                         From: Jake Baska <jbaska@nd.edu>
                         Sent: Monday, March 30, 2020, 2:41 PM
                         To: Raj Patel
                         Subject: Re: Letter for Re-admissions

                         Hi Raj,

                         Thank you for your email.
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                                                                        Letter for Re-admissions


                        On the readmission application form you submitted on March 10, you indicated that you withdrew from
                        the Law School because of health reasons. If that is note accurate, I kindly ask that you resubmit a new
                        readmission application since the answer to the question of why/how you withdrew dictates the
                        documents we ask of you.

                        For reference, your options are:
                        1) Withdrawal for Health Reasons - For students with mental or physical health conditions that
                        render the
                        student unable to engage in coursework and other related duties for a period of at least 10 days.
                        2) Withdrawal Between Semesters - For students in good academic standing who determine prior to
                        the beginning of a semester that they wish to leave the Law School and the University
                        for reasons beyond those related to health.
                        3) Withdrawal During a Semester - For students in good academic standing who determine during a
                        semester that they wish to leave the Law School and the University for reasons
                        beyond those related to health.

                        Regarding your other questions and statements:
                        1) We require a personal statement from the student to outline what they have done since they left the law
                        school and their updated professional goals. This is a requirement of the readmission application.
                        2) Scholarship decisions will be made by the relevant committee after receipt of the proper application
                        materials.
                        3) This is duly noted.
                        4) I cannot speak for the Dean nor the Faculty, but the Hoynes Code dictates that students need 90 credits
                        in order to graduate and I do not believe it would be possible to take 32 credit hours during one semester
                        of law school.
                        You would have to gain admission to the MBA program in order to pursue the JD/MBA.
                        5) If you withdrew for health reasons, you will have to send updated medical forms and/or contact the
                        UHS or UCC to forward those documents to our office.

                        Thank you and please let our office know how we can be of further assistance,
                        Jacob Baska

                        Jacob Baska
                        Director of Admissions
                        & Financial Aid
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                        University of Notre Dame
                        law.nd.edu/admissions/
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                                                             Mail - Re:                Page 87 of 201 PageID #: 315
                                                                        Letter for Re-admissions




                        On Mon, Mar 30, 2020 at 2:27 PM Raj Patel <raj@rajpatel.live> wrote:
                         Hello Jake,

                          (1) I took a voluntary separation in good standing because of duress/stress/family necessity. I did not
                          "withdraw." Therefore, why would I need a new personal statement? I don't have changes in career
                          plans either.

                          (2) Will my scholarships be re-instated, separately from the result in #3 below? Can they increased to
                          effective full ride, as it was my third year before withdrawing because I was an assistant rector?

                          (3) I have a pending legal matter within the judiciary against Notre Dame Law School. I am hoping to
                          resolve this matter as soon as possible. The judicary has neither dismissed nor deemed my latest
                          complaint as being frivolous. The other material parties are President Trump, the United States, and
                          Emory University, Inc.

                          (4) I have 68 credit hours completed. May I work something out with the dean so I can graduate in one
                          semester? Or, enroll in the JD/MBA? They denied me admissions in the graduate business program.

                          (5) My supportive medical documents were sent in February 2018. I do not have new things to disclose.
                          But, I will send additional documents as needed.



                          Best,



                          Raj Patel
                          317-450-6651

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                          intended recipient, please immediately contact the sender by email and delete this message.

                          On Mon, Mar 30, 2020, 2:15 PM Jake Baska <jbaska@nd.edu> wrote:
                           Hi Raj,

                            Our records processors were in touch with me this morning regarding your updated resume and your
                            question about a decision timeline on your readmission application.

                            Please know that your readmissions application is incomplete so there is no timetable for your
                            readmission at the moment. Per my message below, we have only received your readmission
                            application form. We have not yet received your health documents, nor your personal statement.
                            Could you please advise one when we may expect those documents?

                            Thank you and I look forward to hearing back from you,
                            Jacob Baska

                            Jacob Baska
                            Director of Admissions
                            & Financial Aid
                            Notre Dame Law School
                            University of Notre Dame
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                            On Sun, Mar 15, 2020 at 2:47 PM Jake Baska <jbaska@nd.edu> wrote:
                             Hi Raj,

                              Thank you for your application for readmission. I wanted to touch base with you regarding your
                              required documents. To ensure that we're on the same page, you can find the requirements I'm
                              about to mention on our readmission application here.

                              You indicated on your readmission application that you withdrew for health reasons. As such, we
                              require that you submit the following:
                              A) This application form, including an updated Character and Fitness report
                              B) A certification of readiness from the University Health Center and/or University
                              Counseling Center. You may find the UHC form at the following page:
                              https://uhs.nd.edu/about-us/readmission-to-notre-dame/.
                              You may find the UCC form at the following page: http://ucc.nd.edu/readmission/#lawschool.
                              C) A certification of readiness from the student's treating licensed health care professional
                              D) A personal statement of no more than 500 words outlining the reasons for their
                              withdrawal, what they have done since leaving the Law School, and their current
                              personal/professional
                              goals.

                              You have already submitted your application ("A").

                              Could you advise on if you have been in touch with either the UHC or UCC ("B"), and when we may
                              receive a certification of readiness from your personal physician ("C")?

                              Could you advise if you would like the attachment you sent us to serve as your personal statement
                              ("D")? Given that the document is two years old and doesn't directly address what you have done
                              since leaving the Law School, nor your current personal/professional goals, it may be best to
                              submit another document instead.

                              Thank you and please let me know if you have any questions.

                              Sincerely,
                              Jacob Baska
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                              please immediately contact the sender by email and delete this message.




                              On Wed, Mar 11, 2020 at 7:31 AM Notre Dame Law School bulletin <bulletin@nd.edu> wrote:


                                Sincerely,

                                Notre Dame Law School
                                Office of Admissions
                                1329 Biolchini Hall
                                Notre Dame, IN 46556
                                574-631-6626
                                Bulletin@nd.edu
                                Law.nd.edu




                                ---------- Forwarded message ---------
                                From: Raj Patel <rajp2010@gmail.com>
                                Date: Tue, Mar 10, 2020 at 8:25 PM
                                Subject: Fwd: Letter for Re-admissions
                                To: <bulletin@nd.edu> <bulletin@nd.edu>




https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-a%3Ammiai-r4459080018906495886%7Cmsg-f%3A1662784830294252…              8/9
         Case
6/12/22, 4:13 PM   1:22-cv-01329-JPH-MG Document  1-2 Filed
                                               rajpatel.live         07/05/22
                                                             Mail - Re:                Page 90 of 201 PageID #: 318
                                                                        Letter for Re-admissions




                                Raj Patel
                                rajp2010@gmail.com


                                ---------- Forwarded message ---------
                                From: Raj Patel <rajp2010@gmail.com>
                                Date: Mon, Apr 30, 2018 at 4:46 PM
                                Subject: Letter for Re-admissions
                                To: Peter Horvath <Peter.F.Horvath.50@nd.edu>
                                Cc: Anne Hamilton <Anne.C.Hamilton.4@nd.edu>



                                Hello Peter,

                                My case is dismissed. Attached you will find a letter for re-admissions. I hope that this document
                                can be destroyed because of its sensitivity. I feel like it is mutually beneficial if I re-enroll. If you
                                find it appropriate, professors Root, O'Hara, Pruitt, Fick, or Mayer might be able to help better
                                understand the document.

                                I am happy to schedule a recorded phone call upon your request. My phone number is 317-331-
                                0008.


                                Best,


                                Raj Patel
                                rajp2010@gmail.com
                                --
                                Raj Patel




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         Case
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                                               rajpatel.live         07/05/22
                                                             Mail - Re:                Page 91 of 201 PageID #: 319
                                                                        Letter for Re-admissions



                                                                                                                       Raj Patel <raj@rajpatel.live>



  Re: Letter for Re-admissions
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                            Wed, Apr 1, 2020 at 6:40 AM
  To: Raj Patel <raj@rajpatel.live>

    Hi Raj,

    Thank you for your emails. To be frank, I think this is a larger discussion you should have directly with Law School
    leadership if you are readmitted. I do not have the ability to authorize academic plans. Based on my knowledge from
    conversations with leadership:
    - From your email from 10:56AM yesterday, no, you may not take 20 credits in a semester. 20% of 90 total credits is 18
    credits. 18 credits is the maximum you can take in a semester.
    a) I believe that credits from another graduate program (in the case of a dual degree program) count towards the 18 credit
    maximum in a semester. You would not be able to pursue 12 law credits and 7 MBA credits in a semester without an
    exception from NDLS leadership.
    b) This would be a conversation post-readmission.

    Have a good morning and please let me know if you would like to continue pursuing your readmission application. If so,
    we would require a personal statement and medical clearance from the UCC/UHS (if your withdraw was due to medical
    reasons).

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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    confidential information. Any unauthorized review, use, disclosure, or distribution is strictly prohibited. If you are not the intended recipient,
    please immediately contact the sender by email and delete this message.




    On Wed, Apr 1, 2020 at 4:10 AM Raj Patel <raj@rajpatel.live> wrote:
     Hello Jake

       I have another question for you. The ABA requires 83 credit hour minimum, 64 credit hours which are to be completed
       in the law school. I have satisfied the 64 credit hour requirements because I have 68 credit hours completed. Can my


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                                               rajpatel.live         07/05/22
                                                             Mail - Re:                Page 92 of 201 PageID #: 320
                                                                        Letter for Re-admissions
       graduation requirement be reduced from 90 credit hours to 83 credit hours? See 311(a). Interpretation 311-2 says that
       "family exigency" is an extraordinary circumstance.

       (a) Fall 2020 Semester - 12 law school hours + 7 business school credit hours (I can probably take a few the MBA
       credit hours before free-Fall semester).

       (b) My previous plan for Fall 2020 and Winter 2021 seems amazing to me. I will have 90 credit hours completed and I'd
       be able to take some classes pass/fail. Maybe the Dean can allow exception to the pass/fail rule and allow me to take 8
       law school credit hours for pass/fail and allow me to transfer-in upto 5 MBA credit hours in Fall 2020.

       (c) If the Dean approves "Option a" above, then "option b" will be satisfied.

       I know this is a lot of information, but I have separated the questions amongst several e-mails which should allow for
       ease of communications.


       Best,


       Raj Patel


       On Tue, Mar 31, 2020, 10:23 AM Jake Baska <jbaska@nd.edu> wrote:
        Raj,

          To follow-up on my earlier message, I presented your request to NDLS leadership to be able to take your remaining
          22 credit hours in one semester so that you may graduate as quickly as possible. They politely declined this request
          due to ABA Standard 311 (c): "A law school shall not permit a student to be enrolled at any time in coursework that
          exceeds 20 percent of the total credit hours required by that school for graduation." Given our requirement to take 90
          credit hours in order to graduate, 20% of that total is 18 credit hours.

          Please advise if you would like to continue with your readmission application.

          Sincerely,
          Jacob Baska

          Jacob Baska
          Director of Admissions & Financial Aid
          Notre Dame Law School
          University of Notre Dame
          law.nd.edu/admissions/

          1329 Biolchini Hall
          Notre Dame, IN 46556

          Tel: (574) 631-6626 | Fax: (574) 631-5474

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          recipient, please immediately contact the sender by email and delete this message.




          On Tue, Mar 31, 2020 at 8:24 AM Jake Baska <jbaska@nd.edu> wrote:

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                                               rajpatel.live         07/05/22
                                                             Mail - Re:                Page 93 of 201 PageID #: 321
                                                                        Letter for Re-admissions
            Raj,

            Thank you for your email and the attached resume. I can confirm receipt.

            I am awaiting advice on you being allowed to take the necessary 22 credits to graduate in one semester. I
            understand that that may dictate whether you complete the rest of your readmission application. Please let our
            office know if we can be of further assistance in the meantime.

            Sincerely,
            Jacob Baska

            Jacob Baska
            Director of Admissions & Financial Aid
            Notre Dame Law School
            University of Notre Dame
            law.nd.edu/admissions/

            1329 Biolchini Hall
            Notre Dame, IN 46556

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            intended recipient, please immediately contact the sender by email and delete this message.




            On Tue, Mar 31, 2020 at 8:02 AM Raj Patel <raj@rajpatel.live> wrote:
             Hello Jake,

               Please see below for yet another updated resume for my application file.

               Best,

               Raj Patel

               On Mon, Mar 30, 2020 at 3:04 PM Raj Patel <raj@rajpatel.live> wrote:
                Hello Jake,

                    Thank you. In regards to #4, can this issue be specified more with the Office of the Dean of the Law School?
                    I'd like to go through my options for question #4 prior to re-applying.



                    Best,



                    Raj Patel


                    Sent from my Verizon, Samsung Galaxy smartphone
                    Get Outlook for Android

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                                               rajpatel.live         07/05/22
                                                             Mail - Re:                Page 94 of 201 PageID #: 322
                                                                        Letter for Re-admissions




                    From: Jake Baska <jbaska@nd.edu>
                    Sent: Monday, March 30, 2020, 2:41 PM
                    To: Raj Patel
                    Subject: Re: Letter for Re-admissions

                    Hi Raj,

                    Thank you for your email.

                    On the readmission application form you submitted on March 10, you indicated that you withdrew from the
                    Law School because of health reasons. If that is note accurate, I kindly ask that you resubmit a new
                    readmission application since the answer to the question of why/how you withdrew dictates the documents we
                    ask of you.

                    For reference, your options are:
                    1) Withdrawal for Health Reasons - For students with mental or physical health conditions that render
                    the
                    student unable to engage in coursework and other related duties for a period of at least 10 days.
                    2) Withdrawal Between Semesters - For students in good academic standing who determine prior to the
                    beginning of a semester that they wish to leave the Law School and the University
                    for reasons beyond those related to health.
                    3) Withdrawal During a Semester - For students in good academic standing who determine during a
                    semester that they wish to leave the Law School and the University for reasons
                    beyond those related to health.

                    Regarding your other questions and statements:
                    1) We require a personal statement from the student to outline what they have done since they left the law
                    school and their updated professional goals. This is a requirement of the readmission application.
                    2) Scholarship decisions will be made by the relevant committee after receipt of the proper application
                    materials.
                    3) This is duly noted.
                    4) I cannot speak for the Dean nor the Faculty, but the Hoynes Code dictates that students need 90 credits in
                    order to graduate and I do not believe it would be possible to take 32 credit hours during one semester of law
                    school.
                    You would have to gain admission to the MBA program in order to pursue the JD/MBA.
                    5) If you withdrew for health reasons, you will have to send updated medical forms and/or contact the UHS or
                    UCC to forward those documents to our office.

                    Thank you and please let our office know how we can be of further assistance,
                    Jacob Baska

                    Jacob Baska
                    Director of Admissions
                    & Financial Aid
                    Notre Dame Law School
                    University of Notre Dame
                    law.nd.edu/admissions/
                    1329
                    Biolchini Hall
                    Notre
                    Dame, IN 46556
                    Tel:
                    (574) 631-6626
                    | Fax: (574)
                    631-5474

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                    on:

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                    please immediately contact the sender by email and delete this message.




                    On Mon, Mar 30, 2020 at 2:27 PM Raj Patel <raj@rajpatel.live> wrote:
                     Hello Jake,

                      (1) I took a voluntary separation in good standing because of duress/stress/family necessity. I did not
                      "withdraw." Therefore, why would I need a new personal statement? I don't have changes in career plans
                      either.

                      (2) Will my scholarships be re-instated, separately from the result in #3 below? Can they increased to
                      effective full ride, as it was my third year before withdrawing because I was an assistant rector?

                      (3) I have a pending legal matter within the judiciary against Notre Dame Law School. I am hoping to resolve
                      this matter as soon as possible. The judicary has neither dismissed nor deemed my latest complaint as
                      being frivolous. The other material parties are President Trump, the United States, and Emory University,
                      Inc.

                      (4) I have 68 credit hours completed. May I work something out with the dean so I can graduate in one
                      semester? Or, enroll in the JD/MBA? They denied me admissions in the graduate business program.

                      (5) My supportive medical documents were sent in February 2018. I do not have new things to disclose. But,
                      I will send additional documents as needed.



                      Best,



                      Raj Patel
                      317-450-6651

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                      confidential information. Any unauthorized review, use, disclosure, or distribution is strictly prohibited. If you are not the
                      intended recipient, please immediately contact the sender by email and delete this message.

                      On Mon, Mar 30, 2020, 2:15 PM Jake Baska <jbaska@nd.edu> wrote:
                       Hi Raj,

                         Our records processors were in touch with me this morning regarding your updated resume and your
                         question about a decision timeline on your readmission application.

                         Please know that your readmissions application is incomplete so there is no timetable for your
                         readmission at the moment. Per my message below, we have only received your readmission application
                         form. We have not yet received your health documents, nor your personal statement. Could you please
                         advise one when we may expect those documents?

                         Thank you and I look forward to hearing back from you,
                         Jacob Baska
https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-a%3Ammiai-r4459080018906495886%7Cmsg-f%3A1662766460717835…               5/8
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                                                             Mail - Re:                Page 96 of 201 PageID #: 324
                                                                        Letter for Re-admissions


                        Jacob Baska
                        Director of Admissions
                        & Financial Aid
                        Notre Dame Law School
                        University of Notre Dame
                        law.nd.edu/admissions/
                        1329
                        Biolchini Hall
                        Notre
                        Dame, IN 46556
                        Tel:
                        (574) 631-6626
                        | Fax: (574)
                        631-5474

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                        recipient,
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                        On Sun, Mar 15, 2020 at 2:47 PM Jake Baska <jbaska@nd.edu> wrote:
                         Hi Raj,

                          Thank you for your application for readmission. I wanted to touch base with you regarding your
                          required documents. To ensure that we're on the same page, you can find the requirements I'm about to
                          mention on our readmission application here.

                          You indicated on your readmission application that you withdrew for health reasons. As such, we
                          require that you submit the following:
                          A) This application form, including an updated Character and Fitness report
                          B) A certification of readiness from the University Health Center and/or University Counseling
                          Center. You may find the UHC form at the following page:
                          https://uhs.nd.edu/about-us/readmission-to-notre-dame/.
                          You may find the UCC form at the following page: http://ucc.nd.edu/readmission/#lawschool.
                          C) A certification of readiness from the student's treating licensed health care professional
                          D) A personal statement of no more than 500 words outlining the reasons for their withdrawal,
                          what they have done since leaving the Law School, and their current personal/professional
                          goals.

                          You have already submitted your application ("A").

                          Could you advise on if you have been in touch with either the UHC or UCC ("B"), and when we may
                          receive a certification of readiness from your personal physician ("C")?



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                                                                        Letter for Re-admissions
                          Could you advise if you would like the attachment you sent us to serve as your personal statement
                          ("D")? Given that the document is two years old and doesn't directly address what you have done since
                          leaving the Law School, nor your current personal/professional goals, it may be best to submit another
                          document instead.

                          Thank you and please let me know if you have any questions.

                          Sincerely,
                          Jacob Baska

                          Jacob Baska
                          Director of Admissions
                          & Financial Aid
                          Notre Dame Law School
                          University of Notre Dame
                          law.nd.edu/admissions/
                          1329
                          Biolchini Hall
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                          Dame, IN 46556
                          Tel:
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                          | Fax: (574)
                          631-5474

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                          On Wed, Mar 11, 2020 at 7:31 AM Notre Dame Law School bulletin <bulletin@nd.edu> wrote:


                            Sincerely,

                            Notre Dame Law School
                            Office of Admissions
                            1329 Biolchini Hall
                            Notre Dame, IN 46556
                            574-631-6626
                            Bulletin@nd.edu
                            Law.nd.edu




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                            Hello Peter,

                            My case is dismissed. Attached you will find a letter for re-admissions. I hope that this document can
                            be destroyed because of its sensitivity. I feel like it is mutually beneficial if I re-enroll. If you find it
                            appropriate, professors Root, O'Hara, Pruitt, Fick, or Mayer might be able to help better understand
                            the document.

                            I am happy to schedule a recorded phone call upon your request. My phone number is 317-331-0008.


                            Best,


                            Raj Patel
                            rajp2010@gmail.com
                            --
                            Raj Patel




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                                                             Mail - Re:                Page 99 of 201 PageID #: 327
                                                                        Letter for Re-admissions



                                                                                                                       Raj Patel <raj@rajpatel.live>



  Re: Letter for Re-admissions
  1 message

  Jake Baska <jbaska@nd.edu>                                                                                           Mon, Mar 30, 2020 at 2:40 PM
  To: Raj Patel <raj@rajpatel.live>

    Hi Raj,

    Thank you for your email.

    On the readmission application form you submitted on March 10, you indicated that you withdrew from the Law School
    because of health reasons. If that is note accurate, I kindly ask that you resubmit a new readmission application since the
    answer to the question of why/how you withdrew dictates the documents we ask of you.

    For reference, your options are:
    1) Withdrawal for Health Reasons - For students with mental or physical health conditions that render the student
    unable to engage in coursework and other related duties for a period of at least 10 days.
    2) Withdrawal Between Semesters - For students in good academic standing who determine prior to the beginning
    of a semester that they wish to leave the Law School and the University for reasons beyond those related to health.
    3) Withdrawal During a Semester - For students in good academic standing who determine during a semester that
    they wish to leave the Law School and the University for reasons beyond those related to health.

    Regarding your other questions and statements:
    1) We require a personal statement from the student to outline what they have done since they left the law school and their
    updated professional goals. This is a requirement of the readmission application.
    2) Scholarship decisions will be made by the relevant committee after receipt of the proper application materials.
    3) This is duly noted.
    4) I cannot speak for the Dean nor the Faculty, but the Hoynes Code dictates that students need 90 credits in order to
    graduate and I do not believe it would be possible to take 32 credit hours during one semester of law school.
    You would have to gain admission to the MBA program in order to pursue the JD/MBA.
    5) If you withdrew for health reasons, you will have to send updated medical forms and/or contact the UHS or UCC to
    forward those documents to our office.

    Thank you and please let our office know how we can be of further assistance,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

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                                                                           Mail - Re:               Page 100 of 201 PageID #: 328
                                                                                      Letter for Re-admissions




    On Mon, Mar 30, 2020 at 2:27 PM Raj Patel <raj@rajpatel.live> wrote:
     Hello Jake,

      (1) I took a voluntary separation in good standing because of duress/stress/family necessity. I did not "withdraw."
      Therefore, why would I need a new personal statement? I don't have changes in career plans either.

      (2) Will my scholarships be re-instated, separately from the result in #3 below? Can they increased to effective full ride,
      as it was my third year before withdrawing because I was an assistant rector?

      (3) I have a pending legal matter within the judiciary against Notre Dame Law School. I am hoping to resolve this
      matter as soon as possible. The judicary has neither dismissed nor deemed my latest complaint as being frivolous. The
      other material parties are President Trump, the United States, and Emory University, Inc.

      (4) I have 68 credit hours completed. May I work something out with the dean so I can graduate in one semester? Or,
      enroll in the JD/MBA? They denied me admissions in the graduate business program.

      (5) My supportive medical documents were sent in February 2018. I do not have new things to disclose. But, I will send
      additional documents as needed.



      Best,



      Raj Patel
      317-450-6651

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       Hi Raj,

         Our records processors were in touch with me this morning regarding your updated resume and your question about
         a decision timeline on your readmission application.

         Please know that your readmissions application is incomplete so there is no timetable for your readmission at the
         moment. Per my message below, we have only received your readmission application form. We have not yet received
         your health documents, nor your personal statement. Could you please advise one when we may expect those
         documents?

         Thank you and I look forward to hearing back from you,
         Jacob Baska

         Jacob Baska
         Director of Admissions & Financial Aid
         Notre Dame Law School
         University of Notre Dame
         law.nd.edu/admissions/

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                                                                            Mail - Re:               Page 101 of 201 PageID #: 329
                                                                                       Letter for Re-admissions


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         recipient, please immediately contact the sender by email and delete this message.




         On Sun, Mar 15, 2020 at 2:47 PM Jake Baska <jbaska@nd.edu> wrote:
          Hi Raj,

            Thank you for your application for readmission. I wanted to touch base with you regarding your required
            documents. To ensure that we're on the same page, you can find the requirements I'm about to mention on our
            readmission application here.

            You indicated on your readmission application that you withdrew for health reasons. As such, we require that you
            submit the following:
            A) This application form, including an updated Character and Fitness report
            B) A certification of readiness from the University Health Center and/or University Counseling Center. You
            may find the UHC form at the following page: https://uhs.nd.edu/about-us/readmission-to-notre-dame/. You
            may find the UCC form at the following page: http://ucc.nd.edu/readmission/#lawschool.
            C) A certification of readiness from the student's treating licensed health care professional
            D) A personal statement of no more than 500 words outlining the reasons for their withdrawal, what they
            have done since leaving the Law School, and their current personal/professional goals.

            You have already submitted your application ("A").

            Could you advise on if you have been in touch with either the UHC or UCC ("B"), and when we may receive a
            certification of readiness from your personal physician ("C")?

            Could you advise if you would like the attachment you sent us to serve as your personal statement ("D")? Given
            that the document is two years old and doesn't directly address what you have done since leaving the Law School,
            nor your current personal/professional goals, it may be best to submit another document instead.

            Thank you and please let me know if you have any questions.

            Sincerely,
            Jacob Baska

            Jacob Baska
            Director of Admissions & Financial Aid
            Notre Dame Law School
            University of Notre Dame
            law.nd.edu/admissions/

            1329 Biolchini Hall
            Notre Dame, IN 46556

            Tel: (574) 631-6626 | Fax: (574) 631-5474

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                                                                                       Letter for Re-admissions
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            intended recipient, please immediately contact the sender by email and delete this message.




            On Wed, Mar 11, 2020 at 7:31 AM Notre Dame Law School bulletin <bulletin@nd.edu> wrote:


              Sincerely,

              Notre Dame Law School
              Office of Admissions
              1329 Biolchini Hall
              Notre Dame, IN 46556
              574-631-6626
              Bulletin@nd.edu
              Law.nd.edu




              ---------- Forwarded message ---------
              From: Raj Patel <rajp2010@gmail.com>
              Date: Tue, Mar 10, 2020 at 8:25 PM
              Subject: Fwd: Letter for Re-admissions
              To: <bulletin@nd.edu> <bulletin@nd.edu>




              Raj Patel
              rajp2010@gmail.com


              ---------- Forwarded message ---------
              From: Raj Patel <rajp2010@gmail.com>
              Date: Mon, Apr 30, 2018 at 4:46 PM
              Subject: Letter for Re-admissions
              To: Peter Horvath <Peter.F.Horvath.50@nd.edu>
              Cc: Anne Hamilton <Anne.C.Hamilton.4@nd.edu>



              Hello Peter,

              My case is dismissed. Attached you will find a letter for re-admissions. I hope that this document can be
              destroyed because of its sensitivity. I feel like it is mutually beneficial if I re-enroll. If you find it appropriate,
              professors Root, O'Hara, Pruitt, Fick, or Mayer might be able to help better understand the document.

              I am happy to schedule a recorded phone call upon your request. My phone number is 317-331-0008.


              Best,


              Raj Patel
              rajp2010@gmail.com

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              Raj Patel




https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-a%3Ammiai-r4459080018906495886%7Cmsg-f%3A1662615481442636…   5/5
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                                                                            Mail - Re:               Page 104 of 201 PageID #: 332
                                                                                       Letter for Re-admissions



                                                                                                                       Raj Patel <raj@rajpatel.live>



 Re: Letter for Re-admissions
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                            Mon, Mar 30, 2020 at 2:15 PM
 To: Raj Patel <rajp2010@gmail.com>, raj@rajpatel.live

    Hi Raj,

    Our records processors were in touch with me this morning regarding your updated resume and your question about a
    decision timeline on your readmission application.

    Please know that your readmissions application is incomplete so there is no timetable for your readmission at the
    moment. Per my message below, we have only received your readmission application form. We have not yet received your
    health documents, nor your personal statement. Could you please advise one when we may expect those documents?

    Thank you and I look forward to hearing back from you,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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      To ensure that we're on the same page, you can find the requirements I'm about to mention on our readmission
      application here.

      You indicated on your readmission application that you withdrew for health reasons. As such, we require that you
      submit the following:
      A) This application form, including an updated Character and Fitness report
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      the UCC form at the following page: http://ucc.nd.edu/readmission/#lawschool.

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6/12/22,Case
        4:15 PM 1:22-cv-01329-JPH-MG                 Documentrajpatel.live
                                                               1-2 Filed          07/05/22
                                                                           Mail - Re:               Page 105 of 201 PageID #: 333
                                                                                      Letter for Re-admissions
      C) A certification of readiness from the student's treating licensed health care professional
      D) A personal statement of no more than 500 words outlining the reasons for their withdrawal, what they have
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      Could you advise if you would like the attachment you sent us to serve as your personal statement ("D")? Given that the
      document is two years old and doesn't directly address what you have done since leaving the Law School, nor your
      current personal/professional goals, it may be best to submit another document instead.

      Thank you and please let me know if you have any questions.

      Sincerely,
      Jacob Baska

      Jacob Baska
      Director of Admissions & Financial Aid
      Notre Dame Law School
      University of Notre Dame
      law.nd.edu/admissions/

      1329 Biolchini Hall
      Notre Dame, IN 46556

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         Bulletin@nd.edu
         Law.nd.edu




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         From: Raj Patel <rajp2010@gmail.com>
         Date: Tue, Mar 10, 2020 at 8:25 PM

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                                                                        Mail - Re:               Page 106 of 201 PageID #: 334
                                                                                   Letter for Re-admissions
         Subject: Fwd: Letter for Re-admissions
         To: <bulletin@nd.edu> <bulletin@nd.edu>




         Raj Patel
         rajp2010@gmail.com


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         Date: Mon, Apr 30, 2018 at 4:46 PM
         Subject: Letter for Re-admissions
         To: Peter Horvath <Peter.F.Horvath.50@nd.edu>
         Cc: Anne Hamilton <Anne.C.Hamilton.4@nd.edu>



         Hello Peter,

         My case is dismissed. Attached you will find a letter for re-admissions. I hope that this document can be destroyed
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         I am happy to schedule a recorded phone call upon your request. My phone number is 317-331-0008.


         Best,


         Raj Patel
         rajp2010@gmail.com
         --
         Raj Patel




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                                                          rajpatel.live Mail -Filed   07/05/22
                                                                              Re: [19-034] Re: ApplyingPage     107 of 201 PageID #: 335
                                                                                                        for 1L admission



                                                                                                                       Raj Patel <raj@rajpatel.live>



 Re: [19-034] Re: Applying for 1L admission
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                           Wed, Aug 11, 2021 at 1:42 PM
 To: Raj Patel <raj@rajpatel.live>

    Raj,

    Thank you for your email and question.

    As noted on the application instructions, we require either the LSAT or GRE. We are not test optional. This is per ABA
    Standard 503 regarding standardized tests for law school admissions.

    Standard 503 notes that "a law school shall use the test results in a manner that is consistent with the current guidelines
    regarding the proper use of the test results provided by the agency that developed the test." Both LSAC and ETS consider
    their exams valid for five years. They would not consider an exam done prior to the summer of 2016 to be valid. As such,
    we cannot use those exams without violating this ABA Standard.

    Please let me know if you have any other questions,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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      ---------- Forwarded message ---------
      From: Raj Patel <raj@rajpatel.live>
      Date: Wed, Aug 11, 2021 at 9:09 AM
      Subject: [19-034] Re: Applying for 1L admission
      To: Jake Baska <jbaska@nd.edu>


      Hello Jake,


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                                                            rajpatel.live Mail -Filed   07/05/22
                                                                                Re: [19-034] Re: ApplyingPage     108 of 201 PageID #: 336
                                                                                                          for 1L admission
      Is admissions test optional, like some other law schools? I am not ready to re-take the LSAT, and it is unfair to require
      me to do that. You already have my scores on file (157).

      Sincerely,

      Raj Patel

      On Wed, Aug 11, 2021 at 9:03 AM Jake Baska <jbaska@nd.edu> wrote:
       Hi Raj,

           Thanks for your email from over the weekend regarding the requirements to apply for first year JD admission. I hope
           I can be of assistance.

           You can find the complete application instructions here.

           As noted in the application instructions, the oldest standardized tests that may be used for this year's application cycle
           are June 2016 LSAT and GREs taken on are after July 1, 2016. Neither LSAC nor ETS will provide score reports for
           exams taken prior to those dates.

           Regarding letters of recommendation, I would advise that submitting more current letters of recommendation would
           be better than re-submitting your original letters. A great deal of time has passed since when you originally applied
           and the members of the Admission Committee would likely appreciate hearing from more recent colleagues,
           instructors, supervisors, etc.

           Have a good day and please let me know if you have any further questions,
           Jacob Baska

           Jacob Baska
           Director of Admissions & Financial Aid
           Notre Dame Law School
           University of Notre Dame
           law.nd.edu/admissions/

           1329 Biolchini Hall
           Notre Dame, IN 46556

           Tel: (574) 631-6626 | Fax: (574) 631-5474

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           recipient, please immediately contact the sender by email and delete this message.




      --

      Keri Kei Shibata                   (she / her / hers)

      Chief of Police and Executive Director of Emergency Management

      Police Department

      University of Notre Dame


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                                                                                                    for 1L admission
      https://police.nd.edu/



      (574) 631-8338 (phone)

      (574) 631-3597 (fax)



      240 Hammes Mowbray Hall

      Notre Dame, IN 46556




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                                                               1-2 Filed    Mail - 07/05/22        Page 110 of 201 PageID #: 338
                                                                                   Applying for 1L admission



                                                                                                                       Raj Patel <raj@rajpatel.live>



 Applying for 1L admission
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                           Wed, Aug 11, 2021 at 9:03 AM
 To: Raj Patel <raj@rajpatel.live>

    Hi Raj,

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    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
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                                                                       Re: Notre           Page
                                                                                 Dame Law School     111 of Decision
                                                                                                 - Readmission 201 PageID                    #: 339


                                                                                                                       Raj Patel <raj@rajpatel.live>



 Re: [19-034] Re: Notre Dame Law School - Readmission Decision
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                            Thu, Dec 17, 2020 at 9:51 AM
 To: Raj Patel <raj@rajpatel.live>

    Raj,

    Thank you for your emails and question.

    I do not believe that the results of this lie detector test would have affected the discussions of the Admissions Committee.

    In another email, you mentioned that you would not seek readmission at a later time if you were denied readmission now.
    Please know that the decision regarding your readmission file for the Spring 2021 semester is final per my message of
    December 15.

    Please let our office know if you have further questions or if we can be of additional assistance.

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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    please immediately contact the sender by email and delete this message.




      ---------- Forwarded message ---------
      From: Raj Patel <raj@rajpatel.live>
      Date: Tue, Dec 15, 2020 at 9:12 PM
      Subject: [19-034] Re: Notre Dame Law School - Readmission Decision
      To: Jake Baska <jbaska@nd.edu>, Kevin O'Rear <korear@nd.edu>, <president@nd.edu>, <mcorr1@nd.edu>,
      <Marianne.Corr.10@nd.edu>, <gcole2@nd.edu>


      Hello Jake,
https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-f%3A1686179023870480016%7Cmsg-f%3A1686337494780496685&si…             1/3
6/12/22,Case
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                                                                       Re: Notre           Page
                                                                                 Dame Law School     112 of Decision
                                                                                                 - Readmission 201 PageID         #: 340

      I took a lie detector test, and one of the questions is whether I took drugs illegally pertaining to this stress situation
      (before, during, and after law school). I answered “no,” and the lie detector test found that I gave “no deception” in my
      answer. I was also asked if the federal government was stressing me out. I answered “yes,” and the lie detector test found
      that I gave “no deception.”

      I will send the results to you once I have the final report.

      Is this sufficient to knowledge for you to reconsider my re-admissions decisions?



      Best,



      Raj Patel
      (c) 317-450-6651
      raj@rajpatel.live


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      recipient(s) and may contain confidential and privileged information or otherwise be protected by law. Any unauthorized
      review, use, disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by
      reply e-mail and destroy all copies of the original message.

      On Dec 15, 2020, at 3:53 PM, Jake Baska <jbaska@nd.edu> wrote:

      ﻿
      Raj,

      Thank you for submitting your application for readmission to Notre Dame Law School. We appreciate the time and
      effort you put into your application as well as your continued desire to return to your legal studies. Unfortunately, the
      Admissions Committee is sorry to communicate that we are unable to approve your request for readmission for the
      Spring 2021 semester. A prerequisite of your readmission is to receive a recommendation for readmission from the
      University Counseling Center (UCC). The UCC did not approve your application materials. As such, the Admissions
      Committee could not consider your application further. If you wish to apply for future readmission, I
      strongly encourage you to contact the UCC to receive guidance on their decision and recommendations for further
      treatment.

      Per ABA Standard 311 (b), law students must complete their studies within 84 months. You began your studies at Notre
      Dame Law School in August 2015. Your 84 month window expires in August 2022. Per our records, you have
      completed 68 credits and would need to complete another 22 credits in order to graduate. You would need two
      semesters in order to complete those credit hours. As such, you would need to be readmitted for Fall 2021 in order to be
      eligible to graduate per ABA standards. Should you apply and fail to be readmitted for the fall 2021, you would be
      ineligible to resume your studies at Notre Dame Law School. In such a case, your only avenue to return to NDLS would
      be to reapply for admission as an incoming first-year (i.e., 1L) student. The deadline to apply for Fall 2021
      readmission is April 15.

      Given that you may only apply for readmission once more, the Admissions Committee feels that it is relevant to share
      our apprehensions regarding troubling communications that you have sent and frivolous lawsuits you have filed during
      your time away from the University, including during your most recent readmission application process. ABA
      Admissions Standard 501(b) provides that “A law school shall only admit applicants who appear capable of satisfactorily
      completing its program of legal education and being admitted to the bar.” Your conduct raises serious concerns about
      your ability to satisfy the character and fitness requirements for admission to the bar. Should you apply this spring for
      readmission in Fall 2021 and should you receive a positive recommendation from the UCC, please know that the
      behavior and conduct noted above - and its potential impact on whether you may be capable of satisfying the character
      and fitness requirements attendant to admission to the bar - will be considered in the Law School’s evaluation of your
      application.

      We regret the disappointment this decision may cause you but we thank you for your understanding of the care and
      attention we paid to your application. Please accept our best for your continued health and well-being.


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6/12/22,Case
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                                                                       Re: Notre           Page
                                                                                 Dame Law School     113 of Decision
                                                                                                 - Readmission 201 PageID                   #: 341
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      Jacob Baska

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      Director of Admissions & Financial Aid
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      University of Notre Dame
      law.nd.edu/admissions/

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                                                                                     Law School - Readmission     of 201 PageID #: 342
                                                                                                              Decision



                                                                                                              Raj Patel <raj@rajpatel.live>



 Notre Dame Law School - Readmission Decision
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                   Tue, Dec 15, 2020 at 3:53 PM
 To: Raj Patel <raj@rajpatel.live>

    Raj,

    Thank you for submitting your application for readmission to Notre Dame Law School. We appreciate the time and effort
    you put into your application as well as your continued desire to return to your legal studies. Unfortunately, the
    Admissions Committee is sorry to communicate that we are unable to approve your request for readmission for the Spring
    2021 semester. A prerequisite of your readmission is to receive a recommendation for readmission from the University
    Counseling Center (UCC). The UCC did not approve your application materials. As such, the Admissions Committee
    could not consider your application further. If you wish to apply for future readmission, I strongly encourage you to
    contact the UCC to receive guidance on their decision and recommendations for further treatment.

    Per ABA Standard 311 (b), law students must complete their studies within 84 months. You began your studies at Notre
    Dame Law School in August 2015. Your 84 month window expires in August 2022. Per our records, you have completed
    68 credits and would need to complete another 22 credits in order to graduate. You would need two semesters in order to
    complete those credit hours. As such, you would need to be readmitted for Fall 2021 in order to be eligible to graduate per
    ABA standards. Should you apply and fail to be readmitted for the fall 2021, you would be ineligible to resume your
    studies at Notre Dame Law School. In such a case, your only avenue to return to NDLS would be to reapply for admission
    as an incoming first-year (i.e., 1L) student. The deadline to apply for Fall 2021 readmission is April 15.

    Given that you may only apply for readmission once more, the Admissions Committee feels that it is relevant to share our
    apprehensions regarding troubling communications that you have sent and frivolous lawsuits you have filed during your
    time away from the University, including during your most recent readmission application process. ABA Admissions
    Standard 501(b) provides that “A law school shall only admit applicants who appear capable of satisfactorily completing
    its program of legal education and being admitted to the bar.” Your conduct raises serious concerns about your ability to
    satisfy the character and fitness requirements for admission to the bar. Should you apply this spring for readmission in
    Fall 2021 and should you receive a positive recommendation from the UCC, please know that the behavior and conduct
    noted above - and its potential impact on whether you may be capable of satisfying the character and fitness requirements
    attendant to admission to the bar - will be considered in the Law School’s evaluation of your application.

    We regret the disappointment this decision may cause you but we thank you for your understanding of the care and
    attention we paid to your application. Please accept our best for your continued health and well-being.

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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                                                                                         Law School - Readmission     of 201 PageID #: 343
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                                                                 rajpatel.live 07/05/22
                                                                                 - Readmission Page
                                                                                               Form 116 of 201 PageID #: 344


                                                                                                                       Raj Patel <raj@rajpatel.live>



 Readmission Form
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                          Mon, Sep 14, 2020 at 11:48 AM
 To: Raj Patel <raj@rajpatel.live>

    Hi Raj,

    Per your previous emails, please find the readmission application here. Please note that October 15 is the deadline to
    submit your materials to be considered to reenroll in the spring semester.

    Also, per our email exchange from last spring, please be in touch with the University Counseling Center regarding your
    paperwork with them. Being cleared by the UCC is a prerequisite for readmission. I am confident they will be happy to
    assist you.

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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                                                            rajpatel.live Mail07/05/22        Page 117 of 201 PageID #: 345
                                                                               - Readmission Question



                                                                                                              Raj Patel <raj@rajpatel.live>



 Readmission Question
 1 message

 Amy Spanopoulos <aspanopo@nd.edu>                                                                             Mon, Apr 5, 2021 at 3:59 PM
 To: Raj Patel <raj@rajpatel.live>
 Cc: Jake Baska <jbaska@nd.edu>

    Raj,

    Hello! I appreciate your inquiry regarding Readmission to the Law School. I have cc: Jake Baska to this response as you
    included him in your inquiry. For the University Counseling Center (UCC), you are expected to complete and submit all of
    the information as outlined for Readmissions here: https://ucc.nd.edu/returning/. It is necessary that you provide updated
    clinical information in your Readmission Application as our strong recommendation to you was to engage in on-going
    treatment with a consistent mental health provider.

    Thank you, Amy

    Amy Spanopoulos, LCSW, LCAC
    Associate Director, Clinical Services
    University Counseling Center
    St. Liam Hall
    University of Notre Dame
    Notre Dame, IN 46556

    Pronouns: She/Her/Hers
    mypronouns.org

    Phone: 574-631-7336
    Fax: 574-631-5643

    aspanopo@nd.edu




    NOTICE: Because e-mail is not a secure medium, confidentiality of e-mail messages cannot be
    guaranteed.

    To help ensure privacy, clients are cautioned against sending sensitive, detailed or personal information to
    UCC staff via e-mail. E-mail should never be used to convey information of an urgent nature as we
    cannot guarantee prompt responses to e-mail messages. Our staff does not maintain 24-hour access to e-
    mail accounts and may only check e-mail infrequently, and not at all on weekends or holidays.

    To discuss any concerns, please call the counseling center (574-631-7336) during center business hours.

    If this message has been sent to you in error, please notify the sender by replying to this transmission.
    Thank you for helping to maintain privacy.




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                                                                                                              Raj Patel <raj@rajpatel.live>



 Re: Appointment Request
 1 message

 Office of the President <president@nd.edu>                                                                Wed, May 13, 2020 at 10:40 AM
 To: raj@rajpatel.live


    Thank you for your comments and for taking the time to share your thoughts with us. Please know that we will read your
    message carefully and we appreciate hearing from you.

    If your email is regarding the University’s response to the COVID-19 pandemic, we are monitoring the situation closely.
    The University provides regular updates here: https://coronavirus.nd.edu/. Please be assured that the health, safety, and
    well-being of our students, faculty, staff, and community remain our top priority. All those impacted by the pandemic are in
    our thoughts and prayers.

    Sincerely,

    Ann Firth
    Vice President and Chief of Staff to the President




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                                                                                                     Decision



                                                                                                                       Raj Patel <raj@rajpatel.live>



 Re: NDLS, Readmission Decision
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                           Mon, May 11, 2020 at 5:32 PM
 To: Raj Patel <raj@rajpatel.live>

    Hi Raj,

    Thanks for your email and follow up. I would advise being directly in touch with the University Counseling Center with
    your question. You may reach out to Amy Spanopoulos at the general UCC phone number of 574-631-7336.

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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    On Mon, May 11, 2020 at 4:31 PM Raj Patel <raj@rajpatel.live> wrote:
     Hello Jake,

      Thank you. I dont understand the decision. My Psychiatrist said I am able to return to school.

      Best,

      Raj Patel

      On Mon, May 11, 2020, 3:18 PM Jake Baska <jbaska@nd.edu> wrote:
       Raj,

         Thank you for submitting your application for readmission to Notre Dame Law School. We appreciate the time and
         effort you put into your application, your continued updates, as well as your desire to return to campus to resume
         your legal studies.



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                                                                             - Re:07/05/22      Page
                                                                                   NDLS, Readmission     120 of 201 PageID #: 348
                                                                                                     Decision
         After consultation with the University Counseling Center (UCC), the Admissions Committee is sorry to communicate
         that we are unable to approve your request for readmission for the 2020 fall semester. We all want you to return to
         campus when you are ready and able to contribute to the NDLS community in the positive manner of which we know
         you are capable.

         Although the decision is final for this upcoming semester, you may apply for a future term. If you would like to
         reapply again, you must contact the University Counseling Center. They will provide guidance on their paperwork
         and related requirements for readmission.

         We regret the disappointment this decision may cause you but we thank you for your understanding of the care and
         attention we paid to your application. Please accept our best for your continued recovery.

         Sincerely,
         Jacob Baska

         Jacob Baska
         Director of Admissions & Financial Aid
         Notre Dame Law School
         University of Notre Dame
         law.nd.edu/admissions/

         1329 Biolchini Hall
         Notre Dame, IN 46556

         Tel: (574) 631-6626 | Fax: (574) 631-5474

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                                                                                                     Decision



                                                                                                                       Raj Patel <raj@rajpatel.live>



 NDLS, Readmission Decision
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                           Mon, May 11, 2020 at 3:18 PM
 To: Raj Patel <raj@rajpatel.live>

    Raj,

    Thank you for submitting your application for readmission to Notre Dame Law School. We appreciate the time and effort
    you put into your application, your continued updates, as well as your desire to return to campus to resume your legal
    studies.

    After consultation with the University Counseling Center (UCC), the Admissions Committee is sorry to communicate that
    we are unable to approve your request for readmission for the 2020 fall semester. We all want you to return to campus
    when you are ready and able to contribute to the NDLS community in the positive manner of which we know you are
    capable.

    Although the decision is final for this upcoming semester, you may apply for a future term. If you would like to reapply
    again, you must contact the University Counseling Center. They will provide guidance on their paperwork and related
    requirements for readmission.

    We regret the disappointment this decision may cause you but we thank you for your understanding of the care and
    attention we paid to your application. Please accept our best for your continued recovery.

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

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                                                                          - Re: FW:               Page 122
                                                                                    [19-034] Re: Readmission Formof 201 PageID #: 350



                                                                                                                       Raj Patel <raj@rajpatel.live>



 Re: FW: [19-034] Re: Readmission Form
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                            Thu, Sep 17, 2020 at 5:05 PM
 To: Raj Patel <raj@rajpatel.live>

    Hi Raj,

    Thanks for your email and questions. Happy to help.

    Regarding the documentation you should provide, I think those listed under "Health Reasons" probably better suffices for
    your circumstances. "Withdrawal Between Semesters" is more appropriate for someone who left with no intention of
    returning to law school in the future. Given that and given the communications you have had with members of the ND
    and NDLS community, we do politely ask that you work with the UCC regarding clearance. We want to make sure that
    you are in a position to be a healthy and contributing member of the larger University.

    Please be in touch if you have other questions or if our office can be of further assistance.

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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      ---------- Forwarded message ---------
      From: Raj Patel <raj@rajpatel.live>
      Date: Wed, Sep 16, 2020 at 7:46 PM
      Subject: [19-034] Re: Readmission Form
      To: Jake Baska <jbaska@nd.edu>



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                                                      rajpatel.live           07/05/22
                                                                      - Re: FW:               Page 123
                                                                                [19-034] Re: Readmission Formof 201 PageID #: 351
      Hello Jake,



      The most recent version of the re-admissions form is different from last spring's. This version includes an option for
      "Between or During Semester," especially because it will be over three years since my withdrawal. I selected that option,
      although I can select the "Health Reasons" option too. I have not violated the conditions on the form.



      Per my recent selection of "Between or During Semester," do I need to still be cleared by UCC?



      If so, why? And, UCC has not uploaded their law school forms.



      Best,



      Raj Patel



      On Mon, Sep 14, 2020 at 11:49 AM Jake Baska <jbaska@nd.edu> wrote:

         Hi Raj,



         Per your previous emails, please find the readmission application here. Please note that October 15 is the deadline to
         submit your materials to be considered to reenroll in the spring semester.



         Also, per our email exchange from last spring, please be in touch with the University Counseling Center
         regarding your paperwork with them. Being cleared by the UCC is a prerequisite for readmission. I am confident
         they will be happy to assist you.



         Sincerely,

         Jacob Baska



         Jacob Baska
         Director of Admissions & Financial Aid
         Notre Dame Law School
         University of Notre Dame
         law.nd.edu/admissions/
         1329 Biolchini Hall
         Notre Dame, IN 46556
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                                                               rajpatel.live Mail07/05/22
                                                                                 - Re: Visit anotherPage
                                                                                                     school 125 of 201 PageID #: 353



                                                                                                                       Raj Patel <raj@rajpatel.live>



 Re: Visit another school
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                           Wed, May 13, 2020 at 8:37 AM
 To: Raj Patel <raj@rajpatel.live>

    Raj,

    A quick reply to this message - students may only visit another school if they are presently enrolled at NDLS. You would
    have to be cleared by the readmission process first.

    Let me know if you have other questions,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

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    On Tue, May 12, 2020 at 7:39 PM Raj Patel <raj@rajpatel.live> wrote:
     Hello Jake,

      May I visit IUPUI McKinney Law School this upcoming year and transfer my credits back to Notre Dame for
      graduation?


      Best,


      Raj Patel




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                                                          rajpatel.live Mail Filed    07/05/22
                                                                             - Re: Personal            Page
                                                                                            Statement for      126 of 201 PageID #: 354
                                                                                                          Re-Admissions



                                                                                                                       Raj Patel <raj@rajpatel.live>



 Re: Personal Statement for Re-Admissions
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                             Wed, Apr 8, 2020 at 8:29 AM
 To: Raj Patel <raj@rajpatel.live>

    Raj,

    I can confirm receipt of this email and your personal statement, as well as your subsequent email with your attached
    updated resume. Thank you.

    The only further materials we need are the proper sign-offs from University Health Services and/or the University
    Counseling Center, as well as your treating physician. This is because your readmission application indicated that you
    withdrew due to health reasons. We received your phone voice message asking if your documentation from 2018 would
    suffice to fulfill this requirement. Given that those documents are from two years ago, we politely request updated copies.
    Thank you for your understanding.

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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    please immediately contact the sender by email and delete this message.




    On Sat, Apr 4, 2020 at 10:43 AM Raj Patel <raj@rajpatel.live> wrote:
     Hello Jake,

      Please see the personal statement attached below. I also have an updated resume for your reference.


      Best,

      Raj Patel

      In Indianapolis,

https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-a%3Ar-1353345543876982665%7Cmsg-f%3A1663407494335402380&s…            1/2
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                                                                                        Statement for      127 of 201 PageID #: 355
                                                                                                      Re-Admissions


      President President Raj K. Patel, Student Body President of Emory University, Inc., Student Body President of
      Brownsburg Community School Corporation, His Excellency, His Excellency, Doctor (Prospective), Mister

      H.E. Raj K. Patel
      Law, Notre Dame Law School 2021 (on a voluntary seperation of leave, in good standing)
      Political Science and Religious Studies (Honors), Emory University 2014

      Student Body President, Emory University, Inc. 2013-2014

      President, Emory University Student Government Association 2013-14
      Assistant Chair, S.G.A. Governance Committee & Rep.-At-Large 2012-13

      Student Body President, Brownsburg Community School Corporation 2009-2010
      President, Brownsburg High School Student Council C.H.A.I.N. Link 2009-10

      501 N. Capitol Avenue, Apt. 4126A
      Indianapolis, IN 46204
      U.S.A.
      (c) 317-450-6651
      rajkp@me.com

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                                                                            Mail - Re:               Page 128 of 201 PageID #: 356
                                                                                       Letter for Re-admissions



                                                                                                                       Raj Patel <raj@rajpatel.live>



 Re: Letter for Re-admissions
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                            Wed, Apr 1, 2020 at 11:32 AM
 To: Raj Patel <raj@rajpatel.live>

    Raj,

    Thank you for your email and follow-up questions:
    1) I believe that all credits that count towards your diploma count towards the 18 credit hour per semester limit. Thus, if
    you are a JD/MBA student, MBA credit hours would count toward that limit.
    2) I cannot comment on chances for readmission because your application is incomplete. To this point, we just have your
    readmission form. I have not forwarded any materials to other members of the admissions committee. I will do so after
    your application is complete.
    3) The deadline to apply for readmission for the fall semester is April 15. We have to have all documents in by that date.

    Thank you and please let me know if I can be of further assistance,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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    please immediately contact the sender by email and delete this message.




    On Wed, Apr 1, 2020 at 9:42 AM Raj Patel <raj@rajpatel.live> wrote:
     Thank you for the information.

      Many M.B.A. courses are half-semester long rather than an entire semester; I would be enrolled in 18 credits at one
      point in time, after final-exams in October, I will have a brand new course until December.

      To be quite frank, what are the chances of re-admissions while a pending lawsuit is happening against Notre Dame?
      What is the deadline to apply for re-admissions?


      Best,


https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-a%3Ammiai-r4459080018906495886%7Cmsg-f%3A1662784830294252…            1/9
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                                                                            Mail - Re:               Page 129 of 201 PageID #: 357
                                                                                       Letter for Re-admissions
      Raj Patel

      On Wed, Apr 1, 2020 at 6:41 AM Jake Baska <jbaska@nd.edu> wrote:
       Hi Raj,

         Thank you for your emails. To be frank, I think this is a larger discussion you should have directly with Law School
         leadership if you are readmitted. I do not have the ability to authorize academic plans. Based on my knowledge from
         conversations with leadership:
         - From your email from 10:56AM yesterday, no, you may not take 20 credits in a semester. 20% of 90 total credits is
         18 credits. 18 credits is the maximum you can take in a semester.
         a) I believe that credits from another graduate program (in the case of a dual degree program) count towards the 18
         credit maximum in a semester. You would not be able to pursue 12 law credits and 7 MBA credits in a semester
         without an exception from NDLS leadership.
         b) This would be a conversation post-readmission.

         Have a good morning and please let me know if you would like to continue pursuing your readmission application. If
         so, we would require a personal statement and medical clearance from the UCC/UHS (if your withdraw was due to
         medical reasons).

         Sincerely,
         Jacob Baska

         Jacob Baska
         Director of Admissions & Financial Aid
         Notre Dame Law School
         University of Notre Dame
         law.nd.edu/admissions/

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         Notre Dame, IN 46556

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         recipient, please immediately contact the sender by email and delete this message.




         On Wed, Apr 1, 2020 at 4:10 AM Raj Patel <raj@rajpatel.live> wrote:
          Hello Jake

            I have another question for you. The ABA requires 83 credit hour minimum, 64 credit hours which are to be
            completed in the law school. I have satisfied the 64 credit hour requirements because I have 68 credit hours
            completed. Can my graduation requirement be reduced from 90 credit hours to 83 credit hours? See 311(a).
            Interpretation 311-2 says that "family exigency" is an extraordinary circumstance.

            (a) Fall 2020 Semester - 12 law school hours + 7 business school credit hours (I can probably take a few the MBA
            credit hours before free-Fall semester).

            (b) My previous plan for Fall 2020 and Winter 2021 seems amazing to me. I will have 90 credit hours completed
            and I'd be able to take some classes pass/fail. Maybe the Dean can allow exception to the pass/fail rule and allow
            me to take 8 law school credit hours for pass/fail and allow me to transfer-in upto 5 MBA credit hours in Fall 2020.


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                                                                           Mail - Re:               Page 130 of 201 PageID #: 358
                                                                                      Letter for Re-admissions
            (c) If the Dean approves "Option a" above, then "option b" will be satisfied.

            I know this is a lot of information, but I have separated the questions amongst several e-mails which should allow
            for ease of communications.


            Best,


            Raj Patel


            On Tue, Mar 31, 2020, 10:23 AM Jake Baska <jbaska@nd.edu> wrote:
             Raj,

              To follow-up on my earlier message, I presented your request to NDLS leadership to be able to take your
              remaining 22 credit hours in one semester so that you may graduate as quickly as possible. They politely
              declined this request due to ABA Standard 311 (c): "A law school shall not permit a student to be enrolled at any
              time in coursework that exceeds 20 percent of the total credit hours required by that school for graduation."
              Given our requirement to take 90 credit hours in order to graduate, 20% of that total is 18 credit hours.

              Please advise if you would like to continue with your readmission application.

              Sincerely,
              Jacob Baska

              Jacob Baska
              Director of Admissions & Financial Aid
              Notre Dame Law School
              University of Notre Dame
              law.nd.edu/admissions/

              1329 Biolchini Hall
              Notre Dame, IN 46556

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              intended recipient, please immediately contact the sender by email and delete this message.




              On Tue, Mar 31, 2020 at 8:24 AM Jake Baska <jbaska@nd.edu> wrote:
               Raj,

                 Thank you for your email and the attached resume. I can confirm receipt.

                 I am awaiting advice on you being allowed to take the necessary 22 credits to graduate in one semester. I
                 understand that that may dictate whether you complete the rest of your readmission application. Please let our
                 office know if we can be of further assistance in the meantime.

                 Sincerely,
                 Jacob Baska

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                 Jacob Baska
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                 the intended recipient, please immediately contact the sender by email and delete this message.




                 On Tue, Mar 31, 2020 at 8:02 AM Raj Patel <raj@rajpatel.live> wrote:
                  Hello Jake,

                   Please see below for yet another updated resume for my application file.

                   Best,

                   Raj Patel

                   On Mon, Mar 30, 2020 at 3:04 PM Raj Patel <raj@rajpatel.live> wrote:
                    Hello Jake,

                      Thank you. In regards to #4, can this issue be specified more with the Office of the Dean of the Law
                      School? I'd like to go through my options for question #4 prior to re-applying.



                      Best,



                      Raj Patel


                      Sent from my Verizon, Samsung Galaxy smartphone
                      Get Outlook for Android


                      From: Jake Baska <jbaska@nd.edu>
                      Sent: Monday, March 30, 2020, 2:41 PM
                      To: Raj Patel
                      Subject: Re: Letter for Re-admissions

                      Hi Raj,

                      Thank you for your email.
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                      On the readmission application form you submitted on March 10, you indicated that you withdrew from
                      the Law School because of health reasons. If that is note accurate, I kindly ask that you resubmit a new
                      readmission application since the answer to the question of why/how you withdrew dictates the
                      documents we ask of you.

                      For reference, your options are:
                      1) Withdrawal for Health Reasons - For students with mental or physical health conditions that
                      render the
                      student unable to engage in coursework and other related duties for a period of at least 10 days.
                      2) Withdrawal Between Semesters - For students in good academic standing who determine prior to
                      the beginning of a semester that they wish to leave the Law School and the University
                      for reasons beyond those related to health.
                      3) Withdrawal During a Semester - For students in good academic standing who determine during a
                      semester that they wish to leave the Law School and the University for reasons
                      beyond those related to health.

                      Regarding your other questions and statements:
                      1) We require a personal statement from the student to outline what they have done since they left the law
                      school and their updated professional goals. This is a requirement of the readmission application.
                      2) Scholarship decisions will be made by the relevant committee after receipt of the proper application
                      materials.
                      3) This is duly noted.
                      4) I cannot speak for the Dean nor the Faculty, but the Hoynes Code dictates that students need 90 credits
                      in order to graduate and I do not believe it would be possible to take 32 credit hours during one semester
                      of law school.
                      You would have to gain admission to the MBA program in order to pursue the JD/MBA.
                      5) If you withdrew for health reasons, you will have to send updated medical forms and/or contact the
                      UHS or UCC to forward those documents to our office.

                      Thank you and please let our office know how we can be of further assistance,
                      Jacob Baska

                      Jacob Baska
                      Director of Admissions
                      & Financial Aid
                      Notre Dame Law School
                      University of Notre Dame
                      law.nd.edu/admissions/
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                      Biolchini Hall
                      Notre
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                      On Mon, Mar 30, 2020 at 2:27 PM Raj Patel <raj@rajpatel.live> wrote:
                       Hello Jake,

                        (1) I took a voluntary separation in good standing because of duress/stress/family necessity. I did not
                        "withdraw." Therefore, why would I need a new personal statement? I don't have changes in career
                        plans either.

                        (2) Will my scholarships be re-instated, separately from the result in #3 below? Can they increased to
                        effective full ride, as it was my third year before withdrawing because I was an assistant rector?

                        (3) I have a pending legal matter within the judiciary against Notre Dame Law School. I am hoping to
                        resolve this matter as soon as possible. The judicary has neither dismissed nor deemed my latest
                        complaint as being frivolous. The other material parties are President Trump, the United States, and
                        Emory University, Inc.

                        (4) I have 68 credit hours completed. May I work something out with the dean so I can graduate in one
                        semester? Or, enroll in the JD/MBA? They denied me admissions in the graduate business program.

                        (5) My supportive medical documents were sent in February 2018. I do not have new things to disclose.
                        But, I will send additional documents as needed.



                        Best,



                        Raj Patel
                        317-450-6651

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                        confidential information. Any unauthorized review, use, disclosure, or distribution is strictly prohibited. If you are not the
                        intended recipient, please immediately contact the sender by email and delete this message.

                        On Mon, Mar 30, 2020, 2:15 PM Jake Baska <jbaska@nd.edu> wrote:
                         Hi Raj,

                           Our records processors were in touch with me this morning regarding your updated resume and your
                           question about a decision timeline on your readmission application.

                           Please know that your readmissions application is incomplete so there is no timetable for your
                           readmission at the moment. Per my message below, we have only received your readmission
                           application form. We have not yet received your health documents, nor your personal statement.
                           Could you please advise one when we may expect those documents?

                           Thank you and I look forward to hearing back from you,
                           Jacob Baska

                           Jacob Baska
                           Director of Admissions
                           & Financial Aid
                           Notre Dame Law School
                           University of Notre Dame
                           law.nd.edu/admissions/


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                           On Sun, Mar 15, 2020 at 2:47 PM Jake Baska <jbaska@nd.edu> wrote:
                            Hi Raj,

                              Thank you for your application for readmission. I wanted to touch base with you regarding your
                              required documents. To ensure that we're on the same page, you can find the requirements I'm
                              about to mention on our readmission application here.

                              You indicated on your readmission application that you withdrew for health reasons. As such, we
                              require that you submit the following:
                              A) This application form, including an updated Character and Fitness report
                              B) A certification of readiness from the University Health Center and/or University
                              Counseling Center. You may find the UHC form at the following page:
                              https://uhs.nd.edu/about-us/readmission-to-notre-dame/.
                              You may find the UCC form at the following page: http://ucc.nd.edu/readmission/#lawschool.
                              C) A certification of readiness from the student's treating licensed health care professional
                              D) A personal statement of no more than 500 words outlining the reasons for their
                              withdrawal, what they have done since leaving the Law School, and their current
                              personal/professional
                              goals.

                              You have already submitted your application ("A").

                              Could you advise on if you have been in touch with either the UHC or UCC ("B"), and when we may
                              receive a certification of readiness from your personal physician ("C")?

                              Could you advise if you would like the attachment you sent us to serve as your personal statement
                              ("D")? Given that the document is two years old and doesn't directly address what you have done
                              since leaving the Law School, nor your current personal/professional goals, it may be best to
                              submit another document instead.

                              Thank you and please let me know if you have any questions.

                              Sincerely,
                              Jacob Baska
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                              Jacob Baska
                              Director of Admissions
                              & Financial Aid
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                              On Wed, Mar 11, 2020 at 7:31 AM Notre Dame Law School bulletin <bulletin@nd.edu> wrote:


                                Sincerely,

                                Notre Dame Law School
                                Office of Admissions
                                1329 Biolchini Hall
                                Notre Dame, IN 46556
                                574-631-6626
                                Bulletin@nd.edu
                                Law.nd.edu




                                ---------- Forwarded message ---------
                                From: Raj Patel <rajp2010@gmail.com>
                                Date: Tue, Mar 10, 2020 at 8:25 PM
                                Subject: Fwd: Letter for Re-admissions
                                To: <bulletin@nd.edu> <bulletin@nd.edu>




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                                                                        Mail - Re:               Page 136 of 201 PageID #: 364
                                                                                   Letter for Re-admissions




                                Raj Patel
                                rajp2010@gmail.com


                                ---------- Forwarded message ---------
                                From: Raj Patel <rajp2010@gmail.com>
                                Date: Mon, Apr 30, 2018 at 4:46 PM
                                Subject: Letter for Re-admissions
                                To: Peter Horvath <Peter.F.Horvath.50@nd.edu>
                                Cc: Anne Hamilton <Anne.C.Hamilton.4@nd.edu>



                                Hello Peter,

                                My case is dismissed. Attached you will find a letter for re-admissions. I hope that this document
                                can be destroyed because of its sensitivity. I feel like it is mutually beneficial if I re-enroll. If you
                                find it appropriate, professors Root, O'Hara, Pruitt, Fick, or Mayer might be able to help better
                                understand the document.

                                I am happy to schedule a recorded phone call upon your request. My phone number is 317-331-
                                0008.


                                Best,


                                Raj Patel
                                rajp2010@gmail.com
                                --
                                Raj Patel




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                                                                                       Letter for Re-admissions



                                                                                                                       Raj Patel <raj@rajpatel.live>



 Re: Letter for Re-admissions
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                            Mon, Mar 30, 2020 at 2:40 PM
 To: Raj Patel <raj@rajpatel.live>

    Hi Raj,

    Thank you for your email.

    On the readmission application form you submitted on March 10, you indicated that you withdrew from the Law School
    because of health reasons. If that is note accurate, I kindly ask that you resubmit a new readmission application since the
    answer to the question of why/how you withdrew dictates the documents we ask of you.

    For reference, your options are:
    1) Withdrawal for Health Reasons - For students with mental or physical health conditions that render the student
    unable to engage in coursework and other related duties for a period of at least 10 days.
    2) Withdrawal Between Semesters - For students in good academic standing who determine prior to the beginning
    of a semester that they wish to leave the Law School and the University for reasons beyond those related to health.
    3) Withdrawal During a Semester - For students in good academic standing who determine during a semester that
    they wish to leave the Law School and the University for reasons beyond those related to health.

    Regarding your other questions and statements:
    1) We require a personal statement from the student to outline what they have done since they left the law school and their
    updated professional goals. This is a requirement of the readmission application.
    2) Scholarship decisions will be made by the relevant committee after receipt of the proper application materials.
    3) This is duly noted.
    4) I cannot speak for the Dean nor the Faculty, but the Hoynes Code dictates that students need 90 credits in order to
    graduate and I do not believe it would be possible to take 32 credit hours during one semester of law school.
    You would have to gain admission to the MBA program in order to pursue the JD/MBA.
    5) If you withdrew for health reasons, you will have to send updated medical forms and/or contact the UHS or UCC to
    forward those documents to our office.

    Thank you and please let our office know how we can be of further assistance,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
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                                                                                      Letter for Re-admissions




    On Mon, Mar 30, 2020 at 2:27 PM Raj Patel <raj@rajpatel.live> wrote:
     Hello Jake,

      (1) I took a voluntary separation in good standing because of duress/stress/family necessity. I did not "withdraw."
      Therefore, why would I need a new personal statement? I don't have changes in career plans either.

      (2) Will my scholarships be re-instated, separately from the result in #3 below? Can they increased to effective full ride,
      as it was my third year before withdrawing because I was an assistant rector?

      (3) I have a pending legal matter within the judiciary against Notre Dame Law School. I am hoping to resolve this
      matter as soon as possible. The judicary has neither dismissed nor deemed my latest complaint as being frivolous. The
      other material parties are President Trump, the United States, and Emory University, Inc.

      (4) I have 68 credit hours completed. May I work something out with the dean so I can graduate in one semester? Or,
      enroll in the JD/MBA? They denied me admissions in the graduate business program.

      (5) My supportive medical documents were sent in February 2018. I do not have new things to disclose. But, I will send
      additional documents as needed.



      Best,



      Raj Patel
      317-450-6651

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      On Mon, Mar 30, 2020, 2:15 PM Jake Baska <jbaska@nd.edu> wrote:
       Hi Raj,

         Our records processors were in touch with me this morning regarding your updated resume and your question about
         a decision timeline on your readmission application.

         Please know that your readmissions application is incomplete so there is no timetable for your readmission at the
         moment. Per my message below, we have only received your readmission application form. We have not yet received
         your health documents, nor your personal statement. Could you please advise one when we may expect those
         documents?

         Thank you and I look forward to hearing back from you,
         Jacob Baska

         Jacob Baska
         Director of Admissions & Financial Aid
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         University of Notre Dame
         law.nd.edu/admissions/

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         Notre Dame, IN 46556

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         recipient, please immediately contact the sender by email and delete this message.




         On Sun, Mar 15, 2020 at 2:47 PM Jake Baska <jbaska@nd.edu> wrote:
          Hi Raj,

            Thank you for your application for readmission. I wanted to touch base with you regarding your required
            documents. To ensure that we're on the same page, you can find the requirements I'm about to mention on our
            readmission application here.

            You indicated on your readmission application that you withdrew for health reasons. As such, we require that you
            submit the following:
            A) This application form, including an updated Character and Fitness report
            B) A certification of readiness from the University Health Center and/or University Counseling Center. You
            may find the UHC form at the following page: https://uhs.nd.edu/about-us/readmission-to-notre-dame/. You
            may find the UCC form at the following page: http://ucc.nd.edu/readmission/#lawschool.
            C) A certification of readiness from the student's treating licensed health care professional
            D) A personal statement of no more than 500 words outlining the reasons for their withdrawal, what they
            have done since leaving the Law School, and their current personal/professional goals.

            You have already submitted your application ("A").

            Could you advise on if you have been in touch with either the UHC or UCC ("B"), and when we may receive a
            certification of readiness from your personal physician ("C")?

            Could you advise if you would like the attachment you sent us to serve as your personal statement ("D")? Given
            that the document is two years old and doesn't directly address what you have done since leaving the Law School,
            nor your current personal/professional goals, it may be best to submit another document instead.

            Thank you and please let me know if you have any questions.

            Sincerely,
            Jacob Baska

            Jacob Baska
            Director of Admissions & Financial Aid
            Notre Dame Law School
            University of Notre Dame
            law.nd.edu/admissions/

            1329 Biolchini Hall
            Notre Dame, IN 46556

            Tel: (574) 631-6626 | Fax: (574) 631-5474

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            intended recipient, please immediately contact the sender by email and delete this message.




            On Wed, Mar 11, 2020 at 7:31 AM Notre Dame Law School bulletin <bulletin@nd.edu> wrote:


              Sincerely,

              Notre Dame Law School
              Office of Admissions
              1329 Biolchini Hall
              Notre Dame, IN 46556
              574-631-6626
              Bulletin@nd.edu
              Law.nd.edu




              ---------- Forwarded message ---------
              From: Raj Patel <rajp2010@gmail.com>
              Date: Tue, Mar 10, 2020 at 8:25 PM
              Subject: Fwd: Letter for Re-admissions
              To: <bulletin@nd.edu> <bulletin@nd.edu>




              Raj Patel
              rajp2010@gmail.com


              ---------- Forwarded message ---------
              From: Raj Patel <rajp2010@gmail.com>
              Date: Mon, Apr 30, 2018 at 4:46 PM
              Subject: Letter for Re-admissions
              To: Peter Horvath <Peter.F.Horvath.50@nd.edu>
              Cc: Anne Hamilton <Anne.C.Hamilton.4@nd.edu>



              Hello Peter,

              My case is dismissed. Attached you will find a letter for re-admissions. I hope that this document can be
              destroyed because of its sensitivity. I feel like it is mutually beneficial if I re-enroll. If you find it appropriate,
              professors Root, O'Hara, Pruitt, Fick, or Mayer might be able to help better understand the document.

              I am happy to schedule a recorded phone call upon your request. My phone number is 317-331-0008.


              Best,


              Raj Patel
              rajp2010@gmail.com

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              Raj Patel




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                                                                                       Letter for Re-admissions



                                                                                                                       Raj Patel <raj@rajpatel.live>



 Re: Letter for Re-admissions
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                            Mon, Mar 30, 2020 at 2:15 PM
 To: Raj Patel <rajp2010@gmail.com>, raj@rajpatel.live

    Hi Raj,

    Our records processors were in touch with me this morning regarding your updated resume and your question about a
    decision timeline on your readmission application.

    Please know that your readmissions application is incomplete so there is no timetable for your readmission at the
    moment. Per my message below, we have only received your readmission application form. We have not yet received your
    health documents, nor your personal statement. Could you please advise one when we may expect those documents?

    Thank you and I look forward to hearing back from you,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
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https://mail.google.com/mail/u/0/?ik=f898b55b05&view=pt&search=all&permthid=thread-a%3Ammiai-r4459080018906495886%7Cmsg-f%3A1662613859800534…            1/3
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                                                                           Mail - Re:               Page 143 of 201 PageID #: 371
                                                                                      Letter for Re-admissions
      C) A certification of readiness from the student's treating licensed health care professional
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      current personal/professional goals, it may be best to submit another document instead.

      Thank you and please let me know if you have any questions.

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      Jacob Baska
      Director of Admissions & Financial Aid
      Notre Dame Law School
      University of Notre Dame
      law.nd.edu/admissions/

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         Notre Dame Law School
         Office of Admissions
         1329 Biolchini Hall
         Notre Dame, IN 46556
         574-631-6626
         Bulletin@nd.edu
         Law.nd.edu




         ---------- Forwarded message ---------
         From: Raj Patel <rajp2010@gmail.com>
         Date: Tue, Mar 10, 2020 at 8:25 PM

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                                                                                   Letter for Re-admissions
         Subject: Fwd: Letter for Re-admissions
         To: <bulletin@nd.edu> <bulletin@nd.edu>




         Raj Patel
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         Subject: Letter for Re-admissions
         To: Peter Horvath <Peter.F.Horvath.50@nd.edu>
         Cc: Anne Hamilton <Anne.C.Hamilton.4@nd.edu>



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         I am happy to schedule a recorded phone call upon your request. My phone number is 317-331-0008.


         Best,


         Raj Patel
         rajp2010@gmail.com
         --
         Raj Patel




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                                                                                       Letter for Re-admissions



                                                                                                                       Raj Patel <raj@rajpatel.live>



 Re: Letter for Re-admissions
 1 message

 Jake Baska <jbaska@nd.edu>                                                                                             Wed, Apr 1, 2020 at 6:40 AM
 To: Raj Patel <raj@rajpatel.live>

    Hi Raj,

    Thank you for your emails. To be frank, I think this is a larger discussion you should have directly with Law School
    leadership if you are readmitted. I do not have the ability to authorize academic plans. Based on my knowledge from
    conversations with leadership:
    - From your email from 10:56AM yesterday, no, you may not take 20 credits in a semester. 20% of 90 total credits is 18
    credits. 18 credits is the maximum you can take in a semester.
    a) I believe that credits from another graduate program (in the case of a dual degree program) count towards the 18 credit
    maximum in a semester. You would not be able to pursue 12 law credits and 7 MBA credits in a semester without an
    exception from NDLS leadership.
    b) This would be a conversation post-readmission.

    Have a good morning and please let me know if you would like to continue pursuing your readmission application. If so,
    we would require a personal statement and medical clearance from the UCC/UHS (if your withdraw was due to medical
    reasons).

    Sincerely,
    Jacob Baska

    Jacob Baska
    Director of Admissions & Financial Aid
    Notre Dame Law School
    University of Notre Dame
    law.nd.edu/admissions/

    1329 Biolchini Hall
    Notre Dame, IN 46556

    Tel: (574) 631-6626 | Fax: (574) 631-5474

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    On Wed, Apr 1, 2020 at 4:10 AM Raj Patel <raj@rajpatel.live> wrote:
     Hello Jake

      I have another question for you. The ABA requires 83 credit hour minimum, 64 credit hours which are to be completed
      in the law school. I have satisfied the 64 credit hour requirements because I have 68 credit hours completed. Can my


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      graduation requirement be reduced from 90 credit hours to 83 credit hours? See 311(a). Interpretation 311-2 says that
      "family exigency" is an extraordinary circumstance.

      (a) Fall 2020 Semester - 12 law school hours + 7 business school credit hours (I can probably take a few the MBA
      credit hours before free-Fall semester).

      (b) My previous plan for Fall 2020 and Winter 2021 seems amazing to me. I will have 90 credit hours completed and I'd
      be able to take some classes pass/fail. Maybe the Dean can allow exception to the pass/fail rule and allow me to take 8
      law school credit hours for pass/fail and allow me to transfer-in upto 5 MBA credit hours in Fall 2020.

      (c) If the Dean approves "Option a" above, then "option b" will be satisfied.

      I know this is a lot of information, but I have separated the questions amongst several e-mails which should allow for
      ease of communications.


      Best,


      Raj Patel


      On Tue, Mar 31, 2020, 10:23 AM Jake Baska <jbaska@nd.edu> wrote:
       Raj,

         To follow-up on my earlier message, I presented your request to NDLS leadership to be able to take your remaining
         22 credit hours in one semester so that you may graduate as quickly as possible. They politely declined this request
         due to ABA Standard 311 (c): "A law school shall not permit a student to be enrolled at any time in coursework that
         exceeds 20 percent of the total credit hours required by that school for graduation." Given our requirement to take 90
         credit hours in order to graduate, 20% of that total is 18 credit hours.

         Please advise if you would like to continue with your readmission application.

         Sincerely,
         Jacob Baska

         Jacob Baska
         Director of Admissions & Financial Aid
         Notre Dame Law School
         University of Notre Dame
         law.nd.edu/admissions/

         1329 Biolchini Hall
         Notre Dame, IN 46556

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         On Tue, Mar 31, 2020 at 8:24 AM Jake Baska <jbaska@nd.edu> wrote:

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                                                                                       Letter for Re-admissions
            Raj,

            Thank you for your email and the attached resume. I can confirm receipt.

            I am awaiting advice on you being allowed to take the necessary 22 credits to graduate in one semester. I
            understand that that may dictate whether you complete the rest of your readmission application. Please let our
            office know if we can be of further assistance in the meantime.

            Sincerely,
            Jacob Baska

            Jacob Baska
            Director of Admissions & Financial Aid
            Notre Dame Law School
            University of Notre Dame
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            On Tue, Mar 31, 2020 at 8:02 AM Raj Patel <raj@rajpatel.live> wrote:
             Hello Jake,

              Please see below for yet another updated resume for my application file.

              Best,

              Raj Patel

              On Mon, Mar 30, 2020 at 3:04 PM Raj Patel <raj@rajpatel.live> wrote:
               Hello Jake,

                   Thank you. In regards to #4, can this issue be specified more with the Office of the Dean of the Law School?
                   I'd like to go through my options for question #4 prior to re-applying.



                   Best,



                   Raj Patel


                   Sent from my Verizon, Samsung Galaxy smartphone
                   Get Outlook for Android

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                                                                                   Letter for Re-admissions




                 From: Jake Baska <jbaska@nd.edu>
                 Sent: Monday, March 30, 2020, 2:41 PM
                 To: Raj Patel
                 Subject: Re: Letter for Re-admissions

                 Hi Raj,

                 Thank you for your email.

                 On the readmission application form you submitted on March 10, you indicated that you withdrew from the
                 Law School because of health reasons. If that is note accurate, I kindly ask that you resubmit a new
                 readmission application since the answer to the question of why/how you withdrew dictates the documents we
                 ask of you.

                 For reference, your options are:
                 1) Withdrawal for Health Reasons - For students with mental or physical health conditions that render
                 the
                 student unable to engage in coursework and other related duties for a period of at least 10 days.
                 2) Withdrawal Between Semesters - For students in good academic standing who determine prior to the
                 beginning of a semester that they wish to leave the Law School and the University
                 for reasons beyond those related to health.
                 3) Withdrawal During a Semester - For students in good academic standing who determine during a
                 semester that they wish to leave the Law School and the University for reasons
                 beyond those related to health.

                 Regarding your other questions and statements:
                 1) We require a personal statement from the student to outline what they have done since they left the law
                 school and their updated professional goals. This is a requirement of the readmission application.
                 2) Scholarship decisions will be made by the relevant committee after receipt of the proper application
                 materials.
                 3) This is duly noted.
                 4) I cannot speak for the Dean nor the Faculty, but the Hoynes Code dictates that students need 90 credits in
                 order to graduate and I do not believe it would be possible to take 32 credit hours during one semester of law
                 school.
                 You would have to gain admission to the MBA program in order to pursue the JD/MBA.
                 5) If you withdrew for health reasons, you will have to send updated medical forms and/or contact the UHS or
                 UCC to forward those documents to our office.

                 Thank you and please let our office know how we can be of further assistance,
                 Jacob Baska

                 Jacob Baska
                 Director of Admissions
                 & Financial Aid
                 Notre Dame Law School
                 University of Notre Dame
                 law.nd.edu/admissions/
                 1329
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                 On Mon, Mar 30, 2020 at 2:27 PM Raj Patel <raj@rajpatel.live> wrote:
                  Hello Jake,

                   (1) I took a voluntary separation in good standing because of duress/stress/family necessity. I did not
                   "withdraw." Therefore, why would I need a new personal statement? I don't have changes in career plans
                   either.

                   (2) Will my scholarships be re-instated, separately from the result in #3 below? Can they increased to
                   effective full ride, as it was my third year before withdrawing because I was an assistant rector?

                   (3) I have a pending legal matter within the judiciary against Notre Dame Law School. I am hoping to resolve
                   this matter as soon as possible. The judicary has neither dismissed nor deemed my latest complaint as
                   being frivolous. The other material parties are President Trump, the United States, and Emory University,
                   Inc.

                   (4) I have 68 credit hours completed. May I work something out with the dean so I can graduate in one
                   semester? Or, enroll in the JD/MBA? They denied me admissions in the graduate business program.

                   (5) My supportive medical documents were sent in February 2018. I do not have new things to disclose. But,
                   I will send additional documents as needed.



                   Best,



                   Raj Patel
                   317-450-6651

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                      Please know that your readmissions application is incomplete so there is no timetable for your
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                                                                           Mail - Re:               Page 150 of 201 PageID #: 378
                                                                                      Letter for Re-admissions


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                      University of Notre Dame
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                      Notre
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                                                                          Mail - Re:               Page 151 of 201 PageID #: 379
                                                                                     Letter for Re-admissions
                        Could you advise if you would like the attachment you sent us to serve as your personal statement
                        ("D")? Given that the document is two years old and doesn't directly address what you have done since
                        leaving the Law School, nor your current personal/professional goals, it may be best to submit another
                        document instead.

                        Thank you and please let me know if you have any questions.

                        Sincerely,
                        Jacob Baska

                        Jacob Baska
                        Director of Admissions
                        & Financial Aid
                        Notre Dame Law School
                        University of Notre Dame
                        law.nd.edu/admissions/
                        1329
                        Biolchini Hall
                        Notre
                        Dame, IN 46556
                        Tel:
                        (574) 631-6626
                        | Fax: (574)
                        631-5474

                        Connect with NDLS Admissions
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                        intended recipient,
                        please immediately contact the sender by email and delete this message.




                        On Wed, Mar 11, 2020 at 7:31 AM Notre Dame Law School bulletin <bulletin@nd.edu> wrote:


                           Sincerely,

                           Notre Dame Law School
                           Office of Admissions
                           1329 Biolchini Hall
                           Notre Dame, IN 46556
                           574-631-6626
                           Bulletin@nd.edu
                           Law.nd.edu




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                                                                        Mail - Re:               Page 152 of 201 PageID #: 380
                                                                                   Letter for Re-admissions
                           ---------- Forwarded message ---------
                           From: Raj Patel <rajp2010@gmail.com>
                           Date: Tue, Mar 10, 2020 at 8:25 PM
                           Subject: Fwd: Letter for Re-admissions
                           To: <bulletin@nd.edu> <bulletin@nd.edu>




                           Raj Patel
                           rajp2010@gmail.com


                           ---------- Forwarded message ---------
                           From: Raj Patel <rajp2010@gmail.com>
                           Date: Mon, Apr 30, 2018 at 4:46 PM
                           Subject: Letter for Re-admissions
                           To: Peter Horvath <Peter.F.Horvath.50@nd.edu>
                           Cc: Anne Hamilton <Anne.C.Hamilton.4@nd.edu>



                           Hello Peter,

                           My case is dismissed. Attached you will find a letter for re-admissions. I hope that this document can
                           be destroyed because of its sensitivity. I feel like it is mutually beneficial if I re-enroll. If you find it
                           appropriate, professors Root, O'Hara, Pruitt, Fick, or Mayer might be able to help better understand
                           the document.

                           I am happy to schedule a recorded phone call upon your request. My phone number is 317-331-0008.


                           Best,


                           Raj Patel
                           rajp2010@gmail.com
                           --
                           Raj Patel




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    Notre Dame Law School
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                               THE
                     HOYNES
                      CODE
                 A COMPILATION OF FACULTY RESOLUTIONS
                    AND ADMINISTRATIVE REGULATIONS
                   GOVERNING NOTRE DAME LAW SCHOOL




                         REVISED NOVEMBER 16, 2016




                             NELL JESSUP NEWTON
                 JOSEPH A. MATSON DEAN AND PROFESSOR OF LAW


                          NOTRE DAME LAW SCHOOL
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   ARTICLE 1. INTRODUCTION

      1.1. PURPOSE. This code governs legal education at the University of Notre Dame in all
           programs and in all locations. Requirements for the LL.M. and J.S.D. degree are
           included in the appendices.

      1.2. AMENDMENTS. The code will be amended periodically by the dean to reflect actions
           of the body having authority over the particular subject matter.

      1.3. EXCEPTIONS AND DELEGATION. Exceptions to the code may be granted by the
           body having authority to amend the section at issue. Any matter requiring action by the
           dean may be delegated by the dean to an assistant or associate dean as appropriate. The
           general authority of the dean to grant exceptions is encompassed in the dean’s
           responsibility for the administration, well-being and development of the Law School, its
           faculty, courses of study and other activities.

      1.4. COPIES. The Law School’s web site shall have a publicly accessible link to the text of
           the current revision of the code.

      1.5. CITATION. The Hoynes Code is named in honor of Colonel William James Hoynes,
           first dean of the Notre Dame Law School. It is referred to here as “the code,” and may be
           cited as “H.C.”

      1.6. EDITION. The code as originally compiled was as of August 1, 1971. This compilation
           is as of the date indicated on the cover.

   ARTICLE 2. ADMINISTRATION

      2.1. THE NOTRE DAME LAW SCHOOL HONOR CODE. The Honor Code was adopted
           by the students and faculty. It is included in Appendix A.

      2.2. STUDENT DISCIPLINE. The Law School faculty reserves its right to assert jurisdiction
           in the first instance in disciplinary cases involving law students.

      2.3. STUDENT RECORDS. The records of students at the Law School, including grades, are
           confidential and are not open to anyone except the student and the faculty and staff for
           purposes consistent with the Family Educational Rights and Privacy Act (FERPA).

      2.4. LAW SCHOOL CALENDAR. The Law School calendar shall be fixed by the Law
           School administration with the general guideline of the faculty that it conform to the
           University calendar as nearly as can be reasonably done to accommodate no fewer than
           70 class days per semester.

                                                  1
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      2.5. STUDENT COMPLAINTS RELATING TO PROGRAM OF LEGAL EDUCATION.

          2.5.1. A student who wishes to bring to the attention of the Law School a significant
               problem that directly implicates the school’s program of legal education and its
               compliance with the A.B.A. Standards should file a written complaint with the dean.
               The A.B.A. Standards may be found at
               http://www.americanbar.org/groups/legal_education/resources/standards.html The
               written complaint must include a sufficient description of the problem to permit the
               dean to investigate the matter, the specific A.B.A. Standard at issue, and the
               student’s name, mailing address, email address, and phone number.

          2.5.2. Absent unusual circumstances, within twenty-one days after receiving the
               complaint described in section 2.5.1 the dean shall advise the student in writing of
               the resolution of the complaint. The resolution communicated by the dean shall be
               final.

          2.5.3. The dean shall maintain a record of complaints described in section 2.5.1,
               including the resolution of any such complaints, for eight years from the date of
               final resolution of the complaint.

          2.5.4. This section 2.5 shall not apply to student complaints that are covered either by
               the Honor Code or by University of Notre Dame complaint procedures, including
               but not limited to complaints relating to discriminatory harassment or sexual
               harassment. Information regarding the filing of complaints of harassment may be
               found at http://equity.nd.edu/

      2.6. STUDENT REQUESTS FOR ACCOMMODATIONS. The Law School adheres to
           University policies and procedures regarding students with disabilities. Students seeking
           academic or other accommodations due to a disability must register with the University
           Office of Disability Services. The University ODS will evaluate and make all
           determinations regarding student disabilities and reasonable accommodations and the
           Law School will implement those accommodations in support of law students.
           Information regarding the academic accommodation process for the Law School may be
           found at http://disabilityservices.nd.edu/

   ARTICLE 3. [Reserved. Details regarding faculty governance are set forth in the Faculty
     Governance Code.]

   ARTICLE 4. REQUIREMENTS FOR THE J.D. DEGREE

      4.1. OVERVIEW. To earn a J.D. degree, students must:

          4.1.1. Successfully complete a minimum of 90 credit hours, at least 70 of which must be
                                                   2
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               earned in courses that require attendance at regularly scheduled classroom sessions
               or direct faculty instruction. See also section 4.2.

         4.1.2. Successfully complete all the requirements listed in section 4.3.

         4.1.3. Engage in full-time law study for six semesters in residence, as described in
              section 4.5.

         4.1.4. Achieve a minimum cumulative GPA of 2.000. See also section 4.6.

         4.1.5. Complete the course of study for the degree no earlier than 24 months and no later
              than 84 months after the student has commenced law study at the Law School or at
              any law school from which the Law School has accepted transfer credit. The dean
              may waive the 84-month requirement for extraordinary circumstances.

      4.2. CREDIT HOURS. A “credit hour” is an amount of work that reasonably approximates
           not less than fifty minutes of classroom or direct faculty instruction and two hours of
           out-of-class student work per week for fifteen weeks (including one week for exams), or
           at least an equivalent amount of work for activities such as simulation courses, field
           placements and externships, clinical, co-curricular, directed readings, seminars and other
           academic work.

      4.3. REQUIREMENTS

         4.3.1. The following courses are required in the first year:

      Civil Procedure (4 credit hours)
      Constitutional Law (4 credit hours)
      Contracts (4 credit hours)
      Criminal Law (4 credit hours)
      Legal Research (1 credit hour)
      Legal Writing (3 credit hours)
      Property (4 credit hours)
      Torts (4 credit hours)

      In addition, students must take one three credit hour elective course during the second
      semester of the first year. The dean, after consultation with faculty teaching electives, shall
      publish a list of electives from which first-year students may choose. A student’s grade in the
      first-year elective course shall not count toward eligibility for journal membership.

         4.3.2. In addition to first‑year courses, students must successfully complete the courses
              listed below prior to graduation:

                                                   3
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      One or more courses totaling at least three hours that provide substantial instruction in
      professional responsibility, including legal ethics
      Jurisprudence (3 credit hours)
      An upper level experiential course
      Beginning with students who become first-year students during the 2016-17 academic year,
      one or more experiential courses totaling at least six credit hours. Experiential courses
      include simulation courses, law clinics, and field placements offered by the Law School.
      Upper-Level Writing Requirement (see also Section 4.3.3). Students must complete this
      requirement before enrolling in their final semester.

      Before the start of registration for any semester, the registrar shall publish a list that identifies
      all of the courses that will be offered during that semester that will satisfy the professional
      responsibility requirements and the upper-level experiential course requirements.

          4.3.3. In order to satisfy the Upper-Level Writing Requirement (see Section 4.3.2), a
               student must complete a substantial research paper that is begun after the first year.
               Ordinarily a paper of that sort will contain at least 10,000 words (including text and
               footnotes), but in exceptional circumstances a shorter paper could suffice. This
               Requirement is designed to increase the student’s proficiency in legal research,
               analytic reasoning, and writing in a single field of concentration. Accordingly, the
               research paper should be well-researched with all sources cited accurately and
               properly (in “Blue Book” or similar form), and should make appropriate and critical
               use of primary and secondary sources. (Briefs, including briefs produced in a course
               of a student’s participation in Moot Court, do not satisfy this Requirement.) The
               paper must be completed for curricular credit, co-curricular credit, or in the context
               of a student’s involvement with the Notre Dame Law Review, the Journal of
               Legislation, the Notre Dame Journal of Law, Ethics & Public Policy, or the Notre
               Dame Journal of International & Comparative Law; on a graded or ungraded basis;
               in conjunction with a course, or as a Directed Reading. A student must submit the
               paper to the faculty member who will determine whether the paper satisfies the
               Requirement by the end of the first semester of the third year. The dean may extend
               this deadline until the end of the fourth full week of the second semester of the third
               year for good cause. The dean may also extend this deadline beyond the fourth full
               week of the second semester of the third year, but only for extraordinarily
               compelling reasons. In the semester in which a student writes the paper, a student
               must submit to the Registrar a form signed by a faculty member, who is to advise
               the student in preparing the paper and to determine whether the paper satisfies this
               Requirement. A student must submit the form no later than the end of the add-drop
               period. Only a member of the teaching-and-research faculty, the clinical faculty, or
               the legal-writing faculty may determine whether the paper satisfies this
               Requirement, unless the dean approves a student’s request to permit another faculty
               member to advise the student and determine whether the paper satisfies this
               Requirement.
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      4.4. ELECTIVE COURSES

         4.4.1. Electives Defined. All second- and third-year courses not listed in section 4.3.2
              are elective.

         4.4.2. Academic Credit. Academic credit is awarded for both curricular and
              co-curricular coursework.

            4.4.2.1. Curricular Academic Credit will be granted to elective courses based on
                   the following guidelines: (1) significant classroom component (normally
                   consisting of 14 classroom hours per hour of academic credit) or significant
                   individual sessions, with substantive content; and (2) student evaluation, by an
                   individual appointed to the faculty, based on an examination, a substantive
                   research or analysis paper(s), or student performance.

            4.4.2.2. Co-curricular Academic Credit on a “satisfactory/unsatisfactory” basis
                   may be awarded to students participating in co-curricular activities that comply
                   with plans approved by the faculty prior to the commencement of the activity
                   for which credit is awarded. In determining whether to approve plans pursuant
                   to which credit will be awarded for co-curricular activities, the faculty shall
                   consider: (1) the educational value of the activity; (2) the extent and type of
                   supervision and the director of the activity; (3) the extent and manner of
                   periodic evaluation and review of the performance of students participating in
                   the activity; and (4) the amount of time required to earn the credit. Each
                   student’s educational achievement in such a course shall be evaluated by a
                   faculty member.

                4.4.2.2.1.      No more than six co-curricular credit hours may be applied toward
                         the minimum credit hours required for graduation as provided in section
                         4.1.1, and of those six credit hours no more than four may be from work
                         on a journal.

                4.4.2.2.2.      No more than two cocurricular credit hours per semester may be
                         applied to the minimum semester-hour requirement as provided in section
                         4.5.

            4.4.2.3. Determination of whether an elective course satisfies the requirements for
                   curricular or co-curricular academic credit will be made by the faculty.

         4.4.3. Directed-Reading Programs. A student may not enroll in more than one
              directed-reading program per semester. Only a member of the regular faculty may
              teach a directed-reading program, unless the dean approves a student’s request to
                                                  5
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             permit another faculty member to teach a directed-reading program.
             Directed-reading programs in the J.D. program may be one or two credit hours at
             the discretion of the member of the faculty offering the program, with one credit
             ordinarily awarded for each 5,000 words of a student’s paper reflecting substantial
             and original research. No more than six curricular credit hours from
             directed-reading programs may be applied toward the minimum credit hours
             required for graduation as provided in section 4.1.1. The limits contained in the first,
             third, and fourth sentences of this section may be waived by the dean, but only for
             extraordinarily compelling reasons.

         4.4.4. Graduate School, Mendoza, and Keough Courses

            4.4.4.1. A student in the Law School may receive curricular academic credit for
                   graduate-level courses taken in the Graduate School, the Mendoza College of
                   Business (“Mendoza”), or the Keough School of Global Affairs (“Keough”) as
                   follows:

               4.4.4.1.1.     Up to three hours of curricular academic credit may count toward
                        the minimum hour requirements in any semester after the first year.

               4.4.4.1.2.     Up to nine hours of curricular academic credit may be credited
                        toward the J.D. degree.

               4.4.4.1.3.     The determination of what constitutes a graduate- level course for
                        purposes of this rule rests within the dean’s discretion.

               4.4.4.1.4.       Students enrolled in joint degree programs described in section 4.7
                        are not subject to the limits imposed by section 4.4.4.1.1 and section
                        4.4.4.1.2 with respect to their programs but are instead subject to the
                        limits imposed by those programs.

               4.4.4.1.5.       For students enrolled in a second degree program at the University
                        that is not part of a joint degree program described in section 4.7, the
                        dean may waive the limits imposed by section 4.4.4.1.1 and section
                        4.4.4.1.2 for good cause.

               4.4.4.1.6.      For students not covered by section 4.4.4.1.4 or section 4.4.4.1.5,
                        the dean may waive the limits imposed by section 4.4.4.1.1 and section
                        4.4.4.1.2, but only for extraordinarily compelling reasons.

            4.4.4.2. A full-time student enrolled in the Law School shall pay no additional
                   tuition for Graduate School and Mendoza courses, except that a student may be
                   required to pay additional tuition if the student is enrolled in a second degree
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                   program, whether or not that program is part of a joint degree program
                   described in section 4.7.

            4.4.4.3. In accord with University, Graduate School, and Mendoza regulations, a
                   law student seeking a degree in the Graduate School or Mendoza (that is, a
                   degree other than the J.D.) must apply for admission to the Graduate School or
                   Mendoza, as applicable, and be accepted by the appropriate department.

            4.4.4.4. A student in the Law School may not enroll for credit in any
                   undergraduate course unless the dean approves such enrollment, which
                   approval shall only be granted if the undergraduate course at issue is
                   law-related and the workload for the participating law student has been
                   enhanced to reflect a graduate course level of work.

         4.4.5. Externship Courses. The faculty may approve for curricular academic credit an
              externship course fulfilling the following conditions:

            4.4.5.1. Content and supervision must comply with the student practice rules of the
                   jurisdiction in which the work is done.

            4.4.5.2. A member of the regular faculty must accept full responsibility for the
                   course.

            4.4.5.3.   The course must satisfy the applicable A.B.A. Standard(s).

            4.4.5.4. No student may earn more than ten hours of curricular academic credit for
                   the field placement components of externship courses. Such credit is without
                   prejudice to a student’s ability to earn cocurricular credit under the provisions
                   of the Hoynes Code.

            4.4.5.5. A student may not receive compensation for work performed as part of an
                   externship course.

            4.4.5.6. A student must successfully complete at least one full academic year of
                   study prior to participation in an externship course.

            4.4.5.7. A student may not enroll in more than one externship course during a
                   single semester. A student may also not enroll in a clinical course and an
                   externship course during a single semester or in two clinical courses during a
                   single semester. These prohibitions do not apply to Summer Externships
                   described in section 4.4.6 to the extent a student is considered enrolled in such
                   an externship during the semester immediately following the summer during
                   which such externship actually occurs. These prohibitions may be waived only
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                    with both the permission of the dean, which permission may be granted only
                    for extraordinarily compelling reasons, and the permission of the instructors
                    for the two courses at issue.

         4.4.6. Summer Externships. One unit of co-curricular academic credit may be awarded
              for student volunteer legal work of at least four weeks and 160 hours or more of
              work undertaken during the summer months in a court, governmental agency,
              nonprofit organization, public law office or in-house corporate counsel office. The
              work must be conducted under faculty supervision, conform to the approved
              standards of the faculty, and have the advance approval of the dean. This one unit of
              co-curricular credit may count toward graduation requirements as one of the six
              maximum allowable co-curricular credits, but cannot count toward the minimum
              hours required during any semester for residency. The credit will be reflected on a
              student’s transcript.

         4.4.7. Distance Education. The faculty may approve for curricular academic credit a
              course in which students are separated from the faculty member or each other for
              more than one-third of the instruction and the instruction involves the use of
              technology to support regular and substantive interaction among students and
              between students and the faculty member (a “Distance Education” course).

             4.4.7.1. A student may not earn more than 15 credit hours toward the J.D. degree
                    in Distance Education courses.

             4.4.7.2. A student must successfully complete at least one full academic year of
                    study including 28 credit hours toward the J.D. degree prior to participation in
                    a Distance Education course.

      4.5. RESIDENCY. Each student shall be required to take at least 14 credit hours in each
           semester in order to qualify for status as a full-time student, except as otherwise
           provided in section 4.5.1. No student will be permitted to enroll in more than 18 credit
           hours in a single semester. No student will be permitted to enroll in more than 16 credit
           hours at a Notre Dame Law School site in the United States other than the Notre Dame,
           Indiana campus.

         4.5.1. Credit Hours.

             4.5.1.1. Students who earn credits in the Notre Dame London Summer Program
                    may, in subsequent semesters, reduce their total semester hours by the number
                    of London summer credits earned, provided that students take at least 12 credit
                    hours each semester. The dean may permit other students to reduce their credit
                    hours in a given semester below 14 credit hours, but only for good cause and
                    under any conditions not below 12 credit hours.
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            4.5.1.2. Students who are permitted to take fewer than 14 credit hours in a
                   semester pursuant to section 4.5.1.1 will qualify for status as full-time students
                   as long as they take at least 12 credit hours in a semester.

         4.5.2. Semesters

            4.5.2.1. For students who complete their first year of studies at Notre Dame Law
                   School, four semesters in residence must be completed at the campus in South
                   Bend, Indiana. Two semesters in residence may be completed in the London
                   Law Program in London, England, in an exchange program with a foreign law
                   school with which Notre Dame Law School has established an exchange
                   program, or at other sites which are at the relevant time operated by Notre
                   Dame Law School for the purpose of facilitating externship semesters outside
                   of South Bend, Indiana.

            4.5.2.2. Students who transfer from another law school must complete three
                   semesters in residence at the Notre Dame Law School campus in South Bend,
                   Indiana. One semester in residence may be completed in the London Law
                   Program in London, England, in an exchange program with a foreign law
                   school with which Notre Dame Law School has established an exchange
                   program, or at other sites which are at the relevant time operated by Notre
                   Dame Law School for the purpose of facilitating externship semesters outside
                   of South Bend, Indiana.

            4.5.2.3. The dean may waive the Notre Dame residency requirement in sections
                   4.5.2.1 and 4.5.2.2, but only for extraordinarily compelling reasons.

            4.5.2.4. No more than 30 credit hours may be applied towards the J.D. degree for
                   studies or activities outside the United States, including the London Program
                   and international exchange programs.

      4.6. GRADES REQUIRED FOR GRADUATION

         4.6.1. All students must achieve a minimum cumulative GPA of 2.000.

         4.6.2. The dean may waive the requirement of a minimum cumulative GPA of 2.000 if:

            4.6.2.1.   the student has achieved six semesters of good standing; or

            4.6.2.2. the student has achieved a minimum semester GPA of 2.000 in each of
                   five semesters.

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         4.6.3. A student who fails to meet these eligibility criteria may petition the dean to
              continue for one additional semester in order to meet the minimum standards for
              graduation. Approval will be at the dean’s discretion.

      4.7. JOINT DEGREE PROGRAMS

         4.7.1. A student in the four-year joint J.D./M.B.A. Program will be required to complete
              successfully 75 credit hours of Law School courses and 48 credit hours of M.B.A.
              courses to receive the respective degrees. The Law School will accept 15 credit
              hours of M.B.A. courses toward completion of the J.D. degree. Concurrently, the
              Mendoza College of Business will accept 16 credit hours of law courses toward the
              M.B.A. degree requirements.

         4.7.2. A student in the three-year joint J.D./M.B.A. Program will be required to
              complete successfully 75 credit hours of Law School courses and 35 credit hours of
              M.B.A. courses to receive the respective degrees. The Law School will accept 15
              credit hours of M.B.A. courses toward completion of the J.D. degree. Concurrently,
              the Mendoza College of Business will accept 11 credit hours of law courses toward
              the M.B.A. degree requirements.

         4.7.3. A student in the joint J.D./M.A. in English Program will be required to
              successfully complete 81 hours of Law School courses and 21 hours of English
              courses to receive the respective degrees. The Law School will accept 9 credit hours
              of graduate-level English courses toward completion of the J.D. degree.
              Concurrently, the Graduate School and the Department of English will accept 9
              credit hours of law courses toward the M.A. in English degree requirements.

         4.7.4. A student in the joint J.D./M. Engineering Program will be required to
              successfully complete 75 hours of Law School courses and 24 hours of Engineering
              courses to receive the respective degrees. The Law School will accept 15 credit
              hours of graduate-level Engineering courses toward completion of the J.D. degree.
              Concurrently, the Graduate School and the applicable engineering department will
              accept six credit hours of law courses toward the M.Engineering degree
              requirements.

         4.7.5. A student in the joint J.D./M.G.A. Program will be required to successfully
              complete 75 credit hours of Law School courses and 39 credit hours of M.G.A.
              courses to receive the respective degrees. The Law School will accept 15 credit
              hours of M.G.A. courses toward completion of the J.D. degree. Concurrently, the
              Keough School of Global Affairs will accept 9 credit hours of law courses toward
              the M.G.A. degree requirements.

         4.7.6. Each student enrolled in a joint degree program shall consult with the dean in
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               planning a curriculum.

      4.8. NON-DEGREE SEEKING STUDENTS. While regular J.D. degree-seeking students are
           required to comply with the other provisions of this article, non-degree seeking students
           may be authorized to enroll for selected courses with the permission of the dean without
           complying with the other provisions of this article. Non-degree seeking students will
           qualify as full-time students if they take at least nine credit hours in a semester, counting
           both law school courses and other courses at the University, and will qualify as part-time
           students if they take at least six and no more than eight credit hours in a semester,
           counting both law school courses and other courses at the University. Non-degree
           seeking students who later successfully apply to the J.D. program may be permitted to
           apply law school course credits earned while a non-degree seeking student toward to the
           J.D. degree with the permission of the dean.

   ARTICLE 5. ENROLLMENT AND WITHDRAWAL

      5.1. ENROLLMENT

         5.1.1. All students must enroll on the appointed day each semester. A fee will be
              imposed for late enrollment.

         5.1.2. A student’s failure to enroll on time may result in the loss of the student’s seat in
              a closed class to a student who has enrolled on time.

         5.1.3. A student who fails to enroll before the end of the first week of classes is
              considered not to be a Notre Dame law student. If such person desires to continue at
              the school, an application for readmission in accordance with Article VIII is
              required.

      5.2. DROP-ADD. Any course may be dropped or added routinely during the first five class
           days of the semester, with the exception of any experiential course or course that begins
           before the start of regular classes in the fall and spring semesters. The policy for
           dropping such courses will be established by the instructor and communicated to
           students at or near the time of registration.

      5.3. LATE COURSE WITHDRAWALS AND ADDITIONS.

         5.3.1. After the first five days of a semester, but during the first five full weeks of the
              semester, a student may withdraw from a class without penalty only with the
              permission of the dean, which permission may be granted for good cause shown,
              provided that either the student’s course load does not fall below 14 credit hours or
              the minimum-hour requirement is relaxed by the dean for good cause shown, or
              below 12 credit hours for students covered by section 4.5.1.1 who have earned
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               credits in the Notre Dame London Summer Program.

         5.3.2. After the first five full weeks of the semester, a student may withdraw from a
              course only with both the permission of the dean, which permission may be granted
              only for extraordinarily compelling circumstances, and the permission of the
              instructor for the course.

         5.3.3. Upon withdrawal with the permission of the dean under section 5.3.1 or with the
              permission of the dean and the instructor under section 5.3.2, the student will
              receive a grade of “W” (withdrawal) for the course unless there are extraordinarily
              compelling reasons for permitting the withdrawal without such a grade.

         5.3.4. After the first five days of a semester, discontinuance of a course without the
              dean’s permission and, if required by section 5.3.2, the permission of the instructor
              will result in the grade of “F.”

         5.3.5. After the first five days of a semester, but during the first two full weeks of the
              semester, a student may add a course only with the permission of the dean, which
              permission may be granted for good cause shown.

         5.3.6. After the first two full weeks of the semester, a student may add a course only
              with both the permission of the dean, which permission may be granted only for
              extraordinarily compelling reasons, and the permission of the instructor for the
              course.

   ARTICLE 6. ATTENDANCE AND EXAMINATIONS

      6.1. ATTENDANCE REQUIREMENTS. To be eligible to receive course credit, a student
           must attend classes and any required activities regularly and punctually. The student’s
           performance must be satisfactory.

      6.2. ATTENDANCE POLICY

         6.2.1. Each professor teaching a course is required to adopt a policy concerning
              attendance and other course activities. Each professor shall communicate this policy
              to the class reasonably early in the semester in a manner calculated to inform the
              students of its provisions. Oral announcement at a regular class is sufficient notice.
              No penalty shall be assessed under this rule for events prior to communication of the
              policy.

         6.2.2. The policy may provide for the raising or lowering of grades, or both, for
              attendance or performance in class or at required activities. It may provide for
              exclusion from further participation in the course or from the examination, and for
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               failure in the course. Professors may excuse absences from their class or required
               activities.

         6.2.3. The attendance policy applies to required Trial Advocacy exercises for students
              enrolled in the Trial Advocacy spectrum of courses; to required events and
              commitments in the clinical courses of the Law School for students enrolled therein;
              to the required Moot Court exercises for those enrolled in the Moot Court courses;
              and to cocurricular courses undertaken for academic credit, even though these
              activities may occur at a time outside the regularly scheduled classroom period.

         6.2.4. An absence certified in advance by the faculty advisor of a clinical course as
              necessary to the proper operation of the program will not be treated as an absence
              under the attendance policy.

      6.3. EXAMINATIONS

         6.3.1. When a written examination is given in a Law School course, law students’
              examinations should be administered and graded anonymously. Numbers will be
              assigned to individual law students by the Law School administration. No indication
              of a law student’s identity by name or class status shall be on the examination paper.

         6.3.2. The Law School Registrar is responsible for supervising the assignment of exam
              numbers. In London, the key will be kept by the London Director, who will
              supervise the number assignment system. Numbers may be assigned during the
              semester to accommodate special examination schedules. The Law School Registrar
              and the London Director are responsible for the security of the numbers to ensure
              strict anonymity until the grades are deposited officially with the University
              Registrar.

         6.3.3. No examinations are to be scheduled on Sundays.

         6.3.4. No examination or test may be given during the final five class days of the class
              portion of each semester, nor may examinations or tests be given during the study
              period following the end of the semester. This provision shall not apply to papers
              assigned at least two weeks prior to the end of the semester; neither shall it apply to
              take-home examinations if the examination is distributed during the study period or
              during the officially scheduled examination time.

      6.4. REQUIRED PAPERS. It is the declared policy of the faculty that in courses requiring
           submission of a paper, the paper must be specially prepared by the student for that
           course. Incorporation of any material prepared by the student earlier shall be approved in
           advance by the professor.

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   ARTICLE 7. GRADING, ACADEMIC GOOD STANDING, HONORS, PROBATION, AND
     DISMISSAL

      7.1. GRADING. Grading in the Law School is governed by the Hoynes Code.

         7.1.1. Grades and Numerical Values. Grades are not calculated on a numerical basis, but
              are assigned values for calculating grade-point average, according to the following
              grading system, effective fall semester 1987.

                      Letter Grade        Value              Letter Grade       Value
                 A                     4.000               C+                2.333
                 A-                    3.667               C                 2.000
                 B+                    3.333               C-                1.667
                 B                     3.000               D                 1.000
                 B-                    2.667               F                 0.000


         7.1.2. Interpretation of Grades. Within the grading system described in section 7.1.1,
              “A” is superior, “B” is good, “C” is satisfactory, “D” is unsatisfactory with credit,
              “F” is failure.

         7.1.3. Other Grades

            7.1.3.1. Incomplete. The grade of incomplete (“I”) is a temporary grade indicating
                   failure to complete work in a course, and may be granted only with permission
                   of the dean. The course work must be completed within 30 days of the end of
                   the examination period. If the course work is not completed on time the
                   incomplete will be changed to an “F.” For papers written by students other
                   than J.D. or LL.M. candidates, and for all Directed Readings, the instructor
                   may grant additional time, up to the end of the following semester’s
                   examination period for completion and grading. For all other course work, the
                   dean’s approval is required for additional time beyond 30 days, and will be
                   granted only in extraordinarily compelling circumstances.

            7.1.3.2. Satisfactory/Unsatisfactory. The Law School will use a grade of
                   satisfactory or unsatisfactory for selected courses. See also section 7.2.1.2.

            7.1.3.3. Pass/Fail. The pass/fail option is limited to two elective courses, and only
                   with the permission of the professor teaching the particular course. These two
                   courses may not be taken in the same semester. The limits imposed by the first
                   two sentences of this section may be waived by the dean, but only for
                   extraordinarily compelling reasons. If a professor grants permission to elect the
                   pass/fail option for a particular course, that option must be made available to
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                   all students in that course. To elect this option when it is available, a student
                   must inform the Law School Registrar of this election by no later than the end
                   of the add-drop period for the semester in which the relevant course is offered
                   and that election is irrevocable as of the end of that add-drop period. The
                   professor will not be informed that the student elected the pass/fail option and
                   so will report letter grades for all students in the course as provided in section
                   7.1.5. The final letter grades of “A” through “D” will then be interpreted as a
                   pass for students who elected the pass/fail option for that course.

            7.1.3.4. Not Reported. The grade of “NR” will be used when a grade is not
                   reported by an instructor because of extenuating circumstances. No final grade
                   is reported for the course. The grade will revert to an “F” if not resolved by the
                   beginning of the final week in the next semester for which the student is
                   enrolled.

         7.1.4. Audits. Law students may audit courses in the Law School without administrative
              permission, but must obtain the permission of the instructor in the course being
              audited. Any other individual may audit courses in the Law School only with
              permission of the dean and the instructor in the course being audited. No record of
              audited courses will be kept by the Law School, and audited courses will not appear
              on transcripts. Law students may audit University courses outside of the Law
              School, whether offered at the graduate or undergraduate level, but only with the
              permission of the dean, the course instructor, and the course instructor’s academic
              unit.

         7.1.5. Reporting and Finality of Grades

            7.1.5.1. Faculty members are expected to report all grades within two weeks of the
                   last day of the examination period. This duty normally takes precedence over
                   all other University duties. In the spring semester, an earlier deadline will be
                   required for the grades of graduating students.

            7.1.5.2. Each faculty member, upon finishing grading, will submit a grade report
                   to the Law School Registrar or to the London director. All grade reports must
                   comply with the grading policy adopted by a majority of the faculty. No grades
                   shall be posted publicly. The Law School will make available to students the
                   grading policy governing course means and distributions.

            7.1.5.3. All grades will be final when filed with the Law School Registrar or with
                   the London director, and may not be changed thereafter except for clerical or
                   administrative error. The review of a grade for clerical or administrative error
                   shall be made by the faculty member who assigned the grade. Except as stated
                   in section 7.1.5.4 there shall be no right of appeal from the faculty member’s
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                   decision on a grade.

            7.1.5.4. In the event that a student believes that the grade received in a course
                   resulted in whole or in part from a faculty member’s lack of personal integrity
                   or professional competence, the matter shall be called to the attention of the
                   dean. Should the dean determine that a claim of lack of integrity or
                   competence is not frivolous, the dean shall refer the matter to the entire voting
                   faculty. The faculty as a whole then shall determine whether a lack of personal
                   integrity or professional competence influenced the grade. If the faculty so
                   finds, it shall make appropriate provision for review of the grade.

         7.1.6. Grade Reports

            7.1.6.1. Only the University will provide individual grade reports to students. The
                   Law School will not make grade reports directly available to the students,
                   except in cases of probation or dismissal for academic deficiency.

            7.1.6.2. An official grade-point average will be computed for each student’s
                   record.

            7.1.6.3. The Law School will not publish an individual’s grade-point average or
                   rank in class.

            7.1.6.4. The Law School does not rank students, either internally or externally,
                   except that the dean may notify students who are in the top 10 percent of their
                   class as of the end of the first and second academic year of this status and
                   designate them as Dean’s Circle Fellows under section 7.3.5.

            7.1.6.5. The Law School will publish the mean grade-point average for each class
                   on a semester basis and on a cumulative basis.

      7.2. GOOD STANDING

         7.2.1. Determination of academic good standing will be based on grade-point average.

            7.2.1.1. In calculations for standing, Honor Roll, Dean’s Circle Fellows, and
                   graduation honors, only Notre Dame Law School grades and credit hours are
                   considered. Transfer credits from other law schools and course credits and
                   grades from other colleges at Notre Dame do not enter into the calculation.

            7.2.1.2. Grades of “not reported” (“NR”) satisfactory (“S”) and pass (“P”) are not
                   included in the computation of grade-point average; however, grades of
                   unsatisfactory (“U”) and fail (“F”) are included.
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            7.2.1.3. For determining standing, the grade of incomplete (“I”) does not enter into
                   the calculation. If a student is on probation during the term in which an “I” is
                   entered, a later makeup of the “I” cannot be used retroactively to eliminate the
                   probation. Further, the grade in the made-up course will not enter into the
                   calculation for the following semester. If a second semester of probation
                   follows a probation semester in which an “I” was entered and the “I” is later
                   made up, the dean in the exercise of discretion may consider whether the “I”
                   should be treated as “NR” (not reported) and in this case may find that the first
                   semester of probation has been eliminated.

         7.2.2. To maintain academic good standing:

            7.2.2.1. First-year students must achieve a minimum GPA of 1.500 for the first
                   semester and 1.750 for the second semester.

            7.2.2.2. Second- and third-year students must achieve a minimum semester GPA
                   of 2.000.

         7.2.3. Failure to maintain academic good standing will result in academic probation or
              academic dismissal, as follows:

            7.2.3.1.    Probation will result:

                7.2.3.1.1.      From failing to maintain academic good standing (as defined in
                         sections 7.2.2.1 and 7.2.2.2) but maintaining better than dismissal
                         semester GPA (as defined in section 7.2.3.2); or

                7.2.3.1.2.      in a restricted academic program or remedial work, at the
                         discretion of the dean.

            7.2.3.2.    Dismissal will result from:

                7.2.3.2.1.     two consecutive semesters of probation.

                7.2.3.2.2.     three nonconsecutive semesters of probation.

                7.2.3.2.3.     failure to achieve a minimum semester average of:

                                            i. 1.000 for the first semester of the first year.

                                           ii. 1.250 for the second semester of the first year.

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                                          iii. 1.500 for each semester of the second and third
                                               years.

                7.2.3.2.4.      grades of “F” in two or more courses totaling six or more semester
                         hours in any one semester after the first semester of the first year.

            7.2.3.3. A student may be dismissed for academic reasons at the end of the first
                   semester.

            7.2.3.4. A student dismissed for academic reasons at the end of the student’s first
                   semester will not be eligible for readmission until the first semester of the next
                   academic year.

      7.3. HONORS

         7.3.1. Honor Roll. An Honor Roll, based on semester grade point average, will be
              published each semester. To be eligible for the Honor Roll:

            7.3.1.1. a student must carry a full semester course schedule (minimum 14
                   semester hours).

            7.3.1.2. a student must achieve a semester GPA of at least 3.600 in graded Law
                   School courses open to J.D. candidates.

            7.3.1.3. a student must enroll in at least 10 semester hours of graded Law School
                   courses open to J.D. candidates.

         7.3.2. Graduation Honors. Graduation honors for J.D. and LL.M. candidates are based
              on grade-point average, which is computed by including all courses taken in the
              Law School.

            7.3.2.1.    Cum laude: cumulative GPA of at least 3.400.

            7.3.2.2.    Magna cum laude: cumulative GPA of at least 3.600.

            7.3.2.3.    Summa cum laude: cumulative GPA of at least 3.800.

         7.3.3. For determining eligibility for graduation and also graduation honors in the case
              of students dismissed and readmitted, the grade-point average will be figured only
              on the basis of courses taken following readmission and those earlier courses for
              which degree credit is given.

         7.3.4. Dean’s Circle Fellows. The dean may designate ten percent of the J.D.
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              candidates in each class who have the highest cumulative grade point averages
              among J.D. candidates as Dean’s Circle Fellows. The designation shall be made at
              the conclusion of the first and second years of studies. To be eligible for designation
              as a Dean’s Circle Fellow a student must enroll in a minimum of 14 credit hours all
              semesters, including at least 20 credit hours of graded Law School courses during
              the academic year. The grade point average shall be calculated according to Section
              7.2.1.1.

         7.3.5. Faculty Award for Excellence. An instructor may recognize the most outstanding
              student performance in a class with a “Faculty Award for Excellence.” The award is
              given at the discretion of the instructor, is not required to be awarded for every
              class, and except in extraordinary circumstances will be granted to only one student
              in the class.

      7.4. COURSE FAILURES

         7.4.1. A student who fails a required course must retake the course and obtain a passing
              grade, unless for good cause shown the faculty votes to relax that requirement in a
              particular case.

         7.4.2. A student who fails an elective course need not retake it; however, the student
              earns no credit for graduation from any failed elective course.

         7.4.3. If a student fails a course, whether or not it is a required course, the student, if
              otherwise eligible to continue, may retake the course. The grade upon retaking the
              course shall be recorded along with the original grade in the course. If a student
              retakes a course, the professor teaching that course shall have the option of requiring
              that the retaking be by means of repeating the course, taking directed readings, or
              re-testing, or any combination of these options. Nothing herein shall be interpreted
              as affecting the rule that all required courses must be passed.

         7.4.4. A retaken course shall be registered for by the proper name of the course and for
              its regularly assigned credit hours.

         7.4.5. With the permission of the dean, a retaken course may be counted toward
              compliance with the minimum semester course load requirements under section 4.5.

         7.4.6. Failure in a course taken on a “pass/fail” basis or in an ungraded course shall be
              computed in the grade-point average like failure in a graded course.

      7.5. LONDON AND INTERNATIONAL EXCHANGE PROGRAMS

         7.5.1. No student is eligible to participate in the semester or full-year London Program
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              or an international exchange program without having successfully completed all
              first-year courses.

         7.5.2. The courses selected by a student enrolled in an international exchange program
              must be approved in advance by the dean to ensure that the content of the studies is
              such that credit would have been granted towards satisfaction of degree
              requirements of the Law School, in accordance with ABA Standard 307.

         7.5.3. The London Summer Program, while using the same grading system, shall not be
              subject to the rules for dismissal, probation or eligibility for the Honor Roll.

   ARTICLE 8. READMISSION AND TRANSFER ADMISSION

      8.1. STANDARDS AND PROCEDURE FOR READMISSION AFTER DISMISSAL FOR
           ACADEMIC FAILURE

         8.1.1. Readmission to the Law School after dismissal for academic failure will be
              allowed only when that failure was caused by unavoidable and non-recurrent
              circumstances of an extraordinary nature, and when the dismissal and any other
              circumstances do not otherwise indicate a lack of capacity to complete the program
              of study for a J.D. degree and be admitted to the bar.

         8.1.2. The standards for readmission after dismissal for academic failure provide that no
              student may recommence studies until one full academic year after the end of the
              semester in which the student was dismissed. A student dismissed for academic
              reasons at the end of the first semester will not be eligible for readmission until the
              first semester of the next academic year. The dean has the authority to waive the
              requirements of this section 8.1.2 of the Hoynes Code.

         8.1.3. The dean will decide all questions of readmission, guided by the following policy
              of allowing readmission only if:

            8.1.3.1.    the circumstances set out in section 8.1.1 are applicable, and

            8.1.3.2. a faculty member agrees to act as the sponsor for the readmission
                   candidate.

                8.1.3.2.1.       Being a sponsor of a readmission candidate means that the faculty
                         member agrees to meet with the candidate on a weekly basis for the entire
                         academic year following readmission. The weekly sessions will be of
                         sufficient length to review the readmitted student’s work and current
                         status.

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                 8.1.3.2.2.      It ordinarily will be the responsibility of a readmission candidate to
                          obtain a faculty sponsor, although the administration may, if requested,
                          offer assistance in this regard. It is the candidate’s responsibility to work
                          out a program with such a sponsor.

                 8.1.3.2.3.      The faculty should feel no obligation to volunteer as a sponsor.
                          Faculty should act as readmission sponsors only where they have strong
                          feelings about the chances of the candidate performing well upon
                          readmission. No faculty member will be permitted to act as a sponsor for
                          more than one student per year.

         8.1.4. A readmitted student ordinarily will have to repeat the entire semester for which
              the student was dismissed. A student who fails in the first year, whether in the first
              or second semester, ordinarily will be expected to repeat the entire first year. In any
              event, a readmitted student will be given no credit hours for courses with a grade of
              “D” or lower prior to readmission, and will receive no residency credit for the
              semester in which the failure occurred.

      8.2. TRANSFER ADMISSION. Applicants seeking transfer from other law schools must
           make a written statement of previous attendance in law school. Transfers usually will be
           accepted only in accord with standards adopted by the American Bar Association and the
           Association of American Law Schools. Exceptions may be made in extraordinary cases.

   ARTICLE 9. APPENDICES

   Appendix A. The Notre Dame Law School Honor Code
   Appendix B. LL.M. Candidate Handbook
   Appendix C. J.S.D. Candidate Handbook




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   Effective July 1, 2015

                                               APPENDIX A

                         THE NOTRE DAME LAW SCHOOL HONOR CODE


   1      STATEMENT OF PURPOSE

          This Honor Code is based upon the assumptions that students at the Notre Dame Law
          School do not lie, cheat, or steal; that they aspire to enter an honored profession; and that
          their character and conduct while attending this Law School at all times will reflect
          favorably upon their future profession, this school, and themselves.

   2      AFFIRMATIVE DUTIES AND PROHIBITED CONDUCT

          2.1    All law students and law faculty have the duty to report promptly either to the
                 Dean, to the member of the faculty whom the Dean has designated to oversee
                 matters regarding the Honor Code and to preside at any hearings involving
                 alleged violations (the “Dean’s Delegate”), to the Student Bar Association
                 (“S.B.A.”) President, or to the student who has been elected by the Honor Council
                 to lead its activities (the “Chair”) all circumstances that they believe to constitute
                 a clear violation of the Honor Code. Knowing breach of this duty shall be a
                 violation of the Honor Code.

          2.2    It is the duty of every law student and law faculty member to give testimony or
                 other evidence relevant to any alleged violation of the Honor Code if requested by
                 a student facing a disciplinary charge, the person appointed by the S.B.A.
                 President to present evidence in support of the charge (the “Student Prosecutor”),
                 or the members of the Honor Council who have been chosen to hear the case (the
                 “Hearing Panel”). A person may refuse to testify to avoid incrimination in a
                 violation of the Honor Code or of a public penal law. The Dean’s Delegate or
                 the Hearing Panel may excuse anyone from testifying for just cause.

          2.3    It shall be a violation of the Honor Code to engage in any of the following:

                 2.3.1      To use materials or to consult with any other person:

                            2.3.1.1 in an exam, except as expressly authorized by the instructor; or
                            2.3.1.2 in research, class preparation, or other assignment, in any manner
                                    expressly forbidden by an instructor.
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                       Whenever notice is an issue under the provisions in section 2.3.1,
                       constructive notice applies after the end of the add-drop period to any
                       prohibition that (a) in the case of an exam, appears in exam instructions
                       that the instructor has distributed via e-mail to the entire class no less than
                       24 hours before the administration of the exam, or (b) appears in a
                       syllabus which the instructor has posted on a web site for the course or
                       otherwise uniformly distributed to the class before the end of the add-drop
                       period.

               2.3.2   To submit as one’s own work the work of another.

               2.3.3   To submit written work in satisfaction of a course requirement or for
                       publication in a journal, if that work reflects, in whole or substantial part,
                       work previously prepared for some other purpose, unless the instructor or,
                       in the case of a journal, the editor has approved the use of the previously
                       prepared work.

               2.3.4   To knowingly make any material misrepresentation in connection with
                       any Law School class, program, or activity, including, but not limited to, a
                       clinical course, an externship, journals, moot courts, job searches,
                       scholarship applications, and student competitions.

               2.3.5   To knowingly misappropriate the notes, papers, books, computer, or other
                       academic materials of another law student, a faculty member, the Law
                       School, or the University.

         2.4   The Dean retains jurisdiction over all matters not explicitly covered by this Honor
               Code. An instructor retains jurisdiction over grading, which stands separate
               from the Honor Code process.

   3     ADMINISTRATION OF THE HONOR CODE

         3.1   There shall be an Honor Council composed of three members elected from each
               class. During their term of service on the Honor Council, members must be
               attending the Law School at the campus in Notre Dame, Indiana except if Law
               School classes are not in session on that campus (e.g., during the summer); any
               member who does not satisfy this requirement is deemed to have resigned from
               the Honor Council. The members shall be chosen as follows:

               3.1.1   Election shall be in accord with procedures established from time-to-time
                       by the S.B.A.

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               3.1.2   Each ballot shall contain the following statement only: If officially
                       charged with a violation of the Notre Dame Law School Honor Code, I
                       would choose the following members of my class to (1) hear the evidence
                       for and against me; (2) render a fair and impartial decision concerning my
                       guilt or innocence; and (3) determine sanction.

               3.1.3   Each ballot shall contain space for students to vote for three candidates.

               3.1.4   The three law students in each class receiving the highest number of votes
                       shall be Honor Council representatives.

         3.2   London Academic-Year Programme

               3.2.1   Students enrolled in the London Programme shall elect three students from
                       among the students enrolled in the year-round program to perform the
                       functions of the Honor Council for any matter that arises during the
                       London academic year and shall elect a chair (the “London Chair”) from
                       among its members.

               3.2.2   Students enrolled in the London Programme also shall elect an
                       investigator (the “Student Investigator”). For any matter that arises
                       during the London academic year, this student shall perform the functions
                       assigned by this Honor Code to the Student Prosecutor.

               3.2.3   For any matter arising during the London academic year, the Director of
                       the London Programme shall perform the functions assigned by this Honor
                       Code to the Dean’s Delegate.

         3.3   The Honor Council shall elect its Chair from among its members.

         3.4   Term

               The term of the Honor Council begins the day after graduation in the spring; the
               term ends on graduation day the following spring. The outgoing Honor Council
               shall have continuing jurisdiction over any matter that occurred before the end of
               its term.

         3.5   Prehearing Procedures

               3.5.1   Any allegation of a violation reported to the Dean, Dean’s Delegate, or
                       S.B.A. President shall be referred to the Chair, who will pass on the details
                       of the allegation to the Student Prosecutor. If a student reporting an
                       alleged violation wishes to remain anonymous, the Student Prosecutor will
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                      honor that request during the initial investigation by not revealing the
                      reporting student's identity to the accused student during that
                      investigation. However, the reporting student's identity must be revealed
                      to the Student Prosecutor. If the investigation leads to a hearing, the
                      hearing procedures described in section 3.6 may require the Student
                      Prosecutor or others involved in the hearing process to reveal the identity
                      of the reporting student to the accused student.

              3.5.2   Subsequent to the S.B.A. elections, the new S.B.A. President shall appoint
                      the Student Prosecutor from the student body to investigate and prosecute
                      any allegations of Honor Code violations made until a successor has been
                      appointed. This student shall not currently hold an elected position on
                      the S.B.A. board. The Student Prosecutor shall investigate each
                      allegation in any manner he or she sees fit, but must notify, in writing, the
                      accused student. If an alleged violation could affect a course grade, the
                      Student Prosecutor also shall notify the instructor of the nature of the
                      allegation so that the instructor can provide information about any relevant
                      course policies or exam instructions. To the extent possible, the Student
                      Prosecutor shall not reveal the identity of the accused to the instructor.

              3.5.3   If, at any time, the Student Prosecutor concludes that he or she has a
                      conflict of interest that will compromise his or her objectivity in
                      investigating or prosecuting an allegation of an Honor Code violation, the
                      Student Prosecutor shall recuse himself or herself immediately, and so
                      notify the S.B.A. President, the Chair and the Dean's Delegate in writing.
                      Within forty-eight hours of receiving the Student Prosecutor's written
                      notice, the S.B.A. President shall appoint a Special Student Prosecutor
                      from the student body. The Special Student Prosecutor shall not
                      currently hold an elected position on the S.B.A. board. The Special
                      Student Prosecutor shall perform all the duties and responsibilities of the
                      Student Prosecutor as required by the Honor Code, but only with respect
                      to the allegation that gave rise to the conflict of interest. Upon the
                      resolution of the allegation, the appointment of the Special Student
                      Prosecutor relating to that allegation will terminate.

              3.5.4   If the Student Prosecutor determines that an allegation is without merit,
                      the matter is closed. In writing, the Student Prosecutor shall so notify the
                      accused student, the individual who made the allegation, the Chair, and
                      any instructor previously notified. If the alleged conduct implicates a
                      course policy, the written notice shall set forth any relevant admission or
                      facts.


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              3.5.5   If the Student Prosecutor determines that an allegation has merit, he or she
                      shall deliver to the accused, the Dean’s Delegate, and the Chair a written
                      notice of each specific section of the Honor Code allegedly violated and a
                      written statement of each specific act constituting any alleged violation.

              3.5.6   If, upon notification pursuant to rule 3.5.4, the accused student informs the
                      Student Prosecutor that he or she wishes to forgo a hearing and to make an
                      admission of guilt, the Student Prosecutor will promptly convene a
                      conference to facilitate an expedited resolution of any charge (an
                      “Admissions Conference”). The Admissions Conference must be attended
                      by the accused student, the Dean’s Delegate, the Chair, and, if an alleged
                      violation involves a course, the course instructor. The Admissions
                      Conference can resolve a charge only if all participants of the conference
                      agree to a resolution. If there is not unanimous agreement on a resolution
                      of any charge, that charge will proceed to a hearing. Individual students
                      may only utilize an Admissions Conference once.

              3.5.7   After receiving notice from the Student Prosecutor, and after either (1) the
                      accused student has chosen to forgo an Admissions Conference, or (2) an
                      Admissions Conference has not produced a unanimous agreement, the
                      Chair shall:

                      3.5.7.1 Appoint three students from the Honor Council and ask the Dean’s
                              Delegate to appoint three faculty members. These six people
                              comprise the Honor Council Board (the “Board”) for the particular
                              hearing. Members of the Board shall disqualify themselves from
                              a hearing if, in their opinion, they are unable to make an impartial
                              decision;

                      3.5.7.2 Meet with the accused, the student (if any) whom the accused has
                              selected to gather and present evidence in support of the accused
                              (the “Student Defender”), and the Student Prosecutor to compile a
                              list of the names of all persons having information pertinent to any
                              charge; and

                      3.5.7.3 Set a date, time and place for the hearing. The hearing must
                              occur within two weeks of the date the Chair receives notice of a
                              charge from the Student Prosecutor. At least 72 hours before the
                              time set, the Chair shall give written notice of the schedule for the
                              hearing to the accused, the Student Defender, the Student
                              Prosecutor, and members of the Board. The Chair shall also
                              inform the members of the Board about the nature of any charge.

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         3.6   Hearing Procedures

               3.6.1   At least 48 hours before the time set for the hearing, the accused student
                       shall select two students and two faculty members from the Board to sit in
                       deliberation of any charge. If the accused student does not timely notify
                       the Chair, the Chair shall randomly select two students and two faculty
                       members to so sit. These four people shall constitute the Hearing Panel.

               3.6.2   During the course of the proceedings, the accused shall have the following
                       rights:

                       3.6.2.1 To select the Student Defender;

                       3.6.2.2 To attend and participate in any hearing, provided, however, if the
                               accused refuses to appear or fails to appear without just cause, the
                               Hearing Panel may proceed to hear and determine the matter;

                       3.6.2.3 To testify or to decline to testify, but if the accused declines to
                               testify, that fact shall not be considered as evidence in support of
                               any charge;

                       3.6.2.4 To confront and cross-examine witnesses; and

                       3.6.2.5 To present evidence and witnesses.

               3.6.3   At least 48 hours before the hearing, the Chair shall issue a written
                       summons to all persons identified under section 3.5.6.2 as potential
                       witnesses. After receiving a summons, failure to appear as a witness
                       without just cause (as determined by the Dean’s Delegate) shall be a
                       violation of this Honor Code, as defined in section 2.2. For good cause, a
                       witness may appear electronically as long as the Hearing Panel can
                       observe the witness’s demeanor.

               3.6.4   All Hearing Panel members must be present at the hearing. The Chair
                       shall have the power to appoint an alternate if a Panel member cannot
                       attend for just cause. The Chair shall arrange and monitor an audio
                       record of the hearing. The recording shall remain the property of the
                       Law School. The accused student may request a copy of the audio
                       record.

               3.6.5   The Dean’s Delegate shall preside at the hearing, which should avoid
                       unnecessary formality, but facilitate an orderly and respectful atmosphere.
                       Hearing Panel members may question any witness. Subject to time
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                    limits that the Dean’s Delegate may establish, the hearing may include
                    opening statements. The hearing should continue in the following order:

                    3.6.5.1 Evidence in support of any charge;

                    3.6.5.2 Evidence in rebuttal;

                    3.6.5.3 Arguments;

                    3.6.5.4 Factual findings and decision on whether the accused student has
                            committed any violation charged. If the alleged conduct
                            implicates a course policy or exam instructions, the Hearing Panel
                            shall set forth in writing its factual findings, which can incorporate
                            any relevant admission by the accused student. Even if the
                            accused student confesses that a violation of the Honor Code
                            occurred, only the Hearing Panel can reach a final determination of
                            guilt;

                    3.6.5.5 If the accused student is found not guilty, the matter is closed, and
                            in writing the Chair shall notify the accused student, the individual
                            who made the allegation, and any instructor, including any factual
                            findings by the Hearing Panel related to course policies or exam
                            instructions;

                    3.6.5.6 If the accused student is found guilty, the Hearing Panel shall set
                            forth its findings of fact and conclusions relevant to course policies
                            or exam instructions and hear evidence in mitigation and
                            aggravation;

                    3.6.5.7 Arguments on sanction;

                    3.6.5.8 Decision on sanction, which cannot reduce a grade, but may
                            include one or more of the following non-exclusive options, all of
                            which should be administered in a way designed to preserve
                            confidentiality to the utmost extent possible:

                           3.6.5.8.1 Oral admonition – an oral statement from the Hearing
                                     Panel that the student has violated the Honor Code;

                           3.6.5.8.2 Written warning – a written statement from the Hearing
                                     Panel that the student has violated the Honor Code;


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                             3.6.5.8.3 Academic Reprimand – a written statement from the
                                       Hearing Panel that the student has violated the Honor
                                       Code, with the statement becoming part of the student=s
                                       permanent record at the Law School;

                             3.6.5.8.4 Probation – exclusion from participating in the activities
                                       of the Law School or University;

                             3.6.5.8.5 Restitution – a requirement that the student reimburse for
                                       injury or injuries caused;

                             3.6.5.8.6 Fine – a monetary fine, which shall become an obligation
                                       to the Law School that must be satisfied in order to
                                       receive a degree;

                             3.6.5.8.7 Work sanctions – service to the Law School community,
                                       which must be completed within the time set by the
                                       Hearing Panel;

                             3.6.5.8.8 Suspension – exclusion from classes for a semester or
                                       more; or

                             3.6.5.8.9 Expulsion – permanent exclusion from the Law School,
                                       though the sanction may include provision for
                                       readmission under specified circumstances.

                      3.6.5.9 The Chair shall provide written notice to the accused and to the
                              Dean of the outcome. If a violation involves a course, the written
                              notice shall contain the Hearing Panel’s findings of fact and
                              conclusions relevant to any course policies or grading.

              3.6.6   All decisions of the Hearing Panel shall be made in private deliberations.
                      Any attribution of guilt requires a unanimous vote based upon a standard
                      of reasonable doubt. Decisions on whether the accused student has
                      committed any violation charged shall be based only upon evidence
                      received at the hearing. Sanctioning decisions must be unanimous and
                      may consider sanctions in previous cases.

              3.6.7   The Dean shall review the decision of the Hearing Panel. Absent
                      unusual circumstances, the Dean will act within 14 days to approve or
                      modify the decision.


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               3.6.8   The Dean shall give written notice of the final result to the accused
                       student, the Student Prosecutor, the Hearing Panel, the Chair, and any
                       instructor of any involved course. The notice shall include any findings
                       of fact and conclusions relevant to course policies or exam instructions.
                       If the individual who reported the incident did not receive a copy of the
                       Dean’s notice, the Chair shall inform that individual, in writing, of the
                       final result.

   4     PUBLIC NOTICE OF PROCEEDINGS AND REPORTING

         4.1   Except as otherwise required by this Honor Code, court order, law, or Law School
               administration, all proceedings under the Honor Code shall be confidential.

         4.2   Once an accusation is resolved finally, and without disclosing any names, the
               Chair shall distribute via e-mail to students and faculty and post in appropriate
               public places in the law building a notice containing only the following
               information:

               4.2.1   the specific section of the Honor Code alleged to have been violated;

               4.2.2   the decision of the Student Prosecutor, Admissions Conference, or
                       Hearing Panel;

               4.2.3   a brief summary of the underlying facts regarding the alleged violation;
                       and

               4.2.4   the final disposition.

         4.3   Without disclosing any names and preferably within thirty days after the end of
               each semester, the Chair shall prepare a report for the students and the faculty that
               states: (a) the number of alleged violations reported during the semester; (b) the
               number of violations that were resolved in an Admissions Conference during the
               semester; (c) the number of alleged violations that proceeded to hearing during
               the semester; and (d) the number of violations that resulted in sanctions that the
               Dean affirmed. For each matter where a violation was resolved through an
               Admissions Conference or where the Dean affirmed a Hearing Panel
               determination that a violation occurred, the Chair shall describe the provision
               involved and summarize the underlying facts.

   5     RATIFICATION AND AMENDMENT

         5.1   This Honor Code shall be in force after approval by the students and faculty of the
               Law School. Approval by the students shall be in accord with then-current
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               voting procedures of the S.B.A. Approval by the faculty shall be in accord with
               then-current voting procedures of the faculty.

         5.2   Amendments to this Honor Code may be proposed by the Honor Council.
               Amendments shall be approved in the manner prescribed in section 5.1.

         5.3   Any amendment to this Honor Code shall not become effective until the academic
               year following approval of the amendment.




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                                           APPENDIX B

                                LL.M. CANDIDATE HANDBOOK

   1.     COVERAGE

           Provisions of the Hoynes Code govern legal education in the LL.M. programs in all
   locations, except as set forth below.

   2.     REQUIREMENTS FOR THE LL.M. DEGREE

          2.1    OVERVIEW. To earn an LL.M. degree, students must:

                 2.1.1 Successfully complete a minimum of 24 credit hours and be
                 registered for a minimum of 12 hours each semester.

                 2.1.2 Successfully complete all the requirements listed in sections 2.2, 2.3, or
                 2.4, depending on the program or location at which the student is registered.

                 2.1.3   Engage in full-time law study for two semesters in residence.

          2.2    The following courses are required for the LL.M. at Notre Dame, Indiana:

                         Introduction to the American Legal System
                         LL.M. Legal Research & Writing

          2.3    The following courses are required for the LL.M. at the London Law Center:

                         Introduction to the American Legal System
                         LL.M. Seminar

          2.4    The following courses are required for the LL.M. in International Human Rights
                 Law:

                         International Law
                         International Human Rights Research and Writing
                         Foundations of International Human Rights Law
                         Accountability for Gross Human Rights Violations
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                      Human Rights Practice
                      Regional Human Rights Protection

         2.5   With the permission of the dean an LL.M. student may register for one semester
               in London and one semester at Notre Dame.

         2.6   Exceptions.

               2.6.1 With the permission of the dean, one or more of the required courses may
               be waived.

               2.6.2 LL.M. students with a J.D. issued by an American Law School may not
               take Introduction to the American Legal System for credit towards the LL.M.

   3.    ELECTIVE COURSES

         3.1   Students may elect to take additional courses offered at the site at which they are
               registered.

         3.2   Directed-Reading Programs. An LL.M. student may enroll in one directed-reading
               program per semester of up to three credits and otherwise in accordance with the
               requirements listed in section 4.4.2 of the Hoynes Code.

         3.3   Graduate School and Mendoza Courses. Pending permission from the instructor, a
               student in the LL.M. program may receive curricular academic credit for
               graduate-level courses taken in the Graduate School or the Mendoza College of
               Business in accordance with the requirement listed in section 4.4.3 of the Hoynes
               Code.

   4.    GRADES REQUIRED FOR GRADUATION

         4.1   All LL.M. students must achieve a minimum cumulative GPA of 2.000.

         4.2   A student who fails to meet these eligibility criteria may petition the dean to
               continue for one additional semester in order to meet the minimum standards for
               graduation. Approval will be at the dean’s discretion.




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                              APPENDIX C




                    J.S.D. Candidate Handbook




                 J.S.D. Requirements at Notre Dame Law School




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                                              J.S.D. Candidate=s Handbook

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   A.   Introduction


           This Handbook has been prepared as a guide for J.S.D. candidates and their Dissertation
   Committee members. The Handbook is subject to periodic modification or amendment by the
   Law School Faculty Committee on the J.S.D. Program. However, the basic requirements for the
   J.S.D. degree in effect at the time a candidate enters the J.S.D. Program shall be applicable to
   that candidate throughout his or her pursuit of the degree.

   B.   Requirements for J.S.D. Degree

   1. Residency

           Two academic years of residency at the University of Notre Dame are required for the
   J.S.D. degree.

   2. First Year of Residency

           Upon beginning the first year of the J.S.D. program, a J.S.D. candidate shall draw up a
   plan of study for his or her first year of study and residency. The plan of study shall be prepared
   in consultation with, and shall be subject to the approval of, the Director of the J.S.D. Program.
   The plan of study shall include a minimum of twelve (12) semester credit hours of courses
   relevant to the candidate’s proposed dissertation topic or to the field of human rights more
   generally, within or outside the law school. The coursework requirement may be increased to a
   maximum of twenty (20) semester credit hours, at the discretion of the Director of the J.S.D.
   Program, taking into consideration the particular needs and prior studies of each candidate.

   3. Dissertation Committee

          Each candidate will arrange during his or her second semester of residency with a
   principal Dissertation Director and two other Dissertation Committee members. Directors are
   chosen from the regular teaching and research faculty of the Law School, and Dissertation
   Committee members are chosen from the regular teaching and research faculty of this or another
   university. At most, one Dissertation Committee member may be chosen from the faculty of
   another university. The Dissertation Committee must be approved by the Director of the J.S.D.
   Program.

   4. Status and Progress After the First Year of Residency

           After the first year of residency, and for as long as a candidate remains eligible to remain
   in the J.S.D. program, the candidate will need to enroll each semester for one unit of credit, for
   which he or she will receive a grade of “satisfactory” or “unsatisfactory” from his or her
   Dissertation Director. It is the candidate’s responsibility to keep in contact with the Dissertation
   Director and show sufficient progress to receive the “satisfactory” each term until the degree is
   completed.

          During the second year of residency, the candidate is expected to participate in the

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   academic and scholarly activities of the Center for Civil and Human Rights and of the Law
   School, under the general guidance of the Director of the J.S.D. Program and of the candidate’s
   Dissertation Director.

          After the second year of residency, the candidate may stay and complete the research and
   writing of the dissertation at Notre Dame, or may work at any other place. In any event, the
   candidate will keep his or her Notre Dame student status until the candidate has completed the
   degree requirements or become ineligible to continue in the J.S.D. program.

   5. Preparing the Dissertation

           In continuing consultation with the Dissertation Director, the candidate explores research
   in areas in his or her field to formulate a dissertation proposal. By the end of the first year of
   residency, the candidate shall submit a detailed dissertation outline and a bibliographic review to
   the Dissertation Committee. The outline and bibliography must be approved by the Dissertation
   Committee. The Dissertation Director shall convey that approval in writing to the J.S.D. Program
   Director.

           Once the dissertation proposal has been approved, the candidate shall continue to work
   with the Dissertation Director and the other Dissertation Committee members to develop the
   argument of the dissertation and to refine the wording of the text. The Dissertation Director shall
   be responsible for coordinating the Dissertation Committee members’ review of and comments
   on any work in progress on the dissertation. The candidate shall rely on the Dissertation Director
   for guidance as to when the dissertation as a whole is ready for submission.

   6. Submitting the Dissertation

          The candidate shall deliver a copy of the finished dissertation to each of the members of
   the Dissertation Committee. The dissertation must follow the guidelines in the Guide for
   Formatting and Submitting J.S.D. Dissertations, which is included in this Handbook.

           Dissertation Committee members shall have a minimum of four weeks to read the
   dissertation, decide whether it is ready to be defended, and so indicate to the J.S.D. Program
   Director. Approval of the dissertation for defense does not imply agreement or support; it implies
   acknowledgment that the dissertation is an academically sound and defensible scholarly product.
   Only a dissertation which has been unanimously approved for defense by the three Dissertation
   Committee members may be defended. All revisions requested by the Dissertation Committee
   members must be incorporated before the dissertation can be defended.

   7. Dissertation Defense

           The J.S.D. Program Director will schedule the dissertation defense for the earliest
   feasible date after receiving word from the Dissertation Director that the Dissertation Committee
   members have unanimously approved the dissertation for defense.

          In defending the dissertation, the candidate must support his or her claims, procedures,


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   and results in a formal presentation followed by questions from the Dissertation Committee.
   The defense is the traditional instrument that enables the candidate to explore, with the
   Dissertation Committee, the dissertation=s substantive and methodological force. In this way,
   the candidate and the committee confirm the candidate=s scholarly grasp of the chosen research
   area. The dissertation defense is not an occasion for inquiring into the candidate’s general
   knowledge of the field. The defense shall be open to the public.

          The defense shall be chaired by the J.S.D. Program Director, if the director is not a
   member of the Dissertation Committee. If the J.S.D. director is a member of the committee, the
   defense is chaired by the Director or Associate Director of the Center for Civil and Human
   Rights. The chair does not vote. After the defense is completed, the chair and the Dissertation
   Committee convene immediately in a closed meeting and the chair calls for a discussion
   followed by a vote of the Dissertation Committee. At least two votes out of three are required to
   pass a candidate. Passing the candidate constitutes acknowledgment by the Dissertation
   Committee that the dissertation is of publishable quality and will make a significant and original
   scholarly contribution to the field.

          Promptly following a dissertation defense, the J.S.D. Program Director will send a
   written report of the overall quality of the defense and the voting results to the Law School
   Faculty Committee on the J.S.D. Program.

   8. Post-Defense Revisions

           Even though the dissertation had been successfully defended, revisions may be required
   after the defense. If defects in the dissertation come to light at the defense, the Dissertation
   Committee members may ask the candidate to revise the dissertation before it is accepted as
   satisfying the degree requirements. In that case, the Dissertation Director will report to the J.S.D.
   Program Director when such revisions have been completed satisfactorily, and the candidate=s
   degree requirements shall not be considered complete until such time.


   9. Copies of Dissertation

          After a successful defense and the completion of post-defense revisions, if any, the
   candidate presents two copies of the dissertation, signed by the Dissertation Director, to the
   J.S.D. Program Director. The J.S.D. Program Director shall deposit one copy of the dissertation
   with the library, and one with the Center for Civil and Human Rights.

   10. Degree Eligibility

           During the first year of residency, the J.S.D. candidate must maintain an average grade of
   B+ or higher in his or her coursework to continue in the J.S.D. program, and any student failing
   to meet the average grade requirement will be disqualified from continuing in the program. After
   the first year of residency in the J.S.D. Program, the doctoral candidate is required in each
   subsequent semester until completion of the doctorate to submit evidence of progress on his or
   her dissertation. The progress report, with any draft chapters or other supporting material, must


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   be presented to the candidate=s Dissertation Director and to the Director of the J.S.D. program,
   on or before December 1 and May 1 of each year. If no progress report is submitted as
   required, a grade of “unsatisfactory” will be entered for that semester. Any student receiving
   two consecutive grades of unsatisfactory will be disqualified from continuing in the program.

           The candidate must fulfill all J.S.D. requirements, including the dissertation and its
   defense, within three years of beginning residency as a J.S.D. candidate. That period may be
   extended for a maximum of an additional two years, at the discretion of the Law School
   Committee on the J.S.D. Program, on a candidate’s showing of reasonable progress toward
   completion of the dissertation and a substantial likelihood of completion within the additional
   time requested. Failure to complete any requirements within the prescribed time period results
   in forfeiture of degree eligibility.




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   C.   Guide for Formatting and Submitting a J.S.D. Dissertation

   Part One: General Guidelines for Formatting

   For all matters not covered by this Guide, the J.S.D. Program Director acts as arbiter. Format
   questions not answered in this Guide should be submitted to the J.S.D. Program Director after
   first consulting the most recent editions of:

          The Graduate School, University of Notre Dame, Guide for Formatting and Submitting
          Dissertations and Theses.

          Gibaldi, Joseph and Walter S. Achtert.     MLA Handbook for Writers of Research Papers.
          New York: MLS.

          Turabian, Kate L. A Manual for Writers of Term Papers, Theses, and Dissertations.
          Chicago: University of Chicago Press.

   1. Word Processing and Printing

           The dissertation should be prepared in either WordPerfect or Microsoft Word format, and
   printed on a laser printer.

   2. Print Style

          Use the same style of print for your entire dissertation, in a twelve-point type size.

   3. Duplication

          Be sure to check the copies for missing pages.

   4. Paper Quality

          Use twenty-pound bond paper. Do not use erasable paper.

   5. Spacing

           Double-space the text of your dissertation, as well as the abstract, preface, and any
   appendices. Single-space footnotes and block quotations. In the bibliography, table of contents,
   and lists of tables and figures, single-space each entry and double-space between entries.


   6. Margins

          For binding purposes, the left (binding-edge) margin must be one-and-a-half inches.
   The top, bottom, and right margins must be one inch. Tables must be placed within these limits.



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   7. Sections of the Dissertation
           The dissertation sections appear in this order:
                  Preliminary Sections
                         * Title page
                         * Copyright notice
                         * Abstract
                         * Dedication (optional)
                         * Table of Contents
                         * Table of cases and authorities
                         * List of tables (if necessary)
                         * List of figures (if necessary)
                         * List of symbols (if necessary)
                         * Preface and/or acknowledgments (optional)
                  Text
                          * Introduction
                          * Chapters
                  Appendices (optional)
                  Bibliography

   8. Page Numbering
          Do not number the title page, copyright page, or abstract.

          Paginate the preliminary sections consecutively in lower-case Roman numerals.

          Paginate the remainder of the dissertation in Arabic numerals.

   9. Quotations
           Enclose in quotation marks and incorporate into the text prose quotations of three lines or
   fewer. Single-space and indent prose quotations of fifty words or more. Do not use quotation
   marks in a block quotation, unless they appear in the original. Maintain paragraph indentations
   of the original.

          Treat verse quotations as block quotations.

          Enclose interpolations in square brackets [ ]. Note omissions by using ellipsis points (. .
   .).

   10. References
           It is a violation of the Notre Dame Law School Honor Code “to submit as one’s own the
   work of another” (Section 2.3.2). Avoid the charge of plagiarism by acknowledging the words
   or ideas of others. A safe rule to follow is: “When in doubt, cite the source.”

   11. Footnotes and Endnotes



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          The dissertation must use footnotes, not endnotes. Citation form must be consistent
   throughout the dissertation and must follow the Bluebook: Uniform System of Citation or the
   University of Chicago Law School’s Maroonbook.




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                       Part Two: Formatting of Specific Document Sections

   1.   Title Page

           Since key words in the title are the primary reference which other scholars use to locate
   the dissertation, choose words which convey the contents briefly. The title page contains this
   information, attractively centered:

                                                 Title

                                            A Dissertation

                                     Submitted to the Law School
                                   of the University of Notre Dame

                              in Partial Fulfillment of the Requirements
                                         for the J.S.D. Degree

                                                   by
                                              Your Name
                            List all your previous degrees after your name.


                               _______________________________
                              [Director=s Name], Dissertation Director

                                       Notre Dame, Indiana
                                 Month and year of final submission

   2. Copyright Notice

          Include in the copyright notice the copyright symbol, your full legal name, and the year
   in which the copyright is secured. For example:

          © Copyright by [Your Name] 2007
          All rights reserved

   3. Abstract

          The abstract includes a statement of the problem, a description of the research
   procedures, the results, and any conclusions or recommendations. It cannot exceed 350 words.

   4. Dedication

          You may dedicate your dissertation to one or more people.



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   5. Table of Contents

          List in the table of contents only those sections which follow it.     List the page number
   on which each section begins.

   6. Preface and/or Acknowledgments (optional)

          The preface can discuss the background of the project, its scope and purpose.
   Acknowledgments can include items such as funding and research grants, permission to use
   copyrighted material, and credit to individuals who have assisted you.

   7. Length of Text

          The required length of the dissertation text is to be established by the candidate and the
   Dissertation Committee.

   8. Appendices (optional)

          An appendix presents supplementary material such as original data or lengthy quotations.

   9. Bibliography

          Include only sources cited in the text.   You need not include every work you consulted.

           Arrange the entries alphabetically by the author=s last name. Alphabetize anonymous
   works by title. Group works of one particular type (e.g., books, government documents,
   interviews) under separate headings.

           Each entry must include the author=s full name (last name first), the complete title, and
   the publisher and date. At your discretion, use the following when necessary to identify a work:
   editor or translator, edition, name of the series, number of volumes in the series, or the section of
   the work consulted (e.g., volume, chapter, or page numbers).




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